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                 EXHIBIT 6
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 1   Jeffrey C. Block (pro hac vice)
     BLOCK & LEVITON LLP
 2   260 Franklin Street, Suite 1860
     Boston, MA 02110
 3
     (617) 398-5600 phone
 4   jeff@blockesq.com

 5   Co-Lead Counsel
 6

 7
                                  UNITED STATES DISTRICT COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
 9

10
                                                 Master File No. 17-cv-06779-RS
11   IN RE TEZOS SECURITIES LITIGATION
                                                 CLASS ACTION
12
     This document relates to:                   DECLARATION OF LUCAS F. OLTS IN
13                                               SUPPORT OF LEAD COUNSEL’S
             ALL ACTIONS.                        MOTION FOR AN AWARD OF
14                                               ATTORNEYS’ FEES AND LITIGATION
                                                 EXPENSES AND CHARGES
15
                                                 FILED ON BEHALF OF ROBBINS
16                                               GELLER RUDMAN & DOWD LLP

17                                               Date:        August 27, 2020
                                                 Time:        1:30 p.m.
18                                               Courtroom:   3, 17th floor
                                                 Judge:       Hon. Richard Seeborg
19

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28
     MASTER FILE NO. 17-CV-06779-RS
     DECLARATION OF LUCAS F. OLTS
     Cases\4831-5708-2820.v1-7/24/20
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 1           I, Lucas F. Olts, Esq., pursuant to 28 U.S.C. §1746, hereby declare as follows:

 2         1.         I am admitted to practice law before the courts of California and the United States

 3   District Court for the Northern District of California. I am a member of the law firm of Robbins

 4   Geller Rudman & Dowd LLP (“Robbins Geller” or the “Firm”), counsel of record for State

 5   Plaintiff Andrew Baker, along with the law firm of Taylor-Copeland Law. I respectfully submit

 6   this declaration in support of Lead Counsel’s Motion for an Award of Attorneys’ Fees and

 7   Litigation Expenses and Charges.

 8         2.         I have personally participated in, overseen, and monitored the prosecution of the

 9   State Court Action, and have otherwise been kept informed of developments in this litigation by

10   attorneys working with me and under my supervision. Thus, if call upon, I can testify to the

11   matters set forth herein.

12         3.         As State Lead Counsel, my Firm was involved in all aspects of the litigation and

13   its settlement as set forth in the Declaration of James Taylor-Copeland in Support of Lead

14   Plaintiff’s Motion for Final Approval of Class Action Settlement and Plan of Allocation.

15         4.         Attorneys and Professional Support Staff at my Firm billed the following

16   aggregate hours to this matter as of the date of filing, with fees applied at the firms current

17   billing rates:

18                       NAME                          HOURS      RATE       LODESTAR
19              Cochran, Brian E.               (P)      124.25    760     $    94,430.00
                Geller, Paul J.                 (P)        9.60   1,325         12,720.00
20              Love, Andrew S.                 (P)       12.40   1,150         14,260.00
21              Myers, Danielle S.              (P)       60.20    840          50,568.00
                Olts, Lucas F.                  (P)      459.25    850         390,362.50
22              O'Mara, Brian O.                (P)       16.25    870          14,137.50
23              Pintar, Theodore J.             (P)       43.70   1,100         48,070.00
                Robbins, Darren J.              (P)        0.25   1,325            331.25
24              Rudman, Samuel H.               (P)       26.20   1,325         34,715.00
25              Wilens, Douglas                 (P)        0.25    995             248.75
                Polychron, Sara B.             (A)     1,085.65    660         716,529.00
26              Tirabassi, Sabrina E.          (A)        65.30    745          48,648.50
27              Bays, Lea M.                  (OC)        12.40    775           9,610.00
                Walton, David C.              (OC)        26.20   1,080         28,296.00
28              Brandon, Kelley T.               (I)      13.50    290           3,915.00
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     DECLARATION OF LUCAS F. OLTS
     Cases\4831-5708-2820.v1-7/24/20
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 1                            NAME                  HOURS RATE        LODESTAR
 2                   Freer, Brad C.            (LS)     1.30   290           377.00
                     Keita, Omar C.            (LS)    18.70   290         5,423.00
 3                   Paralegals                       683.30 275-350     238,697.50
 4                   Document Clerks                    0.50   150            75.00
                     Shareholder Relations              1.00   100           100.00
 5                           TOTAL                  2,660.20         $ 1,711,514.00
 6                   (P) Partner
                     (A) Associate
 7                   (OC) Of Counsel
 8                   (I) Investigator
                     (LS) Litigation Support
 9
           5.         Robbins Geller directly seeks payment of the following expenses and charges
10
     related to the litigation of this action (which have been summarized in categories):
11
                                   CATEGORY                                      AMOUNT
12
            Filing, Witness and Other Fees                                      $ 8,969.40
13          Transportation, Hotels & Meals                                        17,172.03
            Telephone                                                                174.67
14
            Postage                                                                  104.49
15          Messenger, Overnight Delivery                                             66.97
            Court Hearing and Deposition Reporting, and Transcripts                   59.40
16
            Consultants (Civil Action Group, Ltd.)                                 6,730.80
17          Photocopies                                                              156.64
                    Outside                                             $ 33.64
18
                    In-House Photocopies (820 copies at $0.15 per page) 123.00
19          Online Legal and Financial Research                                    6,416.97
20          Mediation Fees (Phillips ADR Enterprises, P.C.)                        5,500.00
                                      TOTAL                                     $ 45,351.37
21
           6.         Attached as Exhibit A is a true and correct copy of Robbins Geller’s firm resume.
22
           7.         Attached as Exhibit B is a summary chart describing the work described in ¶4
23
     above.
24
              I declare under penalty of perjury that the foregoing is true and correct. Executed on this
25
     27th day of July 2020, at San Diego, California.
26

27                                                         LUCAS F. OLTS
28
     MASTER FILE NO. 17-CV-06779-RS
     DECLARATION OF LUCAS F. OLTS
     Cases\4831-5708-2820.v1-7/24/20
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           FIRM RESUME




Robbins Geller
Rudman&Dowd lip                                               (800) 449-4900 | rgrdlaw.com
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INTRODUCTION

Robbins Geller Rudman & Dowd LLP (“Robbins Geller” or the “Firm”) is a 200-lawyer firm with offices in
Boca Raton, Chicago, Manhattan, Melville, Nashville, San Diego, San Francisco, Philadelphia, and
Washington, D.C. (www.rgrdlaw.com). The Firm is actively engaged in complex litigation, emphasizing
securities, consumer, antitrust, insurance, healthcare, human rights, and employment discrimination class
actions. The Firm’s unparalleled experience and capabilities in these fields are based upon the talents of
its attorneys, who have successfully prosecuted thousands of class action lawsuits and numerous individual
cases, recovering billions of dollars.

This successful track record stems from our experienced attorneys, including many who came to the Firm
from federal or state law enforcement agencies. The Firm also includes several dozen former federal and
state judicial clerks.

The Firm is committed to practicing law with the highest level of integrity in an ethical and professional
manner. We are a diverse firm with lawyers and staff from all walks of life. Our lawyers and other
employees are hired and promoted based on the quality of their work and their ability to treat others with
respect and dignity.

We strive to be good corporate citizens and work with a sense of global responsibility. Contributing to our
communities and environment is important to us. We often take cases on a pro bono basis and are
committed to the rights of workers, and to the extent possible, we contract with union vendors. We care
about civil rights, workers’ rights and treatment, workplace safety, and environmental protection.
Indeed, while we have built a reputation as the finest securities and consumer class action law firm in the
nation, our lawyers have also worked tirelessly in less high-profile, but no less important, cases involving
human rights and other social issues.




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PRACTICE AREAS AND SERVICES
Securities Fraud
As recent corporate scandals demonstrate clearly, it has become all too common for companies and their
executives – often with the help of their advisors, such as bankers, lawyers, and accountants – to
manipulate the market price of their securities by misleading the public about the company’s financial
condition or prospects for the future. This misleading information has the effect of artificially inflating
the price of the company’s securities above their true value. When the underlying truth is eventually
revealed, the prices of these securities plummet, harming those innocent investors who relied upon the
company’s misrepresentations.

Robbins Geller is the leader in the fight to protect investors from corporate securities fraud. We utilize a
wide range of federal and state laws to provide investors with remedies, either by bringing a class action
on behalf of all affected investors or, where appropriate, by bringing individual cases.

The Firm’s reputation for excellence has been repeatedly noted by courts and has resulted in the
appointment of Firm attorneys to lead roles in hundreds of complex class-action securities and other
cases. In the securities area alone, the Firm’s attorneys have been responsible for a number of
outstanding recoveries on behalf of investors. Currently, Robbins Geller attorneys are lead or named
counsel in hundreds of securities class action or large institutional-investor cases. Some notable current
and past cases include:

       In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D. Tex.). Robbins Geller attorneys and lead
       plaintiff The Regents of the University of California aggressively pursued numerous defendants,
       including many of Wall Street’s biggest banks, and successfully obtained settlements in excess of
       $7.2 billion for the benefit of investors. This is the largest securities class action recovery in history.

       Jaffe v. Household Int’l, Inc., No. 02-C-05893 (N.D. Ill.). As sole lead counsel, Robbins Geller
       obtained a record-breaking settlement of $1.575 billion after 14 years of litigation, including a six-
       week jury trial in 2009 that resulted in a securities fraud verdict in favor of the class. In 2015, the
       Seventh Circuit Court of Appeals upheld the jury’s verdict that defendants made false or
       misleading statements of material fact about the company’s business practices and financial results,
       but remanded the case for a new trial on the issue of whether the individual defendants “made”
       certain false statements, whether those false statements caused plaintiffs’ losses, and the amount of
       damages. The parties reached an agreement to settle the case just hours before the retrial was
       scheduled to begin on June 6, 2016. The $1.575 billion settlement, approved in October 2016, is the
       largest ever following a securities fraud class action trial, the largest securities fraud settlement in
       the Seventh Circuit and the seventh-largest settlement ever in a post-PSLRA securities fraud case.
       According to published reports, the case was just the seventh securities fraud case tried to a verdict
       since the passage of the PSLRA.




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In re Valeant Pharm. Int’l, Inc. Sec. Litig., No. 3:15-cv-07658 (D.N.J.). As sole lead counsel,
Robbins Geller attorneys obtained preliminary approval of a $1.2 billion settlement in the
securities case that Vanity Fair reported as “the corporate scandal of its era” that had raised
“fundamental questions about the functioning of our health-care system, the nature of modern
markets, and the slippery slope of ethical rationalizations.” The settlement resolves claims that
defendants made false and misleading statements regarding Valeant’s business and financial
performance during the class period, attributing Valeant’s dramatic growth in revenues and
profitability to “innovative new marketing approaches” as part of a business model that was low risk
and “durable and sustainable.” Pending court approval, Valeant is the largest securities class action
settlement against a pharmaceutical manufacturer and the ninth largest ever.

In re Am. Realty Capital Props., Inc. Litig., No. 1:15-mc-00040 (S.D.N.Y.). As sole lead counsel,
Robbins Geller attorneys zealously litigated the case arising out of ARCP’s manipulative accounting
practices and obtained a $1.025 billion settlement. For five years, the litigation team prosecuted
nine different claims for violations of the Securities Exchange Act of 1934 and the Securities Act of
1933, involving seven different stock or debt offerings and two mergers. The recovery represents
the highest percentage of damages of any major PSLRA case prior to trial and includes the largest
personal contributions by individual defendants in history.

In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). Robbins Geller
represented the California Public Employees’ Retirement System (“CalPERS”) and demonstrated
its willingness to vigorously advocate for its institutional clients, even under the most difficult
circumstances. The Firm obtained an $895 million recovery on behalf of UnitedHealth
shareholders, and former CEO William A. McGuire paid $30 million and returned stock options
representing more than three million shares to the shareholders, bringing the total recovery for
the class to over $925 million, the largest stock option backdating recovery ever, and a recovery
that is more than four times larger than the next largest options backdating recovery. Moreover,
Robbins Geller obtained unprecedented corporate governance reforms, including election of a
shareholder-nominated member to the company’s board of directors, a mandatory holding period
for shares acquired by executives via option exercise, and executive compensation reforms that tie
pay to performance.

Alaska Elec. Pension Fund v. CitiGroup, Inc. (In re WorldCom Sec. Litig.), No. 03 Civ. 8269
(S.D.N.Y.). Robbins Geller attorneys represented more than 50 private and public institutions that
opted out of the class action case and sued WorldCom’s bankers, officers and directors, and
auditors in courts around the country for losses related to WorldCom bond offerings from 1998 to
2001. The Firm’s attorneys recovered more than $650 million for their clients, substantially more
than they would have recovered as part of the class.

Luther v. Countrywide Fin. Corp., No. 12-cv-05125 (C.D. Cal.). Robbins Geller attorneys secured a
$500 million settlement for institutional and individual investors in what is the largest RMBS
purchaser class action settlement in history, and one of the largest class action securities
settlements of all time. The unprecedented settlement resolves claims against Countrywide and
Wall Street banks that issued the securities. The action was the first securities class action case filed
against originators and Wall Street banks as a result of the credit crisis. As co-lead counsel Robbins
Geller forged through six years of hard-fought litigation, oftentimes litigating issues of first
impression, in order to secure the landmark settlement for its clients and the class.

In re Wachovia Preferred Sec. & Bond/Notes Litig., No. 09-cv-06351 (S.D.N.Y.). On behalf of
investors in bonds and preferred securities issued between 2006 and 2008, Robbins Geller and co-




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counsel obtained a significant settlement with Wachovia successor Wells Fargo & Company and
Wachovia auditor KPMG LLP. The total settlement – $627 million – is one of the largest credit-crisis
settlements involving Securities Act claims and one of the 20 largest securities class action recoveries
in history. The settlement is also one of the biggest securities class action recoveries arising from
the credit crisis. The lawsuit focused on Wachovia’s exposure to “pick-a-pay” loans, which the
bank’s offering materials said were of “pristine credit quality,” but which were actually allegedly
made to subprime borrowers, and which ultimately massively impaired the bank’s mortgage
portfolio. Robbins Geller served as co-lead counsel representing the City of Livonia Employees’
Retirement System, Hawaii Sheet Metal Workers Pension Fund, and the investor class.

In re Cardinal Health, Inc. Sec. Litig., No. C2-04-575 (S.D. Ohio). As sole lead counsel
representing Cardinal Health shareholders, Robbins Geller obtained a recovery of $600 million
for investors on behalf of the lead plaintiffs, Amalgamated Bank, the New Mexico State Investment
Council, and the California Ironworkers Field Trust Fund. At the time, the $600 million
settlement was the tenth-largest settlement in the history of securities fraud litigation and is the
largest-ever recovery in a securities fraud action in the Sixth Circuit.

AOL Time Warner Cases I & II, JCCP Nos. 4322 & 4325 (Cal. Super. Ct., Los Angeles Cty.).
Robbins Geller represented The Regents of the University of California, six Ohio state pension
funds, Rabo Bank (NL), the Scottish Widows Investment Partnership, several Australian public
and private funds, insurance companies, and numerous additional institutional investors, both
domestic and international, in state and federal court opt-out litigation stemming from Time
Warner’s disastrous 2001 merger with Internet high flier America Online. After almost four years
of litigation involving extensive discovery, the Firm secured combined settlements for its opt-out
clients totaling over $629 million just weeks before The Regents’ case pending in California state
court was scheduled to go to trial. The Regents’ gross recovery of $246 million is the largest
individual opt-out securities recovery in history.

In re HealthSouth Corp. Sec. Litig., No. CV-03-BE-1500-S (N.D. Ala.). As court-appointed co-lead
counsel, Robbins Geller attorneys obtained a combined recovery of $671 million from
HealthSouth, its auditor Ernst & Young, and its investment banker, UBS, for the benefit of
stockholder plaintiffs. The settlement against HealthSouth represents one of the larger
settlements in securities class action history and is considered among the top 15 settlements
achieved after passage of the PSLRA. Likewise, the settlement against Ernst & Young is one of the
largest securities class action settlements entered into by an accounting firm since the passage of
the PSLRA.

Jones v. Pfizer Inc., No. 1:10-cv-03864 (S.D.N.Y.). Lead plaintiff Stichting Philips Pensioenfonds
obtained a $400 million settlement on behalf of class members who purchased Pfizer common
stock during the January 19, 2006 to January 23, 2009 class period. The settlement against Pfizer
resolves accusations that it misled investors about an alleged off-label drug marketing scheme. As
sole lead counsel, Robbins Geller attorneys helped achieve this exceptional result after five years of
hard-fought litigation against the toughest and the brightest members of the securities defense bar
by litigating this case all the way to trial.

In re Dynegy Inc. Sec. Litig., No. H-02-1571 (S.D. Tex.). As sole lead counsel representing The
Regents of the University of California and the class of Dynegy investors, Robbins Geller attorneys
obtained a combined settlement of $474 million from Dynegy, Citigroup, Inc., and Arthur
Andersen LLP for their involvement in a clandestine financing scheme known as Project Alpha.
Most notably, the settlement agreement provides that Dynegy will appoint two board members to
be nominated by The Regents, which Robbins Geller and The Regents believe will benefit all of
Dynegy’s stockholders.

                                                                         Robbins Geller Rudman & Dowd LLP | 4
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In re Qwest Commc’ns Int’l, Inc. Sec. Litig., No. 01-cv-1451 (D. Colo.). In July 2001, the Firm filed
the initial complaint in this action on behalf of its clients, long before any investigation into Qwest’s
financial statements was initiated by the SEC or Department of Justice. After five years of
litigation, lead plaintiffs entered into a settlement with Qwest and certain individual defendants
that provided a $400 million recovery for the class and created a mechanism that allowed the vast
majority of class members to share in an additional $250 million recovered by the SEC. In 2008,
Robbins Geller attorneys recovered an additional $45 million for the class in a settlement with
defendants Joseph P. Nacchio and Robert S. Woodruff, the CEO and CFO, respectively, of Qwest
during large portions of the class period.

Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., No. 1:09-cv-03701 (S.D.N.Y.). Robbins
Geller attorneys served as lead counsel for a class of investors and obtained court approval of a
$388 million recovery in nine 2007 residential mortgage-backed securities offerings issued by J.P.
Morgan. The settlement represents, on a percentage basis, the largest recovery ever achieved in
an MBS purchaser class action. The result was achieved after more than five years of hard-fought
litigation and an extensive investigation.

Smilovits v. First Solar, Inc., No. 2:12-cv-00555 (D. Ariz.). As sole lead counsel, Robbins Geller
obtained a $350 million settlement in Smilovits v. First Solar, Inc. The settlement, which was
reached after a long legal battle and on the day before jury selection, resolves claims that First
Solar violated §§10(b) and 20(a) of the Securities Exchange Act of 1934 and SEC Rule 10b-5. The
settlement is the fifth-largest PSLRA settlement ever recovered in the Ninth Circuit.

NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783 (S.D.N.Y.). As
sole lead counsel, Robbins Geller obtained a $272 million settlement on behalf of Goldman Sachs’
shareholders. The settlement concludes one of the last remaining mortgage-backed securities
purchaser class actions arising out of the global financial crisis. The remarkable result was
achieved following seven years of extensive litigation. After the claims were dismissed in 2010,
Robbins Geller secured a landmark victory from the Second Circuit Court of Appeals that clarified
the scope of permissible class actions asserting claims under the Securities Act of 1933 on behalf of
MBS investors. Specifically, the Second Circuit’s decision rejected the concept of “tranche”
standing and concluded that a lead plaintiff in an MBS class action has class standing to pursue
claims on behalf of purchasers of other securities that were issued from the same registration
statement and backed by pools of mortgages originated by the same lenders who had originated
mortgages backing the lead plaintiff’s securities.

Schuh v. HCA Holdings, Inc., No. 3:11-cv-01033 (M.D. Tenn.). As sole lead counsel, Robbins
Geller obtained a groundbreaking $215 million settlement for former HCA Holdings, Inc.
shareholders – the largest securities class action recovery ever in Tennessee. Reached shortly
before trial was scheduled to commence, the settlement resolves claims that the Registration
Statement and Prospectus HCA filed in connection with the company’s massive $4.3 billion 2011
IPO contained material misstatements and omissions. The recovery achieved represents more
than 30% of the aggregate classwide damages, far exceeding the typical recovery in a securities
class action.

In re AT&T Corp. Sec. Litig., MDL No. 1399 (D.N.J.). Robbins Geller attorneys served as lead
counsel for a class of investors that purchased AT&T common stock. The case charged defendants
AT&T and its former Chairman and CEO, C. Michael Armstrong, with violations of the federal
securities laws in connection with AT&T’s April 2000 initial public offering of its wireless tracking
stock, one of the largest IPOs in American history. After two weeks of trial, and on the eve of
scheduled testimony by Armstrong and infamous telecom analyst Jack Grubman, defendants
agreed to settle the case for $100 million.

                                                                          Robbins Geller Rudman & Dowd LLP | 5
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Silverman v. Motorola, Inc., No. 1:07-cv-04507 (N.D. Ill.). The Firm served as lead counsel on
behalf of a class of investors in Motorola, Inc., ultimately recovering $200 million for investors just
two months before the case was set for trial. This outstanding result was obtained despite the lack
of an SEC investigation or any financial restatement.

City of Pontiac Gen. Emps.’ Ret. Sys. v. Wal-Mart Stores, Inc., No. 5:12-cv-05162 (W.D. Ark.).
Robbins Geller attorneys and lead plaintiff City of Pontiac General Employees’ Retirement System
achieved a $160 million settlement in a securities class action case arising from allegations
published by The New York Times in an article released on April 21, 2012 describing an alleged
bribery scheme that occurred in Mexico. The case charged that Wal-Mart portrayed itself to
investors as a model corporate citizen that had proactively uncovered potential corruption and
promptly reported it to law enforcement, when in truth, a former in-house lawyer had blown the
whistle on Wal-Mart’s corruption years earlier, and Wal-Mart concealed the allegations from law
enforcement by refusing its own in-house and outside counsel’s calls for an independent
investigation. Robbins Geller “achieved an exceptional [s]ettlement with skill, perseverance, and
diligent advocacy,” said Judge Hickey when granting final approval.

Bennett v. Sprint Nextel Corp., No. 2:09-cv-02122 (D. Kan.). As co-lead counsel, Robbins Geller
obtained a $131 million recovery for a class of Sprint investors. The settlement, secured after five
years of hard-fought litigation, resolved claims that former Sprint executives misled investors
concerning the success of Sprint’s ill-advised merger with Nextel and the deteriorating credit
quality of Sprint’s customer base, artificially inflating the value of Sprint’s securities.

In re LendingClub Sec. Litig., No. 3:16-cv-02627 (N.D. Cal.). Robbins Geller attorneys obtained a
$125 million settlement for the court-appointed lead plaintiff Water and Power Employees’
Retirement, Disability and Death Plan of the City of Los Angeles and the class. The settlement
resolved allegations that LendingClub promised investors an opportunity to get in on the ground
floor of a revolutionary lending market fueled by the highest standards of honesty and integrity.
The settlement ranks among the top ten largest securities recoveries ever in the Northern District
of California.

Knurr v. Orbital ATK, Inc., No. 1:16-cv-01031 (E.D. Va.). In the Orbital securities class action,
Robbins Geller obtained court approval of a $108 million recovery for the class. The Firm
succeeded in overcoming two successive motions to dismiss the case, and during discovery were
required to file ten motions to compel, all of which were either negotiated to a resolution or
granted in large part, which resulted in the production of critical evidence in support of plaintiffs’
claims. Believed to be the fourth-largest securities class action settlement in the history of the
Eastern District of Virginia, the settlement provides a recovery for investors that is more than ten
times larger than the reported median recovery of estimated damages for all securities class action
settlements in 2018.

Hsu v. Puma Biotechnology, No. SACV15-0865 (C.D. Cal.). After a two-week jury trial, Robbins
Geller attorneys won a complete plaintiffs’ verdict against both defendants on both claims, with the
jury finding that Puma Biotechnology, Inc. and its CEO, Alan H. Auerbach, committed securities
fraud. The Puma case is only the fifteenth securities class action case tried to a verdict since the
Private Securities Litigation Reform Act was enacted in 1995.

Marcus v. J.C. Penney Co., Inc., No. 13-cv-00736 (E.D. Tex.). Robbins Geller attorneys obtained a
$97.5 million recovery on behalf of J.C. Penney shareholders. The result resolves claims that J.C.
Penney and certain officers and directors made misstatements and/or omissions regarding the
company’s financial position that resulted in artificially inflated stock prices. Specifically,
defendants failed to disclose and/or misrepresented adverse facts, including that J.C. Penney

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would have insufficient liquidity to get through year-end and would require additional funds to
make it through the holiday season, and that the company was concealing its need for liquidity so
as not to add to its vendors’ concerns.

Chicago Laborers Pension Fund v. Alibaba Grp. Holding Ltd., No. CIV535692 (Cal. Super. Ct., San
Mateo Cty.). Robbins Geller attorneys and co-counsel obtained a $75 million settlement in the
Alibaba Group Holding Limited securities class action, resolving investors’ claims that Alibaba
violated the Securities Act of 1933 in connection with its September 2014 initial public offering.
Chicago Laborers Pension Fund served as a plaintiff in the action.

Luna v. Marvell Tech. Grp., Ltd., No. 3:15-cv-05447 (N.D. Cal.). In the Marvell litigation, Robbins
Geller attorneys represented the Plumbers and Pipefitters National Pension Fund and obtained a
$72.5 million settlement. The case involved claims that Marvell reported revenue and earnings
during the class period that were misleading as a result of undisclosed pull-in and concession
sales. The settlement represents approximately 24% to 50% of the best estimate of classwide
damages suffered by investors who purchased shares during the February 19, 2015 through
December 7, 2015 class period.

Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc., No. 3:09-cv-00882 (M.D. Tenn.). In the
Psychiatric Solutions case, Robbins Geller represented lead plaintiff and class representative Central
States, Southeast and Southwest Areas Pension Fund in litigation spanning more than four years.
Psychiatric Solutions and its top executives were accused of insufficiently staffing their in-patient
hospitals, downplaying the significance of regulatory investigations and manipulating their
malpractice reserves. Just days before trial was set to commence, attorneys from Robbins Geller
achieved a $65 million settlement that was the fourth-largest securities recovery ever in the district
and one of the largest in a decade.

Plumbers & Pipefitters Nat’l Pension Fund v. Burns, No. 3:05-cv-07393 (N.D. Ohio). After 11 years
of hard-fought litigation, Robbins Geller attorneys secured a $64 million recovery for shareholders
in a case that accused the former heads of Dana Corp. of securities fraud for trumpeting the auto
parts maker’s condition while it actually spiraled toward bankruptcy. The Firm’s Appellate
Practice Group successfully appealed to the Sixth Circuit Court of Appeals twice, reversing the
district court’s dismissal of the action.

In re BHP Billiton Ltd. Sec. Litig., No. 1:16-cv-01445 (S.D.N.Y.). As lead counsel, Robbins Geller
obtained a $50 million class action settlement against BHP, a Australian-based mining company
that was accused of failing to disclose significant safety problems at the Fundão iron-ore dam, in
Brazil. The Firm achieved this result for lead plaintiffs City of Birmingham Retirement and Relief
System and City of Birmingham Firemen’s and Policemen’s Supplemental Pension System, on
behalf of purchasers of the American Depositary Shares (“ADRs”) of defendants BHP Billiton
Limited and BHP Billiton Plc (together, “BHP”) from September 25, 2014 to November 30, 2015.

In re St. Jude Med., Inc. Sec. Litig., No. 0:10-cv-00851 (D. Minn.). After four and a half years of
litigation and mere weeks before the jury selection, Robbins Geller obtained a $50 million
settlement on behalf of investors in medical device company St. Jude Medical. The settlement
resolves accusations that St. Jude Medical misled investors by utilizing heavily discounted end-of-
quarter bulk sales to meet quarterly expectations, which created a false picture of demand by
increasing customer inventory due of St. Jude Medical devices. The complaint alleged that the
risk of St. Jude Medical’s reliance on such bulk sales manifested when it failed to meet its forecast
guidance for the third quarter of 2009, which the company had reaffirmed only weeks earlier.




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Robbins Geller’s securities practice is also strengthened by the existence of a strong appellate department,
whose collective work has established numerous legal precedents. The securities practice also utilizes an
extensive group of in-house economic and damage analysts, investigators, and forensic accountants to aid
in the prosecution of complex securities issues.



Shareholder Derivative and Corporate Governance Litigation
The Firm’s shareholder derivative and corporate governance practice is focused on preserving corporate
assets and enhancing long-term shareowner value. Shareowner derivative actions are often brought by
institutional investors to vindicate the rights of the corporation injured by its executives’ misconduct,
which can effect violations of the nation’s securities, anti-corruption, false claims, cyber-security, labor,
environmental, and/or health & safety laws.

Robbins Geller attorneys have aided Firm clients in significantly enhancing shareowner value by obtaining
hundreds of millions of dollars in financial clawbacks and successfully negotiating corporate governance
enhancements. Robbins Geller has worked with its institutional clients to address corporate misconduct
such as options backdating, bribery of foreign officials, pollution, off-label marketing, and insider trading
and related self-dealing. Additionally, the Firm works closely with noted corporate governance
consultants Robert Monks and Richard Bennett and their firm, ValueEdge Advisors LLC, to shape
corporate governance practices that will benefit shareowners.

Robbins Geller’s efforts have conferred substantial benefits upon shareowners, and the market effect of
these benefits measures in the billions of dollars. The Firm’s significant achievements include:

       City of Westland Police & Fire Ret. Sys. v. Stumpf (Wells Fargo Derivative Litigation), No.
       3:11-cv-02369 (N.D. Cal.). Prosecuted shareholder derivative action on behalf of Wells Fargo &
       Co. alleging that Wells Fargo’s executives allowed participation in the mass-processing of home
       foreclosure documents by engaging in widespread robo-signing, i.e., the execution and submission
       of false legal documents in courts across the country without verification of their truth or accuracy,
       and failed to disclose Wells Fargo’s lack of cooperation in a federal investigation into the bank’s
       mortgage and foreclosure practices. In settlement of the action, Wells Fargo agreed to provide
       $67 million in homeowner down-payment assistance, credit counseling, and improvements to its
       mortgage servicing system. The initiatives will be concentrated in cities severely impacted by the
       bank’s foreclosure practices and the ensuing mortgage foreclosure crisis. Additionally, Wells
       Fargo agreed to change its procedures for reviewing shareholder proposals and a strict ban on
       stock pledges by Wells Fargo board members.

       In re Ormat Techs., Inc. Derivative Litig., No. CV10-00759 (Nev. Dist. Ct., Washoe Cty.). Robbins
       Geller brought derivative claims for breach of fiduciary duty and unjust enrichment against the
       directors and certain officers of Ormat Technologies, Inc., a leading geothermal and recovered
       energy power business. During the relevant time period, these Ormat insiders caused the
       company to engage in accounting manipulations that ultimately required restatement of the
       company’s financial statements. The settlement in this action includes numerous corporate
       governance reforms designed to, among other things: (i) increase director independence; (ii)
       provide continuing education to directors; (iii) enhance the company’s internal controls; (iv) make
       the company’s board more independent; and (iv) strengthen the company’s internal audit
       function.

       In re Alphatec Holdings, Inc. Derivative S’holder Litig., No. 37-2010-00058586 (Cal. Super. Ct., San




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Diego Cty.). Obtained sweeping changes to Alphatec’s governance, including separation of the
Chairman and CEO positions, enhanced conflict of interest procedures to address related-party
transactions, rigorous director independence standards requiring that at least a majority of
directors be outside independent directors, and ongoing director education and training.

In re Finisar Corp. Derivative Litig., No. C-06-07660 (N.D. Cal.). Prosecuted shareholder
derivative action on behalf of Finisar against certain of its current and former directors and
officers for engaging in an alleged nearly decade-long stock option backdating scheme that was
alleged to have inflicted substantial damage upon Finisar. After obtaining a reversal of the district
court’s order dismissing the complaint for failing to adequately allege that a pre-suit demand was
futile, Robbins Geller lawyers successfully prosecuted the derivative claims to resolution obtaining
over $15 million in financial clawbacks for Finisar. Robbins Geller attorneys also obtained
significant changes to Finisar’s stock option granting procedures and corporate governance. As a
part of the settlement, Finisar agreed to ban the repricing of stock options without first obtaining
specific shareholder approval, prohibit the retrospective selection of grant dates for stock options
and similar awards, limit the number of other boards on which Finisar directors may serve,
require directors to own a minimum amount of Finisar shares, annually elect a Lead Independent
Director whenever the position of Chairman and CEO are held by the same person, and require
the board to appoint a Trading Compliance officer responsible for ensuring compliance with
Finisar’s insider trading policies.

Loizides v. Schramm (Maxwell Technology Derivative Litigation), No. 37-2010-00097953 (Cal.
Super. Ct., San Diego Cty.). Prosecuted shareholder derivative claims arising from the company’s
alleged violations of the Foreign Corrupt Practices Act of 1977 (“FCPA”). As a result of Robbins
Geller’s efforts, Maxwell insiders agreed to adopt significant changes in Maxwell’s internal controls
and systems designed to protect Maxwell against future potential violations of the FCPA. These
corporate governance changes included establishing the following, among other things: a
compliance plan to improve board oversight of Maxwell’s compliance processes and internal
controls; a clear corporate policy prohibiting bribery and subcontracting kickbacks, whereby
individuals are accountable; mandatory employee training requirements, including the
comprehensive explanation of whistleblower provisions, to provide for confidential reporting of
FCPA violations or other corruption; enhanced resources and internal control and compliance
procedures for the audit committee to act quickly if an FCPA violation or other corruption is
detected; an FCPA and Anti-Corruption Compliance department that has the authority and
resources required to assess global operations and detect violations of the FCPA and other
instances of corruption; a rigorous ethics and compliance program applicable to all directors,
officers, and employees, designed to prevent and detect violations of the FCPA and other
applicable anti-corruption laws; an executive-level position of Chief Compliance Officer with direct
board-level reporting responsibilities, who shall be responsible for overseeing and managing
compliance issues within the company; a rigorous insider trading policy buttressed by enhanced
review and supervision mechanisms and a requirement that all trades are timely disclosed; and
enhanced provisions requiring that business entities are only acquired after thorough FCPA and
anti-corruption due diligence by legal, accounting, and compliance personnel at Maxwell.

In re SciClone Pharm., Inc. S’holder Derivative Litig., No. CIV 499030 (Cal. Super. Ct., San Mateo
Cty.). Robbins Geller attorneys successfully prosecuted the derivative claims on behalf of nominal
party SciClone Pharmaceuticals, Inc., resulting in the adoption of state-of-the-art corporate
governance reforms. The corporate governance reforms included the establishment of an FCPA
compliance coordinator; the adoption of an FCPA compliance program and code; and the
adoption of additional internal controls and compliance functions.




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Policemen & Firemen Ret. Sys. of the City of Detroit v. Cornelison (Halliburton Derivative
Litigation), No. 2009-29987 (Tex. Dist. Ct., Harris Cty.). Prosecuted shareholder derivative claims
on behalf of Halliburton Company against certain Halliburton insiders for breaches of fiduciary
duty arising from Halliburton’s alleged violations of the FCPA. In the settlement, Halliburton
agreed, among other things, to adopt strict intensive controls and systems designed to detect and
deter the payment of bribes and other improper payments to foreign officials, to enhanced
executive compensation clawback, director stock ownership requirements, a limitation on the
number of other boards that Halliburton directors may serve, a lead director charter, enhanced
director independence standards, and the creation of a management compliance committee.

In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). In the UnitedHealth case,
our client, CalPERS, obtained sweeping corporate governance improvements, including the
election of a shareholder-nominated member to the company’s board of directors, a mandatory
holding period for shares acquired by executives via option exercises, as well as executive
compensation reforms that tie pay to performance. In addition, the class obtained $925 million,
the largest stock option backdating recovery ever and four times the next largest options
backdating recovery.

In re Fossil, Inc. Derivative Litig., No. 3:06-cv-01672 (N.D. Tex.). The settlement agreement
included the following corporate governance changes: declassification of elected board members;
retirement of three directors and addition of five new independent directors; two-thirds board
independence requirements; corporate governance guidelines providing for “Majority Voting”
election of directors; lead independent director requirements; revised accounting measurement
dates of options; addition of standing finance committee; compensation clawbacks; director
compensation standards; revised stock option plans and grant procedures; limited stock option
granting authority, timing, and pricing; enhanced education and training; and audit engagement
partner rotation and outside audit firm review.

Pirelli Armstrong Tire Corp. Retiree Med. Benefits Tr. v. Sinegal (Costco Derivative Litigation), No.
2:08-cv-01450 (W.D. Wash.). The parties agreed to settlement terms providing for the following
corporate governance changes: the amendment of Costco’s bylaws to provide “Majority Voting”
election of directors; the elimination of overlapping compensation and audit committee
membership on common subject matters; enhanced Dodd-Frank requirements; enhanced internal
audit standards and controls, and revised information-sharing procedures; revised compensation
policies and procedures; revised stock option plans and grant procedures; limited stock option
granting authority, timing, and pricing; and enhanced ethics compliance standards and training.

In re F5 Networks, Inc. Derivative Litig., No. C-06-0794 (W.D. Wash.). The parties agreed to the
following corporate governance changes as part of the settlement: revised stock option plans and
grant procedures; limited stock option granting authority, timing, and pricing; “Majority Voting”
election of directors; lead independent director requirements; director independence standards;
elimination of director perquisites; and revised compensation practices.

In re Community Health Sys., Inc. S’holder Derivative Litig., No. 3:11-cv-00489 (M.D. Tenn.).
Robbins Geller obtained unprecedented corporate governance reforms on behalf of Community
Health Systems, Inc. in a case against the company’s directors and officers for breaching their
fiduciary duties by causing Community Health to develop and implement admissions criteria that
systematically steered patients into unnecessary inpatient admissions, in contravention of Medicare
and Medicaid regulations. The governance reforms obtained as part of the settlement include two
shareholder-nominated directors, the creation of a Healthcare Law Compliance Coordinator with
specified qualifications and duties, a requirement that the board’s compensation committee be



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       comprised solely of independent directors, the implementation of a compensation clawback that
       will automatically recover compensation improperly paid to the company’s CEO or CFO in the
       event of a restatement, the establishment of an insider trading controls committee, and the
       adoption of a political expenditure disclosure policy. In addition to these reforms, $60 million in
       financial relief was obtained, which is the largest shareholder derivative recovery ever in
       Tennessee and the Sixth Circuit.



Options Backdating Litigation
As has been widely reported in the media, the stock options backdating scandal suddenly engulfed
hundreds of publicly traded companies throughout the country in 2006. Robbins Geller was at the
forefront of investigating and prosecuting options backdating derivative and securities cases. The Firm
has recovered over $1 billion in damages on behalf of injured companies and shareholders.

       In re KLA-Tencor Corp. S’holder Derivative Litig., No. C-06-03445 (N.D. Cal.). After successfully
       opposing the special litigation committee of the board of directors’ motion to terminate the
       derivative claims, Robbins Geller recovered $43.6 million in direct financial benefits for KLA-
       Tencor, including $33.2 million in cash payments by certain former executives and their directors’
       and officers’ insurance carriers.

       In re Marvell Tech. Grp. Ltd. Derivative Litig., No. C-06-03894 (N.D. Cal.). Robbins Geller
       recovered $54.9 million in financial benefits, including $14.6 million in cash, for Marvell, in
       addition to extensive corporate governance reforms related to Marvell’s stock option granting
       practices, board of directors’ procedures, and executive compensation.

       In re KB Home S’holder Derivative Litig., No. 06-CV-05148 (C.D. Cal.). Robbins Geller served as
       co-lead counsel for the plaintiffs and recovered more than $31 million in financial benefits,
       including $21.5 million in cash, for KB Home, plus substantial corporate governance
       enhancements relating to KB Home’s stock option granting practices, director elections, and
       executive compensation practices.



Corporate Takeover Litigation
Robbins Geller has earned a reputation as the leading law firm in representing shareholders in corporate
takeover litigation. Through its aggressive efforts in prosecuting corporate takeovers, the Firm has
secured for shareholders billions of dollars of additional consideration as well as beneficial changes for
shareholders in the context of mergers and acquisitions.

The Firm regularly prosecutes merger and acquisition cases post-merger, often through trial, to maximize
the benefit for its shareholder class. Some of these cases include:

       In re Kinder Morgan, Inc. S’holders Litig., No. 06-C-801 (Kan. Dist. Ct., Shawnee Cty.). In the
       largest recovery ever for corporate takeover class action litigation, the Firm negotiated a
       settlement fund of $200 million in 2010.

       In re Dole Food Co., Inc. Stockholder Litig., No. 8703-VCL (Del. Ch.). Robbins Geller and co-
       counsel went to trial in the Delaware Court of Chancery on claims of breach of fiduciary duty on
       behalf of Dole Food Co., Inc. shareholders. The litigation challenged the 2013 buyout of Dole by
       its billionaire Chief Executive Officer and Chairman, David H. Murdock. On August 27, 2015, the
       court issued a post-trial ruling that Murdock and fellow director C. Michael Carter – who also


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served as Dole’s General Counsel, Chief Operating Officer, and Murdock’s top lieutenant – had
engaged in fraud and other misconduct in connection with the buyout and are liable to Dole’s
former stockholders for over $148 million, the largest trial verdict ever in a class action
challenging a merger transaction.

Nieman v. Duke Energy Corp., No. 3:12-cv-00456 (W.D.N.C.). Robbins Geller, along with co-
counsel, obtained a $146.25 million settlement on behalf of Duke Energy Corporation investors.
The settlement resolves accusations that defendants misled investors regarding Duke’s future
leadership following its merger with Progress Energy, Inc., and specifically, their premeditated
coup to oust William D. Johnson (CEO of Progress) and replace him with Duke’s then-CEO, John
Rogers. This historic settlement represents the largest recovery ever in a North Carolina securities
fraud action, and one of the five largest recoveries in the Fourth Circuit.

In re Rural Metro Corp. Stockholders Litig., No. 6350-VCL (Del. Ch.). Robbins Geller and co-
counsel were appointed lead counsel in this case after successfully objecting to an inadequate
settlement that did not take into account evidence of defendants’ conflicts of interest. In a post-
trial opinion, Delaware Vice Chancellor J. Travis Laster found defendant RBC Capital Markets,
LLC liable for aiding and abetting Rural/Metro’s board of directors’ fiduciary duty breaches in the
$438 million buyout of Rural/Metro, citing “the magnitude of the conflict between RBC’s claims
and the evidence.” RBC was ordered to pay nearly $110 million as a result of its wrongdoing, the
largest damage award ever obtained against a bank over its role as a merger adviser. The
Delaware Supreme Court issued a landmark opinion affirming the judgment on November 30,
2015, RBC Capital Mkts., LLC v. Jervis, 129 A.3d 816 (Del. 2015).

In re Del Monte Foods Co. S’holders Litig., No. 6027-VCL (Del. Ch.). Robbins Geller exposed the
unseemly practice by investment bankers of participating on both sides of large merger and
acquisition transactions and ultimately secured an $89 million settlement for shareholders of Del
Monte. For efforts in achieving these results, the Robbins Geller lawyers prosecuting the case were
named Attorneys of the Year by California Lawyer magazine in 2012.

In re TD Banknorth S’holders Litig., No. 2557-VCL (Del. Ch.). After objecting to a modest
recovery of just a few cents per share, the Firm took over the litigation and obtained a common
fund settlement of $50 million.

In re Chaparral Res., Inc. S’holders Litig., No. 2633-VCL (Del. Ch.). After a full trial and a
subsequent mediation before the Delaware Chancellor, the Firm obtained a common fund
settlement of $41 million (or 45% increase above merger price) for both class and appraisal claims.

Laborers’ Local #231 Pension Fund v. Websense, Inc., No. 37-2013-00050879-CU-BT-CTL (Cal.
Super. Ct., San Diego Cty.). Robbins Geller successfully obtained a record-breaking $40 million
in Websense, which is believed to be the largest post-merger common fund settlement in California
state court history. The class action challenged the May 2013 buyout of Websense by Vista Equity
Partners (and affiliates) for $24.75 per share and alleged breach of fiduciary duty against the
former Websense board of directors, and aiding and abetting against Websense’s financial advisor,
Merrill Lynch, Pierce, Fenner & Smith, Inc. Claims were pursued by the plaintiff in both
California state court and the Delaware Court of Chancery.

In re Onyx Pharm., Inc. S’holder Litig., No. CIV523789 (Cal. Super. Ct., San Mateo Cty.). Robbins
Geller obtained $30 million in a case against the former Onyx board of directors for breaching its
fiduciary duties in connection with the acquisition of Onyx by Amgen Inc. for $125 per share at
the expense of shareholders. At the time of the settlement, it was believed to set the record for the
largest post-merger common fund settlement in California state court history. Over the case’s

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       three years, Robbins Geller defeated defendants’ motions to dismiss, obtained class certification,
       took over 20 depositions, and reviewed over one million pages of documents. Further, the
       settlement was reached just days before a hearing on defendants’ motion for summary judgment
       was set to take place, and the result is now believed to be the second largest post-merger common
       fund settlement in California state court history.

       Harrah’s Entertainment, No. A529183 (Nev. Dist. Ct., Clark Cty.). The Firm’s active prosecution
       of the case on several fronts, both in federal and state court, assisted Harrah’s shareholders in
       securing an additional $1.65 billion in merger consideration.

       In re Chiron S’holder Deal Litig., No. RG 05-230567 (Cal. Super. Ct., Alameda Cty.). The Firm’s
       efforts helped to obtain an additional $800 million in increased merger consideration for Chiron
       shareholders.

       In re Dollar Gen. Corp. S’holder Litig., No. 07MD-1 (Tenn. Cir. Ct., Davidson Cty.). As lead
       counsel, the Firm secured a recovery of up to $57 million in cash for former Dollar General
       shareholders on the eve of trial.

       In re Prime Hospitality, Inc. S’holders Litig., No. 652-N (Del. Ch.). The Firm objected to a
       settlement that was unfair to the class and proceeded to litigate breach of fiduciary duty issues
       involving a sale of hotels to a private equity firm. The litigation yielded a common fund of $25
       million for shareholders.

       In re UnitedGlobalCom, Inc. S’holder Litig., No. 1012-VCS (Del. Ch.). The Firm secured a common
       fund settlement of $25 million just weeks before trial.

       In re eMachines, Inc. Merger Litig., No. 01-CC-00156 (Cal. Super. Ct., Orange Cty.). After four
       years of litigation, the Firm secured a common fund settlement of $24 million on the brink of trial.

       In re PeopleSoft, Inc. S’holder Litig., No. RG-03100291 (Cal. Super. Ct., Alameda Cty.). The Firm
       successfully objected to a proposed compromise of class claims arising from takeover defenses by
       PeopleSoft, Inc. to thwart an acquisition by Oracle Corp., resulting in shareholders receiving an
       increase of over $900 million in merger consideration.

       ACS S’holder Litig., No. CC-09-07377-C (Tex. Cty. Ct., Dallas Cty.). The Firm forced ACS’s
       acquirer, Xerox, to make significant concessions by which shareholders would not be locked out of
       receiving more money from another buyer.



Insurance
Fraud and collusion in the insurance industry by executives, agents, brokers, lenders, and others is one of
the most costly crimes in the United States. Some experts have estimated the annual cost of white collar
crime in the insurance industry to be over $120 billion nationally. Recent legislative proposals seek to
curtail anti-competitive behavior within the industry. However, in the absence of comprehensive
regulation, Robbins Geller has played a critical role as private attorney general in protecting the rights of
consumers against insurance fraud and other unfair business practices within the insurance industry.

Robbins Geller attorneys have long been at the forefront of litigating race discrimination issues within the
life insurance industry. For example, the Firm has fought the practice by certain insurers of charging
African-Americans and other people of color more for life insurance than similarly situated Caucasians.
The Firm recovered over $400 million for African-Americans and other minorities as redress for civil


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rights abuses, including landmark recoveries in McNeil v. American General Life & Accident Insurance
Company; Thompson v. Metropolitan Life Insurance Company; and Williams v. United Insurance Company of
America.

The Firm’s attorneys fight on behalf of elderly victims targeted for the sale of deferred annuity products
with hidden sales loads and illusory bonus features. Sales agents for life insurance companies such as
Allianz Life Insurance Company of North America, Midland National Life Insurance Company, and
National Western Life Insurance Company targeted senior citizens for these annuities with lengthy
investment horizons and high sales commissions. The Firm recovered millions of dollars for elderly
victims and seeks to ensure that senior citizens are afforded full and accurate information regarding
deferred annuities.

Robbins Geller attorneys also stopped the fraudulent sale of life insurance policies based on
misrepresentations about how the life insurance policy would perform, the costs of the policy, and
whether premiums would “vanish.” Purchasers were also misled about the financing of a new life
insurance policy, falling victim to a “replacement” or “churning” sales scheme where they were convinced
to use loans, partial surrenders, or withdrawals of cash values from an existing permanent life insurance
policy to purchase a new policy.

       Brokerage “Pay to Play” Cases. On behalf of individuals, governmental entities, businesses, and
       non-profits, Robbins Geller has sued the largest commercial and employee benefit insurance
       brokers and insurers for unfair and deceptive business practices. While purporting to provide
       independent, unbiased advice as to the best policy, the brokers failed to adequately disclose that
       they had entered into separate “pay to play” agreements with certain third-party insurance
       companies. These agreements provide additional compensation to the brokers based on such
       factors as profitability, growth, and the volume of insurance that they place with a particular
       insurer, and are akin to a profit-sharing arrangement between the brokers and the insurance
       companies. These agreements create a conflict of interest since the brokers have a direct financial
       interest in selling their customers only the insurance products offered by those insurance
       companies with which the brokers have such agreements.

       Robbins Geller attorneys were among the first to uncover and pursue the allegations of these
       practices in the insurance industry in both state and federal courts. On behalf of the California
       Insurance Commissioner, the Firm brought an injunctive case against the biggest employee
       benefit insurers and local San Diego brokerage, ULR, which resulted in major changes to the way
       they did business. The Firm also sued on behalf of the City and County of San Francisco to
       recover losses due to these practices. Finally, Robbins Geller represents a putative nationwide
       class of individuals, businesses, employers, and governmental entities against the largest
       brokerage houses and insurers in the nation. To date, the Firm has obtained over $200 million
       on behalf of policyholders and enacted landmark business reforms.

       Discriminatory Credit Scoring and Redlining Cases. Robbins Geller attorneys have prosecuted
       cases concerning countrywide schemes of alleged discrimination carried out by Nationwide,
       Allstate, and other insurance companies against African-American and other persons of color who
       are purchasers of homeowner and automobile insurance policies. Such discrimination includes
       alleged redlining and the improper use of “credit scores,” which disparately impact minority
       communities. Plaintiffs in these actions have alleged that the insurance companies’ corporate-
       driven scheme of intentional racial discrimination includes refusing coverage and/or charging
       them higher premiums for homeowners and automobile insurance. On behalf of the class of
       aggrieved policyholders, the Firm has recovered over $400 million for these predatory and racist
       policies.



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       Senior Annuities. Robbins Geller has prosecuted numerous cases against insurance companies
       and their agents who targeted senior citizens for the sale of deferred annuities. Plaintiffs alleged
       that the insurers misrepresented or failed to disclose to senior consumers material facts concerning
       the costs associated with their fixed and equity indexed deferred annuities and enticed seniors to
       buy the annuities by promising them illusory up-front bonuses. As a result of the Firm’s efforts,
       hundreds of millions of dollars in economic relief has been made available to seniors who have
       been harmed by these practices. Notable recoveries include:

              Negrete v. Allianz Life Ins. Co. of N. Am., No. CV-05-6838 (C.D. Cal.). Robbins Geller
              attorneys served as co-lead counsel on behalf of a nationwide RICO class consisting of over
              200,000 senior citizens who had purchased deferred annuities issued by Allianz Life
              Insurance Company of North America. In March 2015, after nine years of litigation,
              District Judge Christina A. Snyder granted final approval of a class action settlement that
              made available in excess of $250 million in cash payments and other benefits to class
              members. In approving the settlement, the court praised the effort of the Firm and noted
              that “counsel has represented their clients with great skill and they are to be
              complimented.”

              In re Am. Equity Annuity Practices & Sales Litig., No. CV-05-6735 (C.D. Cal.). As co-lead
              counsel, Robbins Geller attorneys secured a settlement that made available $129 million in
              economic benefits to a nationwide class of 114,000 senior citizens.

              In re Midland Nat’l Life Ins. Co. Annuity Sales Practices Litig., MDL No. 07-1825 (C.D.
              Cal.). After four years of litigation, the Firm secured a settlement that made available
              $79.5 million in economic benefits to a nationwide class of 70,000 senior citizens.

              Negrete v. Fidelity & Guar. Life Ins. Co., No. CV-05-6837 (C.D. Cal.). The Firm’s efforts
              resulted in a settlement under which Fidelity made available $52.7 in benefits to 56,000
              class members across the country.

              In re Nat’l Western Life Ins. Deferred Annuities Litig., No. 05-CV-1018 (S.D. Cal.). The
              Firm litigated this action for more than eight years. On the eve of trial, the Firm
              negotiated a settlement providing over $21 million in value to a nationwide class of 12,000
              senior citizens.



Antitrust
Robbins Geller’s antitrust practice focuses on representing businesses and individuals who have been the
victims of price-fixing, unlawful monopolization, market allocation, tying, and other anti-competitive
conduct. The Firm has taken a leading role in many of the largest federal and state price-fixing,
monopolization, market allocation, and tying cases throughout the United States.

       In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL No. 1720
       (E.D.N.Y.). Robbins Geller attorneys, serving as co-lead counsel on behalf of merchants, obtained
       a settlement amount of $5.5 billion. In approving the settlement, the court noted that Robbins
       Geller and co-counsel “demonstrated the utmost professionalism despite the demands of the
       extreme perseverance that this case has required, litigating on behalf of a class of over 12 million
       for over fourteen years, across a changing legal landscape, significant motion practice, and appeal
       and remand. Class counsel’s pedigree and efforts alone speak to the quality of their
       representation.”



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Dahl v. Bain Capital Partners, LLC, No. 07-cv-12388 (D. Mass). Robbins Geller attorneys served as
co-lead counsel on behalf of shareholders in this antitrust action against the nation’s largest private
equity firms that colluded to restrain competition and suppress prices paid to shareholders of
public companies in connection with leveraged buyouts. Robbins Geller attorneys recovered more
than $590 million for the class from the private equity firm defendants, including Goldman Sachs
Group Inc. and Carlyle Group LP.

Alaska Elec. Pension Fund v. Bank of Am. Corp., No. 14-cv-07126 (S.D.N.Y.). Robbins Geller
attorneys prosecuted antitrust claims against 14 major banks and broker ICAP plc who were
alleged to have conspired to manipulate the ISDAfix rate, the key interest rate for a broad range
of interest rate derivatives and other financial instruments in contravention of the competition
laws. The class action was brought on behalf of investors and market participants who entered
into interest rate derivative transactions between 2006 and 2013. Final approval has been granted
to settlements collectively yielding $504.5 million from all defendants.

In re Currency Conversion Fee Antitrust Litig., 01 MDL No. 1409 (S.D.N.Y.). Robbins
Geller attorneys served as lead counsel and recovered $336 million for a class of credit and debit
cardholders. The court praised the Firm as “indefatigable,” noting that the Firm’s lawyers
“vigorously litigated every issue against some of the ablest lawyers in the antitrust defense bar.”

In re SSA Bonds Antitrust Litig., No. 1:16-cv-03711 (S.D.N.Y.). Robbins Geller attorneys are
serving as co-lead counsel in a case against several of the world’s largest banks and the traders of
certain specialized government bonds. They are alleged to have entered into a wide-ranging price-
fixing and bid-rigging scheme costing pension funds and other investors hundreds of millions. To
date, three of the more than a dozen corporate defendants have settled for $95.5 million.

In re Aftermarket Auto. Lighting Prods. Antitrust Litig., 09 MDL No. 2007 (C.D. Cal.). Robbins
Geller attorneys served as co-lead counsel in this multi-district litigation in which plaintiffs allege
that defendants conspired to fix prices and allocate markets for automotive lighting products. The
last defendants settled just before the scheduled trial, resulting in total settlements of more than
$50 million. Commenting on the quality of representation, the court commended the Firm for
“expend[ing] substantial and skilled time and efforts in an efficient manner to bring this action to
conclusion.”

In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 02 MDL No. 1486 (N.D. Cal.).
Robbins Geller attorneys served on the executive committee in this multi-district class action in
which a class of purchasers of dynamic random access memory (or DRAM) chips alleged that the
leading manufacturers of semiconductor products fixed the price of DRAM chips from the fall of
2001 through at least the end of June 2002. The case settled for more than $300 million.

Microsoft I-V Cases, JCCP No. 4106 (Cal. Super. Ct., San Francisco Cty.). Robbins Geller attorneys
served on the executive committee in these consolidated cases in which California indirect
purchasers challenged Microsoft’s illegal exercise of monopoly power in the operating system,
word processing, and spreadsheet markets. In a settlement approved by the court, class counsel
obtained an unprecedented $1.1 billion worth of relief for the business and consumer class
members who purchased the Microsoft products.




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Consumer Fraud
In our consumer-based economy, working families who purchase products and services must receive
truthful information so they can make meaningful choices about how to spend their hard-earned money.
When financial institutions and other corporations deceive consumers or take advantage of unequal
bargaining power, class action suits provide, in many instances, the only realistic means for an individual
to right a corporate wrong.

Robbins Geller attorneys represent consumers around the country in a variety of important, complex class
actions. Our attorneys have taken a leading role in many of the largest federal and state consumer fraud,
environmental, human rights, and public health cases throughout the United States. The Firm is also
actively involved in many cases relating to banks and the financial services industry, pursuing claims on
behalf of individuals victimized by abusive telemarketing practices, abusive mortgage lending practices,
market timing violations in the sale of variable annuities, and deceptive consumer credit lending practices
in violation of the Truth-In-Lending Act. Below are a few representative samples of our robust,
nationwide consumer practice.

       In re Nat’l Prescription Opiate Litig. Robbins Geller serves on the Plaintiffs’ Executive Committee
       to spearhead more than 2,900 federal lawsuits brought on behalf of governmental entities and
       other plaintiffs in the sprawling litigation concerning the nationwide prescription opioid
       epidemic. In reporting on the selection of the lawyers to lead the case, The National Law Journal
       reported that “[t]he team reads like a ‘Who’s Who’ in mass torts.”

       Apple Inc. Device Performance Litigation. Robbins Geller serves on the Plaintiffs’ Executive
       Committee to advance judicial interests of efficiency and protect the interests of the proposed class
       in the Apple litigation. The case alleges Apple misrepresented its iPhone devices and the nature of
       updates to its mobile operating system (iOS), which allegedly included code that significantly
       reduced the performance of older-model iPhones and forced users to incur expenses replacing
       these devices or their batteries.

       In re EpiPen (Epinephrine Injection, USP) Mktg., Sales Practices & Antitrust Litig. Robbins Geller
       serves as co-lead counsel in a case against Mylan Pharmaceuticals and Pfizer for engaging in
       crippling anti-competitive behavior that allowed the price of their ubiquitous and life-
       saving EpiPen auto-injector devices to rise over 600%, bilking American children and adults for
       hundreds of millions of dollars.

       Cordova v. Greyhound Lines, Inc. Robbins Geller represented California bus passengers pro bono in
       a landmark consumer and civil rights case against Greyhound for subjecting them to
       discriminatory immigration raids. Robbins Geller achieved a watershed court ruling that a private
       company may be held liable under California law for allowing border patrol to harass and racially
       profile its customers. The case heralds that Greyhound passengers do not check their rights and
       dignity at the bus door and has had an immediate impact, not only in California but nationwide.
       Within weeks of Robbins Geller filing the case, Greyhound added “know your rights” information
       to passengers to its website and on posters in bus stations around the country, along with adopting
       other business reforms.




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In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prods. Liab. Litig. As part of the
Plaintiffs’ Steering Committee, Robbins Geller reached a series of settlements on behalf of
purchasers, lessees, and dealers that total well over $17 billion, the largest settlement in history,
concerning illegal “defeat devices” that Volkswagen installed on many of its diesel-engine vehicles.
The device tricked regulators into believing the cars were complying with emissions standards,
while the cars were actually emitting between 10 and 40 times the allowable limit for harmful
pollutants.

Trump University. After six and a half years of tireless litigation and on the eve of trial, Robbins
Geller, serving as co-lead counsel, secured a historic recovery on behalf of Trump University
students around the country. The settlement provides $25 million to approximately 7,000
consumers, including senior citizens who accessed retirement accounts and maxed out credit cards
to enroll in Trump University. The extraordinary result means individual class members are
eligible for upwards of $35,000 in restitution.            The settlement resolves claims that
President Donald J. Trump and Trump University violated federal and state laws by misleadingly
marketing “Live Events” seminars and mentorships as teaching Trump’s “real-estate techniques”
through his “hand-picked” “professors” at his so-called “university.” Robbins Geller represented the
class on a pro bono basis.

In re Morning Song Bird Food Litig. Robbins Geller obtained final approval of a settlement in a
civil Racketeer Influenced and Corrupt Organizations Act consumer class action against The Scotts
Miracle-Gro Company and its CEO James Hagedorn. The settlement of up to $85 million
provides full refunds to consumers around the country and resolves claims that Scotts Miracle-Gro
knowingly sold wild bird food treated with pesticides that are hazardous to birds. In approving
the settlement, Judge Houston commended Robbins Gelller’s “skill and quality of work [as]
extraordinary” and the case as “aggressively litigated.” The Robbins Geller team battled a series of
dismissal motions before achieving class certification for the plaintiffs in March 2017, with the
court finding that “Plaintiffs would not have purchased the bird food if they knew it was poison.”
Defendants then appealed the class certification to the Ninth Circuit, which was denied, and then
tried to have the claims from non-California class members thrown out, which was also denied.

Bank Overdraft Fees Litigation. The banking industry charges consumers exorbitant amounts for
“overdraft” of their checking accounts, even if the customer did not authorize a charge beyond the
available balance and even if the account would not have been overdrawn had the transactions
been ordered chronologically as they occurred – that is, banks reorder transactions to maximize
such fees. The Firm brought lawsuits against major banks to stop this practice and recover these
false fees. These cases have recovered over $500 million thus far from a dozen banks and we
continue to investigate other banks engaging in this practice.

Visa and MasterCard Fees. After years of litigation and a six-month trial, Robbins Geller attorneys
won one of the largest consumer-protection verdicts ever awarded in the United States. The
Firm’s attorneys represented California consumers in an action against Visa and MasterCard for
intentionally imposing and concealing a fee from cardholders. The court ordered Visa and
MasterCard to return $800 million in cardholder losses, which represented 100% of the amount
illegally taken, plus 2% interest. In addition, the court ordered full disclosure of the hidden fee.

Sony Gaming Networks & Customer Data Security Breach Litigation. The Firm served as a member
of the Plaintiffs’ Steering Committee, helping to obtain a precedential opinion denying in part
Sony’s motion to dismiss plaintiffs’ claims involving the breach of Sony’s gaming network, leading
to a $15 million settlement.




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Tobacco Litigation. Robbins Geller attorneys have led the fight against Big Tobacco since 1991.
As an example, Robbins Geller attorneys filed the case that helped get rid of Joe Camel,
representing various public and private plaintiffs, including the State of Arkansas, the general
public in California, the cities of San Francisco, Los Angeles, and Birmingham, 14 counties in
California, and the working men and women of this country in the Union Pension and Welfare
Fund cases that have been filed in 40 states. In 1992, Robbins Geller attorneys filed the first case
in the country that alleged a conspiracy by the Big Tobacco companies.

Garment Workers Sweatshop Litigation. Robbins Geller attorneys represented a class of 30,000
garment workers who alleged that they had worked under sweatshop conditions in garment
factories in Saipan that produced clothing for top U.S. retailers such as The Gap, Target, and J.C.
Penney. In the first action of its kind, Robbins Geller attorneys pursued claims against the
factories and the retailers alleging violations of RICO, the Alien Tort Claims Act, and the Law of
Nations based on the alleged systemic labor and human rights abuses occurring in Saipan. This
case was a companion to two other actions, one which alleged overtime violations by the garment
factories under the Fair Labor Standards Act and local labor law, and another which alleged
violations of California’s Unfair Practices Law by the U.S. retailers. These actions resulted in a
settlement of approximately $20 million that included a comprehensive monitoring program to
address past violations by the factories and prevent future ones. The members of the litigation
team were honored as Trial Lawyers of the Year by the Trial Lawyers for Public Justice in
recognition of the team’s efforts at bringing about the precedent-setting settlement of the actions.

In re Intel Corp. CPU Mktg., Sales Practices & Prods. Liab. Litig. Robbins Geller serves on the
Plaintiffs’ Steering Committee in Intel, a massive multidistrict litigation pending in the United
States District Court for the District of Oregon. Intel concerns serious security vulnerabilities –
known as “Spectre” and “Meltdown” – that infect nearly all of Intel’s x86 processors manufactured
and sold since 1995, the patching of which results in processing speed degradation of the impacted
computer, server or mobile device.

Hauck v. Advanced Micro Devices, Inc. An attorney from Robbins Geller serves as co-lead counsel
in a case against Advanced Micro Devices, Inc. (“AMD”), which alleges that AMD’s processors are
incapable of operating as intended and at processing speeds represented by AMD without
exposing users to the Spectre vulnerability, which allows hackers to covertly access sensitive
information stored within the CPU’s kernel.

West Telemarketing Case. Robbins Geller attorneys secured a $39 million settlement for class
members caught up in a telemarketing scheme where consumers were charged for an unwanted
membership program after purchasing Tae-Bo exercise videos. Under the settlement, consumers
were entitled to claim between one and one-half to three times the amount of all fees they
unknowingly paid.

Dannon Activia®. Robbins Geller attorneys secured the largest ever settlement for a false
advertising case involving a food product. The case alleged that Dannon’s advertising for its
Activia® and DanActive® branded products and their benefits from “probiotic” bacteria were
overstated. As part of the nationwide settlement, Dannon agreed to modify its advertising and
establish a fund of up to $45 million to compensate consumers for their purchases of Activia® and
DanActive®.

Mattel Lead Paint Toys. In 2006-2007, toy manufacturing giant Mattel and its subsidiary Fisher-
Price announced the recall of over 14 million toys made in China due to hazardous lead and




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       dangerous magnets. Robbins Geller attorneys filed lawsuits on behalf of millions of parents and
       other consumers who purchased or received toys for children that were marketed as safe but were
       later recalled because they were dangerous. The Firm’s attorneys reached a landmark settlement
       for millions of dollars in refunds and lead testing reimbursements, as well as important testing
       requirements to ensure that Mattel’s toys are safe for consumers in the future.

       Tenet Healthcare Cases. Robbins Geller attorneys were co-lead counsel in a class action alleging a
       fraudulent scheme of corporate misconduct, resulting in the overcharging of uninsured patients
       by the Tenet chain of hospitals. The Firm’s attorneys represented uninsured patients of Tenet
       hospitals nationwide who were overcharged by Tenet’s admittedly “aggressive pricing strategy,”
       which resulted in price gouging of the uninsured. The case was settled with Tenet changing its
       practices and making refunds to patients.

       Pet Food Products Liability Litigation. Robbins Geller served as co-lead counsel in this massive,
       100+ case products liability MDL in the District of New Jersey concerning the death of and injury
       to thousands of the nation’s cats and dogs due to tainted pet food. The case settled for $24
       million.



Human Rights, Labor Practices, and Public Policy
Robbins Geller attorneys have a long tradition of representing the victims of unfair labor practices and
violations of human rights. These include:

       Does I v. The Gap, Inc., No. 01 0031 (D. N. Mar. I.). In this groundbreaking case, Robbins Geller
       attorneys represented a class of 30,000 garment workers who alleged that they had worked under
       sweatshop conditions in garment factories in Saipan that produced clothing for top U.S. retailers
       such as The Gap, Target, and J.C. Penney. In the first action of its kind, Robbins Geller attorneys
       pursued claims against the factories and the retailers alleging violations of RICO, the Alien Tort
       Claims Act, and the Law of Nations based on the alleged systemic labor and human rights abuses
       occurring in Saipan. This case was a companion to two other actions: Does I v. Advance Textile
       Corp., No. 99 0002 (D. N. Mar. I.), which alleged overtime violations by the garment factories
       under the Fair Labor Standards Act and local labor law, and UNITE v. The Gap, Inc., No. 300474
       (Cal. Super. Ct., San Francisco Cty.), which alleged violations of California’s Unfair Practices Law
       by the U.S. retailers. These actions resulted in a settlement of approximately $20 million that
       included a comprehensive monitoring program to address past violations by the factories and
       prevent future ones. The members of the litigation team were honored as Trial Lawyers of the
       Year by the Trial Lawyers for Public Justice in recognition of the team’s efforts at bringing about
       the precedent-setting settlement of the actions.

       Liberty Mutual Overtime Cases, No. JCCP 4234 (Cal. Super. Ct., Los Angeles Cty.). Robbins Geller
       attorneys served as co-lead counsel on behalf of 1,600 current and former insurance claims
       adjusters at Liberty Mutual Insurance Company and several of its subsidiaries. Plaintiffs brought
       the case to recover unpaid overtime compensation and associated penalties, alleging that Liberty
       Mutual had misclassified its claims adjusters as exempt from overtime under California law. After
       13 years of complex and exhaustive litigation, Robbins Geller secured a settlement in which
       Liberty Mutual agreed to pay $65 million into a fund to compensate the class of claims adjusters
       for unpaid overtime. The Liberty Mutual action is one of a few claims adjuster overtime actions
       brought in California or elsewhere to result in a successful outcome for plaintiffs since 2004.




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       Veliz v. Cintas Corp., No. 5:03-cv-01180 (N.D. Cal.). Brought against one of the nation’s largest
       commercial laundries for violations of the Fair Labor Standards Act for misclassifying truck drivers
       as salesmen to avoid payment of overtime.

       Kasky v. Nike, Inc., 27 Cal. 4th 939 (2002). The California Supreme Court upheld claims that an
       apparel manufacturer misled the public regarding its exploitative labor practices, thereby violating
       California statutes prohibiting unfair competition and false advertising. The court rejected
       defense contentions that any misconduct was protected by the First Amendment, finding the
       heightened constitutional protection afforded to noncommercial speech inappropriate in such a
       circumstance.

Shareholder derivative litigation brought by Robbins Geller attorneys at times also involves stopping anti-
union activities, including:

       Southern Pacific/Overnite. A shareholder action stemming from several hundred million dollars in
       loss of value in the company due to systematic violations by Overnite of U.S. labor laws.

       Massey Energy. A shareholder action against an anti-union employer for flagrant violations of
       environmental laws resulting in multi-million-dollar penalties.

       Crown Petroleum. A shareholder action against a Texas-based oil company for self-dealing and
       breach of fiduciary duty while also involved in a union lockout.



Environment and Public Health
Robbins Geller attorneys have also represented plaintiffs in class actions related to environmental law.
The Firm’s attorneys represented, on a pro bono basis, the Sierra Club and the National Economic
Development and Law Center as amici curiae in a federal suit designed to uphold the federal and state use
of project labor agreements (“PLAs”). The suit represented a legal challenge to President Bush’s Executive
Order 13202, which prohibits the use of project labor agreements on construction projects receiving
federal funds. Our amici brief in the matter outlined and stressed the significant environmental and socio-
economic benefits associated with the use of PLAs on large-scale construction projects.

Attorneys with Robbins Geller have been involved in several other significant environmental cases,
including:

       Public Citizen v. U.S. D.O.T. Robbins Geller attorneys represented a coalition of labor,
       environmental, industry, and public health organizations including Public Citizen, The
       International Brotherhood of Teamsters, California AFL-CIO, and California Trucking Industry
       in a challenge to a decision by the Bush administration to lift a Congressionally-imposed
       “moratorium” on cross-border trucking from Mexico on the basis that such trucks do not conform
       to emission controls under the Clean Air Act, and further, that the administration did not first
       complete a comprehensive environmental impact analysis as required by the National
       Environmental Policy Act. The suit was dismissed by the United States Supreme Court, the court
       holding that because the D.O.T. lacked discretion to prevent crossborder trucking, an
       environmental assessment was not required.

       Sierra Club v. AK Steel. Brought on behalf of the Sierra Club for massive emissions of air and
       water pollution by a steel mill, including homes of workers living in the adjacent communities, in
       violation of the Federal Clean Air Act, the Resource Conservation Recovery Act, and the Clean
       Water Act.


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       MTBE Litigation. Brought on behalf of various water districts for befouling public drinking water
       with MTBE, a gasoline additive linked to cancer.

       Exxon Valdez. Brought on behalf of fisherman and Alaska residents for billions of dollars in
       damages resulting from the greatest oil spill in U.S. history.

       Avila Beach. A citizens’ suit against UNOCAL for leakage from the oil company pipeline so severe
       it literally destroyed the town of Avila Beach, California.

Federal laws such as the Clean Water Act, the Clean Air Act, and the Resource Conservation and Recovery
Act and state laws such as California’s Proposition 65 exist to protect the environment and the public from
abuses by corporate and government organizations. Companies can be found liable for negligence,
trespass, or intentional environmental damage, be forced to pay for reparations, and to come into
compliance with existing laws. Prominent cases litigated by Robbins Geller attorneys include representing
more than 4,000 individuals suing for personal injury and property damage related to the Stringfellow
Dump Site in Southern California, participation in the Exxon Valdez oil spill litigation, and litigation
involving the toxic spill arising from a Southern Pacific train derailment near Dunsmuir, California.

Robbins Geller attorneys have led the fight against Big Tobacco since 1991. As an example, Robbins
Geller attorneys filed the case that helped get rid of Joe Camel, representing various public and private
plaintiffs, including the State of Arkansas, the general public in California, the cities of San Francisco, Los
Angeles, and Birmingham, 14 counties in California, and the working men and women of this country in
the Union Pension and Welfare Fund cases that have been filed in 40 states. In 1992, Robbins Geller
attorneys filed the first case in the country that alleged a conspiracy by the Big Tobacco companies.



Pro Bono
Robbins Geller provides counsel to those unable to afford legal representation as part of a continuous and
longstanding commitment to the communities in which it serves. Over the years the Firm has dedicated a
considerable amount of time, energy, and a full range of its resources for many pro bono and charitable
actions.

Robbins Geller has been honored for its pro bono efforts by the California State Bar (including a
nomination for the President’s Pro Bono Law Firm of the Year award) and the San Diego Volunteer
Lawyer’s Program, among others.

Some of the Firm’s and its attorneys’ pro bono and charitable actions include:

       Representing public school children and parents in Tennessee challenging the state’s private
       school voucher law, known as the Education Savings Account (ESA) Pilot Program. Robbins Geller
       helped achieve favorable rulings enjoining implementation of the ESA for violating the Home
       Rule provision of the Tennessee Constitution, which prohibits the General Assembly from passing
       laws that target specific counties without local approval.




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Representing California bus passengers pro bono in a landmark consumer and civil rights case
against Greyhound for subjecting them to discriminatory immigration raids. Robbins Geller
achieved a watershed court ruling that a private company may be held liable under California law
for allowing border patrol to harass and racially profile its customers. The case heralds that
Greyhound passengers do not check their rights and dignity at the bus door and has had an
immediate impact, not only in California but nationwide. Within weeks of Robbins Geller filing
the case, Greyhound added “know your rights” information to passengers to its website and on
posters in bus stations around the country, along with adopting other business reforms.

Working with the Homeless Action Center (HAC) to provide no-cost, barrier-free, culturally
competent legal representation that makes it possible for people who are homeless (or at risk of
becoming homeless) to access social safety net programs that help restore dignity and provide
sustainable income, healthcare, mental health treatment, and housing. Based in Oakland and
Berkeley, the non-profit is the only program in the Bay Area that specializes in legal services to
those who are chronically homeless. In 2016, HAC provided assistance to 1,403 men and 936
women, and 1,691 cases were completed. An additional 1,357 cases were still pending when the
year ended. The results include 512 completed SSI cases with a success rate of 87%.

Representing Trump University students in two class actions against President Donald J. Trump.
The historic settlement provides $25 million to approximately 7,000 consumers. This means
individual class members are eligible for upwards of $35,000 in restitution – an extraordinary
result.

Representing children diagnosed with Autism Spectrum Disorder, as well as children with
significant disabilities, in New York to remedy flawed educational policies and practices that cause
substantial harm to these and other similar children year after year.

Representing 19 San Diego County children diagnosed with Autism Spectrum Disorder in their
appeal of the San Diego Regional Center’s termination of funding for a crucial therapy. The
victory resulted in a complete reinstatement of funding and set a precedent that allows other
children to obtain the treatments they need.

Serving as Northern California and Hawaii District Coordinator for the United States Court of
Appeals for the Ninth Circuit’s Pro Bono program since 1993.

Representing the Sierra Club and the National Economic Development and Law Center as amici
curiae before the U.S. Supreme Court.

Obtaining political asylum, after an initial application had been denied, for an impoverished
Somali family whose ethnic minority faced systematic persecution and genocidal violence in
Somalia, as well as forced female mutilation.

Working with the ACLU in a class action filed on behalf of welfare applicants subject to San Diego
County’s “Project 100%” program. Relief was had when the County admitted that food-stamp
eligibility could not hinge upon the Project 100% “home visits,” and again when the district court
ruled that unconsented “collateral contacts” violated state regulations. The decision was noted by
the Harvard Law Review, The New York Times, and The Colbert Report.




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       Filing numerous amicus curiae briefs on behalf of religious organizations and clergy that support
       civil rights, oppose government-backed religious-viewpoint discrimination, and uphold the
       American traditions of religious freedom and church-state separation.

       Serving as amicus counsel in a Ninth Circuit appeal from a Board of Immigration Appeals
       deportation decision. In addition to obtaining a reversal of the BIA’s deportation order, the Firm
       consulted with the Federal Defenders’ Office on cases presenting similar fact patterns, which
       resulted in a precedent-setting en banc decision from the Ninth Circuit resolving a question of state
       and federal law that had been contested and conflicted for decades.



E-Discovery
Robbins Geller has successfully litigated some of the largest and most complex shareholder and antitrust
actions in history and has become the vanguard of a rapidly evolving world of e-discovery in complex
litigation. The Firm has 200 attorneys supported by a large staff of forensic and e-discovery specialists
and has a level of technological sophistication that is unmatched by any other firm. As the size and stakes
of complex litigation continue to increase, it is more important than ever to retain counsel with a
successful track record of results. Robbins Geller has consistently proven to be the right choice for anyone
seeking representation in actions against the largest corporations in the world.

Led by 20-year litigation veteran Tor Gronborg, and advised by Lea Bays, e-discovery counsel, and
Christine Milliron, Director of E-Discovery and Litigation Support, the Robbins Geller e-discovery
practice group is a multi-disciplinary team of attorneys, forensic analysts, and database professionals. No
plaintiffs’ firm is better equipped to develop the type of comprehensive and case specific e-discovery
strategy that is necessary for today’s complex litigation. The attorneys have extensive knowledge and
experience in drafting and negotiating sophisticated e-discovery protocols, including those involving the
use of predictive coding. High quality document review services are performed by a consistent group of
staff attorneys who are experienced in the Firm’s litigation practice areas and specialize in document
review and analysis. A team of forensic and technology professionals work closely with the attorneys to
ensure an effective and efficient e-discovery strategy. The litigation support team includes six Relativity
Certified Administrators. Collectively, the Robbins Geller forensic and technology professionals have
more than 75 years of e-discovery experience.

Members of the practice group are also leaders in shaping the broader dialogue on e-discovery issues.
They regularly contribute to industry publications, speak at conferences organized by leading e-discovery
think tanks such as The Sedona Conference and Georgetown University Law Center’s Advanced
eDiscovery Institute, and play prominent roles in the local chapters of Women in eDiscovery and the
Relativity Users Steering Committee. The e-discovery practice group also offers regular in-house training
and education, ensuring that members of the Firm are always up-to-date on the evolving world of e-
discovery law and technology.

Robbins Geller has always been a leader in document-intensive litigation. Boasting high-performing
infrastructure resources, state-of-the-art technology, and a deep bench of some of the most highly trained
Relativity Certified Administrators and network engineers, the Firm’s capabilities rival, if not outshine,
those of the top e-discovery vendors in the industry. Additionally, the Firm’s implementation of advanced
analytic technologies and custom workflows makes its work fast, smart, and efficient. Combined with
Robbins Geller’s decision to manage and host its litigation support in-house, these technologies reduce the
Firm’s reliance on third-party vendors, enabling it to offer top-notch e-discovery services to clients at a
fair and reasonable cost.




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                                                                      PRACTICE AREAS AND SERVICES

Security is a top priority at Robbins Geller. The Firm’s hosted e-discovery is secured using bank-level 128
encryption and is protected behind state-of-the-art Cisco firewalls. All e-discovery data is hosted on Firm-
owned equipment at an SSAE 16-compliant, SOC 1, 2, and 3 audited facility that features 9.1 megawatts
of power, N+1 or better redundancy on all data center systems, and security protocols required by
leading businesses in the most stringent verticals. Originally designed to support a large defense
contractor, it is built to rigorous standards, complete with redundant power and cooling systems, plus
multiple generators.




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PROMINENT CASES, PRECEDENT-SETTING
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Prominent Cases
Over the years, Robbins Geller attorneys have obtained outstanding results in some of the most notorious
and well-known cases, frequently earning judicial commendations for the quality of their representation.

       In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D. Tex.). Investors lost billions of dollars as a result
       of the massive fraud at Enron. In appointing Robbins Geller lawyers as sole lead counsel to
       represent the interests of Enron investors, the court found that the Firm’s zealous prosecution and
       level of “insight” set it apart from its peers. Robbins Geller attorneys and lead plaintiff The
       Regents of the University of California aggressively pursued numerous defendants, including
       many of Wall Street’s biggest banks, and successfully obtained settlements in excess of $7.2 billion
       for the benefit of investors. This is the largest securities class action recovery in history.

       The court overseeing this action had utmost praise for Robbins Geller’s efforts and stated that
       “[t]he experience, ability, and reputation of the attorneys of [Robbins Geller] is not disputed; it is
       one of the most successful law firms in securities class actions, if not the preeminent one, in the
       country.” In re Enron Corp. Sec., Derivative & “ERISA” Litig., 586 F. Supp. 2d 732, 797 (S.D. Tex.
       2008).

       The court further commented: “[I]n the face of extraordinary obstacles, the skills, expertise,
       commitment, and tenacity of [Robbins Geller] in this litigation cannot be overstated. Not to be
       overlooked are the unparalleled results, . . . which demonstrate counsel’s clearly superlative
       litigating and negotiating skills.” Id. at 789.

       The court stated that the Firm’s attorneys “are to be commended for their zealousness, their
       diligence, their perseverance, their creativity, the enormous breadth and depth of their
       investigations and analysis, and their expertise in all areas of securities law on behalf of the
       proposed class.” Id.

       In addition, the court noted, “This Court considers [Robbins Geller] ‘a lion’ at the securities bar
       on the national level,” noting that the Lead Plaintiff selected Robbins Geller because of the Firm’s
       “outstanding reputation, experience, and success in securities litigation nationwide.” Id. at 790.

       The court further stated that “Lead Counsel’s fearsome reputation and successful track record
       undoubtedly were substantial factors in . . . obtaining these recoveries.” Id.

       Finally, Judge Harmon stated: “As this Court has explained [this is] an extraordinary group of
       attorneys who achieved the largest settlement fund ever despite the great odds against them.” Id.
       at 828.

       Jaffe v. Household Int’l, Inc., No. 02-C-05893 (N.D. Ill). As sole lead counsel, Robbins Geller
       obtained a record-breaking settlement of $1.575 billion after 14 years of litigation, including a six-
       week jury trial in 2009 that resulted in a securities fraud verdict in favor of the class. In 2015, the
       Seventh Circuit Court of Appeals upheld the jury’s verdict that defendants made false or
       misleading statements of material fact about the company’s business practices and financial results,
       but remanded the case for a new trial on the issue of whether the individual defendants “made”
       certain false statements, whether those false statements caused plaintiffs’ losses, and the amount of


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damages. The parties reached an agreement to settle the case just hours before the retrial was
scheduled to begin on June 6, 2016. The $1.575 billion settlement, approved in October 2016, is the
largest ever following a securities fraud class action trial, the largest securities fraud settlement in
the Seventh Circuit and the seventh-largest settlement ever in a post-PSLRA securities fraud case.
According to published reports, the case was just the seventh securities fraud case tried to a verdict
since the passage of the PSLRA.

In approving the settlement, the Honorable Jorge L. Alonso noted the team’s “skill and
determination” while recognizing that “Lead Counsel prosecuted the case vigorously and skillfully
over 14 years against nine of the country’s most prominent law firms” and “achieved an
exceptionally significant recovery for the class.” The court added that the team faced “significant
hurdles” and “uphill battles” throughout the case and recognized that “[c]lass counsel performed a
very high-quality legal work in the context of a thorny case in which the state of the law has been
and is in flux.” The court succinctly concluded that the settlement was “a spectacular result for the
class.” Jaffe v. Household Int’l, Inc., No. 02-C-5892, 2016 U.S. Dist. LEXIS 156921, at *8 (N.D. Ill.
Nov. 10, 2016); Jaffe v. Household Int’l, Inc., No. 02-C-05893, Transcript at 56, 65 (N.D. Ill. Oct. 20,
2016).

In re Valeant Pharm. Int’l, Inc. Sec. Litig., No. 3:15-cv-07658 (D.N.J.). As sole lead counsel,
Robbins Geller attorneys obtained preliminary approval of a $1.2 billion settlement in the
securities case that Vanity Fair reported as “the corporate scandal of its era” that had raised
“fundamental questions about the functioning of our health-care system, the nature of modern
markets, and the slippery slope of ethical rationalizations.” The settlement resolves claims that
defendants made false and misleading statements regarding Valeant’s business and financial
performance during the class period, attributing Valeant’s dramatic growth in revenues and
profitability to “innovative new marketing approaches” as part of a business model that was low risk
and “durable and sustainable.” Pending court approval, Valeant is the largest securities class action
settlement against a pharmaceutical manufacturer and the ninth largest ever.

In re Am. Realty Capital Props., Inc. Litig., No. 1:15-mc-00040 (S.D.N.Y.). As sole lead counsel,
Robbins Geller attorneys zealously litigated the case arising out of ARCP’s manipulative accounting
practices and obtained a $1.025 billion settlement. For five years, the litigation team prosecuted
nine different claims for violations of the Securities Exchange Act of 1934 and Securities Act of
1933, involving seven different stock or debt offerings and two mergers. The recovery represents
the highest percentage of damages of any major PSLRA case prior to trial and includes the largest
personal contributions by individual defendants in history.

In approving the settlement, the Honorable Alvin K. Hellerstein lauded the Robbins Geller
litigation team, noting: “My own observation is that plaintiffs’ representation is adequate and that
the role of lead counsel was fulfilled in an extremely fine fashion by [Robbins Geller]. At every
juncture, the representations made to me were reliable, the arguments were cogent, and the
representation of their client was zealous.”

In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.). In the UnitedHealth case,
Robbins Geller represented the California Public Employees’ Retirement System (“CalPERS”) and
demonstrated its willingness to vigorously advocate for its institutional clients, even under the most
difficult circumstances. For example, in 2006, the issue of high-level executives backdating stock
options made national headlines. During that time, many law firms, including Robbins Geller,
brought shareholder derivative lawsuits against the companies’ boards of directors for breaches of
their fiduciary duties or for improperly granting backdated options. Rather than pursuing a
shareholder derivative case, the Firm filed a securities fraud class action against the company on
behalf of CalPERS. In doing so, Robbins Geller faced significant and unprecedented legal


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obstacles with respect to loss causation, i.e., that defendants’ actions were responsible for causing
the stock losses. Despite these legal hurdles, Robbins Geller obtained an $895 million recovery on
behalf of the UnitedHealth shareholders. Shortly after reaching the $895 million settlement with
UnitedHealth, the remaining corporate defendants, including former CEO William A. McGuire,
also settled. McGuire paid $30 million and returned stock options representing more than three
million shares to the shareholders. The total recovery for the class was over $925 million, the
largest stock option backdating recovery ever, and a recovery that is more than four times larger
than the next largest options backdating recovery.            Moreover, Robbins Geller obtained
unprecedented corporate governance reforms, including election of a shareholder-nominated
member to the company’s board of directors, a mandatory holding period for shares acquired by
executives via option exercise, and executive compensation reforms that tie pay to performance.

Alaska Elec. Pension Fund v. CitiGroup, Inc. (In re WorldCom Sec. Litig.), No. 03 Civ. 8269
(S.D.N.Y.). Robbins Geller attorneys represented more than 50 private and public institutions that
opted out of the class action case and sued WorldCom’s bankers, officers and directors, and
auditors in courts around the country for losses related to WorldCom bond offerings from 1998 to
2001. The Firm’s clients included major public institutions from across the country such as
CalPERS, CalSTRS, the state pension funds of Maine, Illinois, New Mexico, and West Virginia,
union pension funds, and private entities such as AIG and Northwestern Mutual. Robbins Geller
attorneys recovered more than $650 million for their clients, substantially more than they would
have recovered as part of the class.

Luther v. Countrywide Fin. Corp., No. 12-cv-05125 (C.D. Cal.). Robbins Geller attorneys secured a
$500 million settlement for institutional and individual investors in what is the largest RMBS
purchaser class action settlement in history, and one of the largest class action securities
settlements of all time. The unprecedented settlement resolves claims against Countrywide and
Wall Street banks that issued the securities. The action was the first securities class action case filed
against originators and Wall Street banks as a result of the credit crisis. As co-lead counsel Robbins
Geller forged through six years of hard-fought litigation, oftentimes litigating issues of first
impression, in order to secure the landmark settlement for its clients and the class.

In approving the settlement, Judge Mariana R. Pfaelzer repeatedly complimented plaintiffs’
attorneys, noting that it was “beyond serious dispute that Class Counsel has vigorously prosecuted
the Settlement Actions on both the state and federal level over the last six years.” Judge Pfaelzer
also commented that “[w]ithout a settlement, these cases would continue indefinitely, resulting in
significant risks to recovery and continued litigation costs. It is difficult to understate the risks to
recovery if litigation had continued.” Me. State Ret. Sys. v. Countrywide Fin. Corp., No.
2:10-CV-00302, 2013 U.S. Dist. LEXIS 179190, at *44, *56 (C.D. Cal. Dec. 5, 2013).

Judge Pfaelzer further noted that the proposed $500 million settlement represents one of the
“largest MBS class action settlements to date. Indeed, this settlement easily surpasses the next
largest . . . MBS settlement.” Id. at *59.

In re Wachovia Preferred Sec. & Bond/Notes Litig., No. 09-cv-06351 (S.D.N.Y.). In litigation over
bonds and preferred securities, issued by Wachovia between 2006 and 2008, Robbins Geller and
co-counsel obtained a significant settlement with Wachovia successor Wells Fargo & Company
($590 million) and Wachovia auditor KPMG LLP ($37 million). The total settlement – $627 million –
is one of the largest credit-crisis settlements involving Securities Act claims and one of the 20 largest
securities class action recoveries in history. The settlement is also one of the biggest securities class
action recoveries arising from the credit crisis.




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As alleged in the complaint, the offering materials for the bonds and preferred securities misstated
and failed to disclose the true nature and quality of Wachovia’s mortgage loan portfolio, which
exposed the bank and misled investors to tens of billions of dollars in losses on mortgage-related
assets. In reality, Wachovia employed high-risk underwriting standards and made loans to
subprime borrowers, contrary to the offering materials and their statements of “pristine credit
quality.” Robbins Geller served as co-lead counsel representing the City of Livonia Employees’
Retirement System, Hawaii Sheet Metal Workers Pension Fund, and the investor class.

In re Cardinal Health, Inc. Sec. Litig., No. C2-04-575 (S.D. Ohio). As sole lead counsel
representing Cardinal Health shareholders, Robbins Geller obtained a recovery of $600 million
for investors. On behalf of the lead plaintiffs, Amalgamated Bank, the New Mexico State
Investment Council, and the California Ironworkers Field Trust Fund, the Firm aggressively
pursued class claims and won numerous courtroom victories, including a favorable decision on
defendants’ motion to dismiss. In re Cardinal Health, Inc. Sec. Litigs., 426 F. Supp. 2d 688 (S.D.
Ohio 2006). At the time, the $600 million settlement was the tenth-largest settlement in the
history of securities fraud litigation and is the largest-ever recovery in a securities fraud action in
the Sixth Circuit. Judge Marbley commented: “[T]his is an extraordinary settlement relative to all
the other settlements in cases of this nature and certainly cases of this magnitude. . . . This was an
outstanding settlement. . . . [I]n most instances, if you’ve gotten four cents on the dollar, you’ve
done well. You’ve gotten twenty cents on the dollar, so that’s been extraordinary. In re Cardinal
Health, Inc. Sec. Litig., No. 2:04-CV-575, Transcript at 16, 32 (S.D. Ohio Oct. 19, 2007). Judge
Marbley further stated:

                     The quality of representation in this case was superb. Lead Counsel,
        [Robbins Geller], are nationally recognized leaders in complex securities litigation
        class actions. The quality of the representation is demonstrated by the substantial
        benefit achieved for the Class and the efficient, effective prosecution and resolution
        of this action. Lead Counsel defeated a volley of motions to dismiss, thwarting well-
        formed challenges from prominent and capable attorneys from six different law
        firms.

In re Cardinal Health Inc. Sec. Litigs., 528 F. Supp. 2d 752, 768 (S.D. Ohio 2007).

AOL Time Warner Cases I & II, JCCP Nos. 4322 & 4325 (Cal. Super. Ct., Los Angeles Cty.).
Robbins Geller represented The Regents of the University of California, six Ohio state pension
funds, Rabo Bank (NL), the Scottish Widows Investment Partnership, several Australian public
and private funds, insurance companies, and numerous additional institutional investors, both
domestic and international, in state and federal court opt-out litigation stemming from Time
Warner’s disastrous 2001 merger with Internet high flier America Online. Robbins Geller
attorneys exposed a massive and sophisticated accounting fraud involving America Online’s e-
commerce and advertising revenue. After almost four years of litigation involving extensive
discovery, the Firm secured combined settlements for its opt-out clients totaling over $629 million
just weeks before The Regents’ case pending in California state court was scheduled to go to trial.
The Regents’ gross recovery of $246 million is the largest individual opt-out securities recovery in
history.




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Abu Dhabi Commercial Bank v. Morgan Stanley & Co., No. 1:08-cv-07508-SAS-DCF (S.D.N.Y.), and
King County, Washington v. IKB Deutsche Industriebank AG, No. 1:09-cv-08387-SAS (S.D.N.Y.).
The Firm represented multiple institutional investors in successfully pursuing recoveries from two
failed structured investment vehicles, each of which had been rated “AAA” by Standard & Poors
and Moody’s, but which failed fantastically in 2007. The matter settled just prior to trial in 2013.
This result was only made possible after Robbins Geller lawyers beat back the rating agencies’
longtime argument that ratings were opinions protected by the First Amendment.

In re HealthSouth Corp. Sec. Litig., No. CV-03-BE-1500-S (N.D. Ala.). As court-appointed co-lead
counsel, Robbins Geller attorneys obtained a combined recovery of $671 million from
HealthSouth, its auditor Ernst & Young, and its investment banker, UBS, for the benefit of
stockholder plaintiffs. The settlement against HealthSouth represents one of the larger
settlements in securities class action history and is considered among the top 15 settlements
achieved after passage of the PSLRA. Likewise, the settlement against Ernst & Young is one of the
largest securities class action settlements entered into by an accounting firm since the passage of
the PSLRA. HealthSouth and its financial advisors perpetrated one of the largest and most
pervasive frauds in the history of U.S. healthcare, prompting Congressional and law enforcement
inquiry and resulting in guilty pleas of 16 former HealthSouth executives in related federal
criminal prosecutions. In March 2009, Judge Karon Bowdre commented in the HealthSouth class
certification opinion: “The court has had many opportunities since November 2001 to examine the
work of class counsel and the supervision by the Class Representatives. The court finds both to be
far more than adequate.” In re HealthSouth Corp. Sec. Litig., 257 F.R.D. 260, 275 (N.D. Ala. 2009).

In re Dynegy Inc. Sec. Litig., No. H-02-1571 (S.D. Tex.). As sole lead counsel representing The
Regents of the University of California and the class of Dynegy investors, Robbins Geller attorneys
obtained a combined settlement of $474 million from Dynegy, Citigroup, Inc., and Arthur
Andersen LLP for their involvement in a clandestine financing scheme known as Project Alpha.
Given Dynegy’s limited ability to pay, Robbins Geller attorneys structured a settlement (reached
shortly before the commencement of trial) that maximized plaintiffs’ recovery without
bankrupting the company. Most notably, the settlement agreement provides that Dynegy will
appoint two board members to be nominated by The Regents, which Robbins Geller and The
Regents believe will benefit all of Dynegy’s stockholders.

Jones v. Pfizer Inc., No. 1:10-cv-03864 (S.D.N.Y.). Lead plaintiff Stichting Philips Pensioenfonds
obtained a $400 million settlement on behalf of class members who purchased Pfizer common
stock during the January 19, 2006 to January 23, 2009 class period. The settlement against Pfizer
resolves accusations that it misled investors about an alleged off-label drug marketing scheme. As
sole lead counsel, Robbins Geller attorneys helped achieve this exceptional result after five years of
hard-fought litigation against the toughest and the brightest members of the securities defense bar
by litigating this case all the way to trial.

In approving the settlement, United States District Judge Alvin K. Hellerstein commended the
Firm, noting that “[w]ithout the quality and the toughness that you have exhibited, our society
would not be as good as it is with all its problems. So from me to you is a vote of thanks for
devoting yourself to this work and doing it well. . . . You did a really good job. Congratulations.”

In re Qwest Commc’ns Int’l, Inc. Sec. Litig., No. 01-cv-1451 (D. Colo.). Robbins Geller attorneys
served as lead counsel for a class of investors that purchased Qwest securities. In July 2001, the
Firm filed the initial complaint in this action on behalf of its clients, long before any investigation
into Qwest’s financial statements was initiated by the SEC or Department of Justice. After five
years of litigation, lead plaintiffs entered into a settlement with Qwest and certain individual
defendants that provided a $400 million recovery for the class and created a mechanism that

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allowed the vast majority of class members to share in an additional $250 million recovered by the
SEC. In 2008, Robbins Geller attorneys recovered an additional $45 million for the class in a
settlement with defendants Joseph P. Nacchio and Robert S. Woodruff, the CEO and CFO,
respectively, of Qwest during large portions of the class period.

Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., No. 1:09-cv-03701 (S.D.N.Y.). Robbins
Geller attorneys served as lead counsel for a class of investors and obtained court approval of a
$388 million recovery in nine 2007 residential mortgage-backed securities offerings issued by J.P.
Morgan. The settlement represents, on a percentage basis, the largest recovery ever achieved in
an MBS purchaser class action. The result was achieved after more than five years of hard-fought
litigation and an extensive investigation. In granting approval of the settlement, the court stated
the following about Robbins Geller attorneys litigating the case: “[T]here is no question in my mind
that this is a very good result for the class and that the plaintiffs’ counsel fought the case very hard
with extensive discovery, a lot of depositions, several rounds of briefing of various legal issues
going all the way through class certification.”

Smilovits v. First Solar, Inc., No. 2:12-cv-00555 (D. Ariz.). As sole lead counsel, Robbins Geller
obtained a $350 million settlement in Smilovits v. First Solar, Inc. The settlement, which was
reached after a long legal battle and on the day before jury selection, resolves claims that First
Solar violated §§10(b) and 20(a) of the Securities Exchange Act of 1934 and SEC Rule 10b-5. The
settlement is the fifth-largest PSLRA settlement ever recovered in the Ninth Circuit.

NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783 (S.D.N.Y.). As
sole lead counsel, Robbins Geller obtained a $272 million settlement on behalf of Goldman Sachs’
shareholders. The settlement concludes one of the last remaining mortgage-backed securities
purchaser class actions arising out of the global financial crisis. The remarkable result was
achieved following seven years of extensive litigation. After the claims were dismissed in 2010,
Robbins Geller secured a landmark victory from the Second Circuit Court of Appeals that clarified
the scope of permissible class actions asserting claims under the Securities Act of 1933 on behalf of
MBS investors. Specifically, the Second Circuit’s decision rejected the concept of “tranche”
standing and concluded that a lead plaintiff in an MBS class action has class standing to pursue
claims on behalf of purchasers of other securities that were issued from the same registration
statement and backed by pools of mortgages originated by the same lenders who had originated
mortgages backing the lead plaintiff’s securities.

In approving the settlement, the Honorable Loretta A. Preska of the Southern District of New
York complimented Robbins Geller attorneys, noting:

                Counsel, thank you for your papers. They were, by the way, extraordinary
        papers in support of the settlement, and I will particularly note Professor Miller’s
        declaration in which he details the procedural aspects of the case and then speaks
        of plaintiffs’ counsel’s success in the Second Circuit essentially changing the law.

                I will also note what counsel have said, and that is that this case illustrates
        the proper functioning of the statute.

                                              *        *       *

              Counsel, you can all be proud of what you’ve done for your clients. You’ve
        done an extraordinarily good job.




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NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., No. 1:08-cv-10783, Transcript at
10-11 (S.D.N.Y. May 2, 2016).

Schuh v. HCA Holdings, Inc., No. 3:11-cv-01033 (M.D. Tenn.). As sole lead counsel, Robbins
Geller obtained a groundbreaking $215 million settlement for former HCA Holdings, Inc.
shareholders – the largest securities class action recovery ever in Tennessee. Reached shortly
before trial was scheduled to commence, the settlement resolves claims that the Registration
Statement and Prospectus HCA filed in connection with the company’s massive $4.3 billion 2011
IPO contained material misstatements and omissions. The recovery achieved represents more
than 30% of the aggregate classwide damages, far exceeding the typical recovery in a securities
class action. At the hearing on final approval of the settlement, the Honorable Kevin H. Sharp
described Robbins Geller attorneys as “gladiators” and commented: “Looking at the benefit
obtained, the effort that you had to put into it, [and] the complexity in this case . . . I appreciate
the work that you all have done on this.” Schuh v. HCA Holdings, Inc., No. 3:11-CV-01033,
Transcript at 12-13 (M.D. Tenn. Apr. 11, 2016).

Silverman v. Motorola, Inc., No. 1:07-cv-04507 (N.D. Ill.). The Firm served as lead counsel on
behalf of a class of investors in Motorola, ultimately recovering $200 million for investors just two
months before the case was set for trial. This outstanding result was obtained despite the lack of
an SEC investigation or any financial restatement. In May 2012, the Honorable Amy J. St. Eve of
the Northern District of Illinois commented: “The representation that [Robbins Geller] provided to
the class was significant, both in terms of quality and quantity.” Silverman v. Motorola, Inc., No. 07
C 4507, 2012 U.S. Dist. LEXIS 63477, at *11 (N.D. Ill. May 7, 2012), aff’d, 739 F.3d 956 (7th Cir.
2013).

In affirming the district court’s award of attorneys’ fees, the Seventh Circuit noted that “no other
law firm was willing to serve as lead counsel. Lack of competition not only implies a higher fee
but also suggests that most members of the securities bar saw this litigation as too risky for their
practices.” Silverman v. Motorola Sols., Inc., 739 F.3d 956, 958 (7th Cir. 2013).

In re AT&T Corp. Sec. Litig., MDL No. 1399 (D.N.J.). Robbins Geller attorneys served as lead
counsel for a class of investors that purchased AT&T common stock. The case charged defendants
AT&T and its former Chairman and CEO, C. Michael Armstrong, with violations of the federal
securities laws in connection with AT&T’s April 2000 initial public offering of its wireless tracking
stock, one of the largest IPOs in American history. After two weeks of trial, and on the eve of
scheduled testimony by Armstrong and infamous telecom analyst Jack Grubman, defendants
agreed to settle the case for $100 million. In granting approval of the settlement, the court stated
the following about the Robbins Geller attorneys handling the case:

        Lead Counsel are highly skilled attorneys with great experience in prosecuting
        complex securities action[s], and their professionalism and diligence displayed
        during [this] litigation substantiates this characterization. The Court notes that
        Lead Counsel displayed excellent lawyering skills through their consistent
        preparedness during court proceedings, arguments and the trial, and their well-
        written and thoroughly researched submissions to the Court. Undoubtedly, the
        attentive and persistent effort of Lead Counsel was integral in achieving the
        excellent result for the Class.

In re AT&T Corp. Sec. Litig., MDL No. 1399, 2005 U.S. Dist. LEXIS 46144, at *28-*29 (D.N.J. Apr.
25, 2005), aff’d, 455 F.3d 160 (3d Cir. 2006).




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In re Dollar Gen. Corp. Sec. Litig., No. 01-CV-00388 (M.D. Tenn.). Robbins Geller attorneys
served as lead counsel in this case in which the Firm recovered $172.5 million for investors. The
Dollar General settlement was the largest shareholder class action recovery ever in Tennessee.

Carpenters Health & Welfare Fund v. Coca-Cola Co., No. 00-CV-2838 (N.D. Ga.). As co-lead
counsel representing Coca-Cola shareholders, Robbins Geller attorneys obtained a recovery of
$137.5 million after nearly eight years of litigation. Robbins Geller attorneys traveled to three
continents to uncover the evidence that ultimately resulted in the settlement of this hard-fought
litigation. The case concerned Coca-Cola’s shipping of excess concentrate at the end of financial
reporting periods for the sole purpose of meeting analyst earnings expectations, as well as the
company’s failure to properly account for certain impaired foreign bottling assets.

Schwartz v. TXU Corp., No. 02-CV-2243 (N.D. Tex.). As co-lead counsel, Robbins Geller attorneys
obtained a recovery of over $149 million for a class of purchasers of TXU securities. The recovery
compensated class members for damages they incurred as a result of their purchases of TXU
securities at inflated prices. Defendants had inflated the price of these securities by concealing the
fact that TXU’s operating earnings were declining due to a deteriorating gas pipeline and the
failure of the company’s European operations.

In re Doral Fin. Corp. Sec. Litig., 05 MDL No. 1706 (S.D.N.Y.). In July 2007, the Honorable
Richard Owen of the Southern District of New York approved the $129 million settlement, finding
in his order:

        The services provided by Lead Counsel [Robbins Geller] were efficient and highly
        successful, resulting in an outstanding recovery for the Class without the
        substantial expense, risk and delay of continued litigation. Such efficiency and
        effectiveness supports the requested fee percentage.

                 Cases brought under the federal securities laws are notably difficult and
        notoriously uncertain. . . . Despite the novelty and difficulty of the issues raised,
        Lead Plaintiffs’ counsel secured an excellent result for the Class.

                 . . . Based upon Lead Plaintiff’s counsel’s diligent efforts on behalf of the
        Class, as well as their skill and reputations, Lead Plaintiff’s counsel were able to
        negotiate a very favorable result for the Class. . . . The ability of [Robbins Geller]
        to obtain such a favorable partial settlement for the Class in the face of such
        formidable opposition confirms the superior quality of their representation . . . .

In re Doral Fin. Corp. Sec. Litig., No. 1:05-md-01706, Order at 4-5 (S.D.N.Y. July 17, 2007).

In re Exxon Valdez, No. A89 095 Civ. (D. Alaska), and In re Exxon Valdez Oil Spill Litig., No. 3 AN
89 2533 (Alaska Super. Ct., 3d Jud. Dist.). Robbins Geller attorneys served on the Plaintiffs’
Coordinating Committee and Plaintiffs’ Law Committee in this massive litigation resulting from
the Exxon Valdez oil spill in Alaska in March 1989. The jury awarded hundreds of millions in
compensatory damages, as well as $5 billion in punitive damages (the latter were later reduced by
the U.S. Supreme Court to $507 million).

Mangini v. R.J. Reynolds Tobacco Co., No. 939359 (Cal. Super. Ct., San Francisco Cty.). In this
case, R.J. Reynolds admitted that “the Mangini action, and the way that it was vigorously litigated,
was an early, significant and unique driver of the overall legal and social controversy regarding
underage smoking that led to the decision to phase out the Joe Camel Campaign.”



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Does I v. The Gap, Inc., No. 01 0031 (D. N. Mar. I.). In this groundbreaking case, Robbins Geller
attorneys represented a class of 30,000 garment workers who alleged that they had worked under
sweatshop conditions in garment factories in Saipan that produced clothing for top U.S. retailers
such as The Gap, Target, and J.C. Penney. In the first action of its kind, Robbins Geller attorneys
pursued claims against the factories and the retailers alleging violations of RICO, the Alien Tort
Claims Act, and the Law of Nations based on the alleged systemic labor and human rights abuses
occurring in Saipan. This case was a companion to two other actions: Does I v. Advance Textile
Corp., No. 99 0002 (D. N. Mar. I.), which alleged overtime violations by the garment factories
under the Fair Labor Standards Act and local labor law, and UNITE v. The Gap, Inc., No. 300474
(Cal. Super. Ct., San Francisco Cty.), which alleged violations of California’s Unfair Practices Law
by the U.S. retailers. These actions resulted in a settlement of approximately $20 million that
included a comprehensive monitoring program to address past violations by the factories and
prevent future ones. The members of the litigation team were honored as Trial Lawyers of the
Year by the Trial Lawyers for Public Justice in recognition of the team’s efforts in bringing about
the precedent-setting settlement of the actions.

Hall v. NCAA (Restricted Earnings Coach Antitrust Litigation), No. 94-2392 (D. Kan.). Robbins
Geller attorneys were lead counsel and lead trial counsel for one of three classes of coaches in
these consolidated price-fixing actions against the National Collegiate Athletic Association. On
May 4, 1998, the jury returned verdicts in favor of the three classes for more than $70 million.

In re Prison Realty Sec. Litig., No. 3:99-0452 (M.D. Tenn.). Robbins Geller attorneys served as
lead counsel for the class, obtaining a $105 million recovery.

In re Honeywell Int’l, Inc. Sec. Litig., No. 00-cv-03605 (D.N.J.). Robbins Geller attorneys served as
lead counsel for a class of investors that purchased Honeywell common stock. The case charged
Honeywell and its top officers with violations of the federal securities laws, alleging the defendants
made false public statements concerning Honeywell’s merger with Allied Signal, Inc. and that
defendants falsified Honeywell’s financial statements. After extensive discovery, Robbins Geller
attorneys obtained a $100 million settlement for the class.

Schwartz v. Visa Int’l, No. 822404-4 (Cal. Super. Ct., Alameda Cty.). After years of litigation and a
six-month trial, Robbins Geller attorneys won one of the largest consumer protection verdicts ever
awarded in the United States. Robbins Geller attorneys represented California consumers in an
action against Visa and MasterCard for intentionally imposing and concealing a fee from their
cardholders. The court ordered Visa and MasterCard to return $800 million in cardholder losses,
which represented 100% of the amount illegally taken, plus 2% interest. In addition, the court
ordered full disclosure of the hidden fee.

Thompson v. Metro. Life Ins. Co., No. 00-cv-5071 (S.D.N.Y.). Robbins Geller attorneys served as
lead counsel and obtained $145 million for the class in a settlement involving racial discrimination
claims in the sale of life insurance.

In re Prudential Ins. Co. of Am. Sales Practices Litig., MDL No. 1061 (D.N.J.). In one of the first
cases of its kind, Robbins Geller attorneys obtained a settlement of $4 billion for deceptive sales
practices in connection with the sale of life insurance involving the “vanishing premium” sales
scheme.




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Precedent-Setting Decisions
Robbins Geller attorneys operate at the vanguard of complex class action of litigation. Our work often
changes the legal landscape, resulting in an environment that is more-favorable for obtaining recoveries
for our clients.

       Stoyas v. Toshiba Corp., 896 F.3d 933 (9th Cir. 2018), cert. denied, 588 U.S. __ (2019). In July 2018,
       the Ninth Circuit ruled in plaintiffs’ favor in the Toshiba securities class action. Following appellate
       briefing and oral argument by Robbins Geller attorneys, a three-judge Ninth Circuit panel
       reversed the district court’s prior dismissal in a unanimous, 36-page opinion, holding that Toshiba
       ADRs are a “security” and the Securities Exchange Act of 1934 could apply to those ADRs that were
       purchased in a domestic transaction. Id. at 939, 949. The court adopted the Second and Third
       Circuits’ “irrevocable liability” test for determining whether the transactions were domestic and
       held that plaintiffs must be allowed to amend their complaint to allege that the purchase of
       Toshiba ADRs on the over-the-counter market was a domestic purchase and that the alleged fraud
       was in connection with the purchase.

       Cyan, Inc. v. Beaver Cty. Emps. Ret. Fund, No. 15-1439 (U.S.). In March 2018, the U.S. Supreme
       Court ruled in favor of investors represented by Robbins Geller, holding that state courts continue
       to have jurisdiction over class actions asserting violations of the Securities Act of 1933. The court’s
       ruling secures investors’ ability to bring Securities Act actions when companies fail to make full and
       fair disclosure of relevant information in offering documents. The court confirmed that the
       Securities Litigation Uniform Standards Act of 1998 was designed to preclude securities class
       actions asserting violations of state law – not to preclude securities actions asserting federal law
       violations brought in state courts.

       Mineworkers’ Pension Scheme v. First Solar Inc., 881 F.3d 750 (9th Cir. 2018), cert. denied, 588 U.S.
       __ (2019). In January 2018, the Ninth Circuit upheld the district court’s denial of defendants’
       motion for summary judgment, agreeing with plaintiffs that the test for loss causation in the Ninth
       Circuit is a general “proximate cause test,” and rejecting the more stringent revelation of the
       fraudulent practices standard advocated by the defendants. The opinion is a significant victory for
       investors, as it forecloses defendants’ ability to immunize themselves from liability simply by
       refusing to publicly acknowledge their fraudulent conduct.

       In re Quality Sys., Inc. Sec. Litig., No. 15-55173 (9th Cir.). In July 2017, Robbins Geller’s Appellate
       Practice Group scored a significant win in the Ninth Circuit in the Quality Systems securities class
       action. On appeal, a three-judge Ninth Circuit panel unanimously reversed the district court’s
       prior dismissal of the action against Quality Systems and remanded the case to the district court
       for further proceedings. The decision addressed an issue of first impression concerning “mixed”
       future and present-tense misstatements. The appellate panel explained that “non-forward-looking
       portions of mixed statements are not eligible for the safe harbor provisions of the PSLRA . . . .
       Defendants made a number of mixed statements that included projections of growth in revenue
       and earnings based on the state of QSI’s sales pipeline.” The panel then held both the non-forward-
       looking and forward-looking statements false and misleading and made with scienter, deeming
       them actionable. Later, although defendants sought rehearing by the Ninth Circuit sitting en banc,
       the circuit court denied their petition.

       Local 703, I.B. of T. Grocery & Food Emps. Welfare Fund v. Regions Fin. Corp., No. CV-10-J-2847-S
       (N.D. Ala.). In the Regions Financial securities class action, Robbins Geller represented Local 703,
       I.B. of T. Grocery and Food Employees Welfare Fund and obtained a $90 million settlement in
       September 2015 on behalf of purchasers of Regions Financial common stock during the class
       period. In August 2014, the Eleventh Circuit Court of Appeals affirmed the district court’s


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decision to certify a class action based upon alleged misrepresentations about Regions Financial’s
financial health before and during the recent economic recession, and in November 2014, the U.S.
District Court for the Northern District of Alabama denied defendants’ third attempt to avoid
plaintiffs’ motion for class certification.

Omnicare, Inc. v. Laborers Dist. Council Constr. Indus. Pension Fund, No. 13-435 (U.S.). In March
2015, the U.S. Supreme Court ruled in favor of investors represented by Robbins Geller that
investors asserting a claim under §11 of the Securities Act of 1933 with respect to a misleading
statement of opinion do not, as defendant Omnicare had contended, have to prove that the
statement was subjectively disbelieved when made. Rather, the court held that a statement of
opinion may be actionable either because it was not believed, or because it lacked a reasonable
basis in fact. This decision is significant in that it resolved a conflict among the federal circuit
courts and expressly overruled the Second Circuit’s widely followed, more stringent pleading
standard for §11 claims involving statements of opinion. The Supreme Court remanded the case
back to the district court for determination under the newly articulated standard. In August of
2016, upon remand, the district court applied the Supreme Court’s new test and denied
defendants’ motion to dismiss in full.

NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145 (2d Cir. 2012). In a
securities fraud action involving mortgage-backed securities, the Second Circuit rejected the
concept of “tranche” standing and found that a lead plaintiff has class standing to pursue claims on
behalf of purchasers of securities that were backed by pools of mortgages originated by the same
lenders who had originated mortgages backing the lead plaintiff’s securities. The court noted that,
given those common lenders, the lead plaintiff’s claims as to its purchases implicated “the same set
of concerns” that purchasers in several of the other offerings possessed. The court also rejected
the notion that the lead plaintiff lacked standing to represent investors in different tranches.

In re VeriFone Holdings, Inc. Sec. Litig., 704 F.3d 694 (9th Cir. 2012). The panel reversed in part
and affirmed in part the dismissal of investors’ securities fraud class action alleging violations of
§§10(b), 20(a), and 20A of the Securities Exchange Act of 1934 and SEC Rule 10b-5 in connection
with a restatement of financial results of the company in which the investors had purchased stock.

The panel held that the third amended complaint adequately pleaded the §10(b), §20A, and Rule
10b-5 claims. Considering the allegations of scienter holistically, as the U.S. Supreme Court
directed in Matrixx Initiatives, Inc. v. Siracusano, 563 U.S 27, 48-49 (2011), the panel concluded that
the inference that the defendant company and its chief executive officer and former chief financial
officer were deliberately reckless as to the truth of their financial reports and related public
statements following a merger was at least as compelling as any opposing inference.

Fox v. JAMDAT Mobile, Inc., 185 Cal. App. 4th 1068 (2010). Concluding that Delaware’s
shareholder ratification doctrine did not bar the claims, the California Court of Appeal reversed
dismissal of a shareholder class action alleging breach of fiduciary duty in a corporate merger.

In re Constar Int’l Inc. Sec. Litig., 585 F.3d 774 (3d Cir. 2009). The Third Circuit flatly rejected
defense contentions that where relief is sought under §11 of the Securities Act of 1933, which
imposes liability when securities are issued pursuant to an incomplete or misleading registration
statement, class certification should depend upon findings concerning market efficiency and loss
causation.

Matrixx Initiatives, Inc. v. Siracusano, 563 U.S 27 (2011), aff’g 585 F.3d 1167 (9th Cir. 2009). In a




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securities fraud action involving the defendants’ failure to disclose a possible link between the
company’s popular cold remedy and a life-altering side effect observed in some users, the U.S.
Supreme Court unanimously affirmed the Ninth Circuit’s (a) rejection of a bright-line “statistical
significance” materiality standard, and (b) holding that plaintiffs had successfully pleaded a strong
inference of the defendants’ scienter.

Alaska Elec. Pension Fund v. Flowserve Corp., 572 F.3d 221 (5th Cir. 2009). Aided by former U.S.
Supreme Court Justice O’Connor’s presence on the panel, the Fifth Circuit reversed a district
court order denying class certification and also reversed an order granting summary judgment to
defendants. The court held that the district court applied an incorrect fact-for-fact standard of loss
causation, and that genuine issues of fact on loss causation precluded summary judgment.

In re F5 Networks, Inc., Derivative Litig., 207 P.3d 433 (Wash. 2009). In a derivative action
alleging unlawful stock option backdating, the Supreme Court of Washington ruled that
shareholders need not make a pre-suit demand on the board of directors where this step would be
futile, agreeing with plaintiffs that favorable Delaware case law should be followed as persuasive
authority.

Lormand v. US Unwired, Inc., 565 F.3d 228 (5th Cir. 2009). In a rare win for investors in the Fifth
Circuit, the court reversed an order of dismissal, holding that safe harbor warnings were not
meaningful when the facts alleged established a strong inference that defendants knew their
forecasts were false. The court also held that plaintiffs sufficiently alleged loss causation.

Institutional Inv’rs Grp. v. Avaya, Inc., 564 F.3d 242 (3d Cir. 2009). In a victory for investors in
the Third Circuit, the court reversed an order of dismissal, holding that shareholders pled with
particularity why the company’s repeated denials of price discounts on products were false and
misleading when the totality of facts alleged established a strong inference that defendants knew
their denials were false.

Alaska Elec. Pension Fund v. Pharmacia Corp., 554 F.3d 342 (3d Cir. 2009). The Third Circuit
held that claims filed for violation of §10(b) of the Securities Exchange Act of 1934 were timely,
adopting investors’ argument that because scienter is a critical element of the claims, the time for
filing them cannot begin to run until the defendants’ fraudulent state of mind should be apparent.

Rael v. Page, 222 P.3d 678 (N.M. Ct. App. 2009). In this shareholder class and derivative action,
Robbins Geller attorneys obtained an appellate decision reversing the trial court’s dismissal of the
complaint alleging serious director misconduct in connection with the merger of SunCal
Companies and Westland Development Co., Inc., a New Mexico company with large and historic
landholdings and other assets in the Albuquerque area. The appellate court held that plaintiff’s
claims for breach of fiduciary duty were direct, not derivative, because they constituted an attack
on the validity or fairness of the merger and the conduct of the directors. Although New Mexico
law had not addressed this question directly, at the urging of the Firm’s attorneys, the court relied
on Delaware law for guidance, rejecting the “special injury” test for determining the direct versus
derivative inquiry and instead applying more recent Delaware case law.

Lane v. Page, No. 06-cv-1071 (D.N.M. 2012). In May 2012, while granting final approval of the
settlement in the federal component of the Westland cases, Judge Browning in the District of New
Mexico commented:

        Class Counsel are highly skilled and specialized attorneys who use their substantial




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       experience and expertise to prosecute complex securities class actions. In possibly
       one of the best known and most prominent recent securities cases, Robbins Geller
       served as sole lead counsel – In re Enron Corp. Sec. Litig., No. H-01-3624 (S.D.
       Tex.). See Report at 3. The Court has previously noted that the class would
       “receive high caliber legal representation” from class counsel, and throughout the
       course of the litigation the Court has been impressed with the quality of
       representation on each side. Lane v. Page, 250 F.R.D. at 647.

Lane v. Page, 862 F. Supp. 2d 1182, 1253-54 (D.N.M. 2012).

In addition, Judge Browning stated: “‘Few plaintiffs’ law firms could have devoted the kind of
time, skill, and financial resources over a five-year period necessary to achieve the pre- and post-
Merger benefits obtained for the class here.’ . . . [Robbins Geller is] both skilled and experienced,
and used those skills and experience for the benefit of the class [Robbins Geller is] both skilled and
experienced, and used those skills and experience for the benefit of the class.” Id. at 1254.

Luther v. Countrywide Home Loans Servicing LP, 533 F.3d 1031 (9th Cir. 2008). In a case of first
impression, the Ninth Circuit held that the Securities Act of 1933’s specific non-removal features
had not been trumped by the general removal provisions of the Class Action Fairness Act of 2005.

In re Gilead Scis. Sec. Litig., 536 F.3d 1049 (9th Cir. 2008). The Ninth Circuit upheld defrauded
investors’ loss causation theory as plausible, ruling that a limited temporal gap between the time
defendants’ misrepresentation was publicly revealed and the subsequent decline in stock value was
reasonable where the public had not immediately understood the impact of defendants’ fraud.

In re WorldCom Sec. Litig., 496 F.3d 245 (2d Cir. 2007). The Second Circuit held that the filing of
a class action complaint tolls the limitations period for all members of the class, including those
who choose to opt out of the class action and file their own individual actions without waiting to
see whether the district court certifies a class – reversing the decision below and effectively
overruling multiple district court rulings that American Pipe tolling did not apply under these
circumstances.

In re Merck & Co. Sec., Derivative & ERISA Litig., 493 F.3d 393 (3d Cir. 2007). In a shareholder
derivative suit appeal, the Third Circuit held that the general rule that discovery may not be used
to supplement demand-futility allegations does not apply where the defendants enter a voluntary
stipulation to produce materials relevant to demand futility without providing for any limitation as
to their use. In April 2007, the Honorable D. Brooks Smith praised Robbins Geller partner Joe
Daley’s efforts in this litigation:

       Thank you very much Mr. Daley and a thank you to all counsel. As Judge Cowen
       mentioned, this was an exquisitely well-briefed case; it was also an extremely well-
       argued case, and we thank counsel for their respective jobs here in the matter,
       which we will take under advisement. Thank you.

In re Merck & Co., Inc. Sec., Derivative & ERISA Litig., No. 06-2911, Transcript at 35:37-36:00 (3d
Cir. Apr. 12, 2007).




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Alaska Elec. Pension Fund v. Brown, 941 A.2d 1011 (Del. 2007). The Supreme Court of Delaware
held that the Alaska Electrical Pension Fund, for purposes of the “corporate benefit” attorney-fee
doctrine, was presumed to have caused a substantial increase in the tender offer price paid in a
“going private” buyout transaction. The Court of Chancery originally ruled that Alaska’s counsel,
Robbins Geller, was not entitled to an award of attorney fees, but Delaware’s high court, in its
published opinion, reversed and remanded for further proceedings.

Crandon Capital Partners v. Shelk, 157 P.3d 176 (Or. 2007). Oregon’s Supreme Court ruled that a
shareholder plaintiff in a derivative action may still seek attorney fees even if the defendants took
actions to moot the underlying claims. The Firm’s attorneys convinced Oregon’s highest court to
take the case, and reverse, despite the contrary position articulated by both the trial court and the
Oregon Court of Appeals.

In re Qwest Commc’ns Int’l, 450 F.3d 1179 (10th Cir. 2006). In a case of first impression, the Tenth
Circuit held that a corporation’s deliberate release of purportedly privileged materials to
governmental agencies was not a “selective waiver” of the privileges such that the corporation could
refuse to produce the same materials to non-governmental plaintiffs in private securities fraud
litigation.

In re Guidant S’holders Derivative Litig., 841 N.E.2d 571 (Ind. 2006). Answering a certified
question from a federal court, the Supreme Court of Indiana unanimously held that a pre-suit
demand in a derivative action is excused if the demand would be a futile gesture. The court
adopted a “demand futility” standard and rejected defendants’ call for a “universal demand”
standard that might have immediately ended the case.

Denver Area Meat Cutters v. Clayton, 209 S.W.3d 584 (Tenn. Ct. App. 2006). The Tennessee
Court of Appeals rejected an objector’s challenge to a class action settlement arising out of Warren
Buffet’s 2003 acquisition of Tennessee-based Clayton Homes. In their effort to secure relief for
Clayton Homes stockholders, the Firm’s attorneys obtained a temporary injunction of the Buffet
acquisition for six weeks in 2003 while the matter was litigated in the courts. The temporary halt
to Buffet’s acquisition received national press attention.

DeJulius v. New Eng. Health Care Emps. Pension Fund, 429 F.3d 935 (10th Cir. 2005). The Tenth
Circuit held that the multi-faceted notice of a $50 million settlement in a securities fraud class
action had been the best notice practicable under the circumstances, and thus satisfied both
constitutional due process and Rule 23 of the Federal Rules of Civil Procedure.

In re Daou Sys., 411 F.3d 1006 (9th Cir. 2005). The Ninth Circuit sustained investors’ allegations
of accounting fraud and ruled that loss causation was adequately alleged by pleading that the value
of the stock they purchased declined when the issuer’s true financial condition was revealed.

Barrie v. Intervoice-Brite, Inc., 397 F.3d 249 (5th Cir.), reh’g denied and opinion modified, 409 F.3d
653 (5th Cir. 2005). The Fifth Circuit upheld investors’ accounting-fraud claims, holding that
fraud is pled as to both defendants when one knowingly utters a false statement and the other
knowingly fails to correct it, even if the complaint does not specify who spoke and who listened.

City of Monroe Emps. Ret. Sys. v. Bridgestone Corp., 399 F.3d 651 (6th Cir. 2005). The Sixth
Circuit held that a statement regarding objective data supposedly supporting a corporation’s belief
that its tires were safe was actionable where jurors could have found a reasonable basis to believe
the corporation was aware of undisclosed facts seriously undermining the statement’s accuracy.




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Ill. Mun. Ret. Fund v. Citigroup, Inc., 391 F.3d 844 (7th Cir. 2004). The Seventh Circuit upheld a
district court’s decision that the Illinois Municipal Retirement Fund was entitled to litigate its
claims under the Securities Act of 1933 against WorldCom’s underwriters before a state court
rather than before the federal forum sought by the defendants.

Nursing Home Pension Fund, Local 144 v. Oracle Corp., 380 F.3d 1226 (9th Cir. 2004). The Ninth
Circuit ruled that defendants’ fraudulent intent could be inferred from allegations concerning
their false representations, insider stock sales and improper accounting methods.

Southland Sec. Corp. v. INSpire Ins. Sols. Inc., 365 F.3d 353 (5th Cir. 2004). The Fifth Circuit
sustained allegations that an issuer’s CEO made fraudulent statements in connection with a
contract announcement.

Smith v. Am. Family Mut. Ins. Co., 289 S.W.3d 675 (Mo. Ct. App. 2009). Capping nearly a decade
of hotly contested litigation, the Missouri Court of Appeals reversed the trial court’s judgment
notwithstanding the verdict for auto insurer American Family and reinstated a unanimous jury
verdict for the plaintiff class.

Troyk v. Farmers Grp., Inc., 171 Cal. App. 4th 1305 (2009). The California Court of Appeal held
that Farmers Insurance’s practice of levying a “service charge” on one-month auto insurance
policies, without specifying the charge in the policy, violated California’s Insurance Code.

Lebrilla v. Farmers Grp., Inc., 119 Cal. App. 4th 1070 (2004). Reversing the trial court, the
California Court of Appeal ordered class certification of a suit against Farmers, one of the largest
automobile insurers in California, and ruled that Farmers’ standard automobile policy requires it
to provide parts that are as good as those made by vehicle’s manufacturer. The case involved
Farmers’ practice of using inferior imitation parts when repairing insureds’ vehicles.

In re Monumental Life Ins. Co., 365 F.3d 408, 416 (5th Cir. 2004). The Fifth Circuit Court of
Appeals reversed a district court’s denial of class certification in a case filed by African-Americans
seeking to remedy racially discriminatory insurance practices. The Fifth Circuit held that a
monetary relief claim is viable in a Rule 23(b)(2) class if it flows directly from liability to the class as
a whole and is capable of classwide “‘computation by means of objective standards and not
dependent in any significant way on the intangible, subjective differences of each class member’s
circumstances.’”

Dent v. National Football League, No. 15-15143 (9th Cir.). In September 2018, the United States
Court of Appeals for the Ninth Circuit issued an important decision reversing the district court’s
previous dismissal of the Dent v. National Football League litigation, concluding that the complaint
brought by NFL Hall of Famer Richard Dent and others should not be dismissed on labor-law
preemption grounds. The case was remanded to the district court for further proceedings.

Kwikset Corp. v. Superior Court, 51 Cal. 4th 310 (2011). In a leading decision interpreting the
scope of Proposition 64’s new standing requirements under California’s Unfair Competition Law
(UCL), the California Supreme Court held that consumers alleging that a manufacturer has
misrepresented its product have “lost money or property” within the meaning of the initiative, and
thus have standing to sue under the UCL, if they “can truthfully allege that they were deceived by
a product’s label into spending money to purchase the product, and would not have purchased it
otherwise.” Id. at 317. Kwikset involved allegations, proven at trial, that defendants violated
California’s “Made in the U.S.A.” statute by representing on their labels that their products were
“Made in U.S.A.” or “All-American Made” when, in fact, the products were substantially made with
foreign parts and labor.

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Safeco Ins. Co. of Am. v. Superior Court, 173 Cal. App. 4th 814 (2009). In a class action against
auto insurer Safeco, the California Court of Appeal agreed that the plaintiff should have access to
discovery to identify a new class representative after her standing to sue was challenged.

Consumer Privacy Cases, 175 Cal. App. 4th 545 (2009). The California Court of Appeal rejected
objections to a nationwide class action settlement benefiting Bank of America customers.

Koponen v. Pac. Gas & Elec. Co., 165 Cal. App. 4th 345 (2008). The Firm’s attorneys obtained a
published decision reversing the trial court’s dismissal of the action, and holding that the plaintiff’s
claims for damages arising from the utility’s unauthorized use of rights-of-way or easements
obtained from the plaintiff and other landowners were not barred by a statute limiting the
authority of California courts to review or correct decisions of the California Public Utilities
Commission.

Sanford v. MemberWorks, Inc., 483 F.3d 956 (9th Cir. 2007). In a telemarketing-fraud case, where
the plaintiff consumer insisted she had never entered the contractual arrangement that defendants
said bound her to arbitrate individual claims to the exclusion of pursuing class claims, the Ninth
Circuit reversed an order compelling arbitration – allowing the plaintiff to litigate on behalf of a
class.

Ritt v. Billy Blanks Enters., 870 N.E.2d 212 (Ohio Ct. App. 2007). In the Ohio analog to the West
case, the Ohio Court of Appeals approved certification of a class of Ohio residents seeking relief
under Ohio’s consumer protection laws for the same telemarketing fraud.

Haw. Med. Ass’n v. Haw. Med. Serv. Ass’n, 148 P.3d 1179 (Haw. 2006). The Supreme Court of
Hawaii ruled that claims of unfair competition were not subject to arbitration and that claims of
tortious interference with prospective economic advantage were adequately alleged.

Branick v. Downey Sav. & Loan Ass’n, 39 Cal. 4th 235 (2006). Robbins Geller attorneys were part
of a team of lawyers that briefed this case before the Supreme Court of California. The court
issued a unanimous decision holding that new plaintiffs may be substituted, if necessary, to
preserve actions pending when Proposition 64 was passed by California voters in 2004.
Proposition 64 amended California’s Unfair Competition Law and was aggressively cited by
defense lawyers in an effort to dismiss cases after the initiative was adopted.

McKell v. Wash. Mut., Inc., 142 Cal. App. 4th 1457 (2006). The California Court of Appeal
reversed the trial court, holding that plaintiff’s theories attacking a variety of allegedly inflated
mortgage-related fees were actionable.

West Corp. v. Superior Court, 116 Cal. App. 4th 1167 (2004). The California Court of Appeal
upheld the trial court’s finding that jurisdiction in California was appropriate over the out-of-state
corporate defendant whose telemarketing was aimed at California residents. Exercise of
jurisdiction was found to be in keeping with considerations of fair play and substantial justice.

Kruse v. Wells Fargo Home Mortg., Inc., 383 F.3d 49 (2d Cir. 2004), and Santiago v. GMAC Mortg.
Grp., Inc., 417 F.3d 384 (3d Cir. 2005). In two groundbreaking federal appellate decisions, the
Second and Third Circuits each ruled that the Real Estate Settlement Practices Act prohibits
marking up home loan-related fees and charges.




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Additional Judicial Commendations
Robbins Geller attorneys have been praised by countless judges all over the country for the quality of their
representation in class-action lawsuits. In addition to the judicial commendations set forth in the
Prominent Cases and Precedent-Setting Decisions sections, judges have acknowledged the successful
results of the Firm and its attorneys with the following plaudits:

       In May 2020, in granting final approval of the settlement, the Honorable Mark L. Wolf praised
       Robbins Geller: “[T]he class has been represented by excellent honorable counsel . . . . [T]he fund
       was represented by experienced, energetic, able counsel, the fund was engaged and informed, and
       the fund followed advice of experienced counsel. Counsel for the class have been excellent, and I
       would say honorable.” Additionally, Judge Wolf noted, “I find that the work that's been done
       primarily by Robbins Geller has been excellent and honorable and efficient. . . . [T]his has been a
       challenging case, and they’ve done an excellent job.” McGee v. Constant Contact, Inc., No.
       1:15-cv-13114-MLW, Transcript at 21, 31, 61 (D. Mass. May 27, 2020).

       In December 2019, the Honorable Margo K. Brodie noted in granting final approval of the
       settlement that “[Robbins Geller and co-counsel] have also demonstrated the utmost
       professionalism despite the demands of the extreme perseverance that this case has required,
       litigating on behalf of a class of over 12 million for over fourteen years, across a changing legal
       landscape, significant motion practice, and appeal and remand. Class counsel’s pedigree and
       efforts alone speak to the quality of their representation.” In re Payment Card Interchange Fee
       & Merch. Disc. Antitrust Litig., No. 1:05-md-01720-MKB-JO, Memorandum & Order (E.D.N.Y.
       Dec. 16, 2019).

       In October 2019, the Honorable Claire C. Cecchi noted that Robbins Geller is “capable of
       adequately representing the class, both based on their prior experience in class action lawsuits and
       based on their capable advocacy on behalf of the class in this action.” The court further
       commended the Firm and co-counsel for “conduct[ing] the [l]itigation . . . with skill, perseverance,
       and diligent advocacy.” Lincoln Adventures, LLC v. Those Certain Underwriters at Lloyd’s, London
       Members, No. 2:08-cv-00235-CCC-JAD, Order at 4 (D.N.J. Oct. 3, 2019); Lincoln Adventures, LLC v.
       Those Certain Underwriters at Lloyd’s, London Members of Syndicates, No. 2:08-cv-00235-CCC-JAD,
       Order Awarding Attorneys’ Fees and Expenses/Charges and Service Awards at 3 (D.N.J. Oct. 3,
       2019).

       In June 2019, the Honorable T.S. Ellis, III noted that Robbins Geller “achieved the [$108 million]
       [s]ettlement with skill, perseverance, and diligent advocacy.” At the final approval hearing, the
       court further commended Robbins Geller by stating, “I think the case was fully and appropriately
       litigated [and] you all did a very good job. . . . [T]hank you for your service in the court. . . .
       [You’re] first-class lawyers . . . .” Knurr v. Orbital ATK, Inc., No. 1:16-cv-01031, Order Awarding
       Attorneys’ Fees and Expenses at 3 (E.D. Va. June 7, 2019); Knurr v. Orbital ATK, Inc., No.
       1:16-cv-01031, Transcript at 28-29 (E.D. Va. June 7, 2019).

       In June 2019, in granting final approval of the settlement, the Honorable John A. Houston stated:
       Robbins Geller’s “skill and quality of work was extraordinary . . . . I’ll note from the top that this
       has been an aggressively litigated action.”          In re Morning Song Bird Food Litig., No.
       3:12-cv-01592-JAH-AGS, Transcript at 4, 9 (S.D. Cal. June 3, 2019).

       In May 2019, in granting final approval of the settlement, the Honorable Richard H. DuBois
       stated: Robbins Geller is “highly experienced and skilled” for obtaining a “fair, reasonable, and
       adequate” settlement in the “interest of the [c]lass [m]embers” after “extensive investigation.”
       Chicago Laborers Pension Fund v. Alibaba Grp. Holding Limited, No. CIV535692, Judgment and Order


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Granting Final Approval of Class Action Settlement at 3 (Cal. Super. Ct., San Mateo Cty. May 17,
2019).

In April 2019, the Honorable Kathaleen St. J. McCormick noted: “[S]ince the inception of this
litigation, plaintiffs and their counsel have vigorously prosecuted the claims brought on behalf of
the class. . . . When Vice Chancellor Laster appointed lead counsel, he effectively said: Go get a
good result. And counsel took that to heart and did it. . . . The proposed settlement was the
product of intense litigation and complex mediation. . . . [Robbins Geller has] only built a
considerable track record, never burned it, which gave them the credibility necessary to extract the
benefits achieved.” In re Calamos Asset Mgmt., Inc. Stockholder Litig., No. 2017-0058-JTL, Transcript
at 87, 93, 95, 98 (Del. Ch. Apr. 25, 2019).

In April 2019, the Honorable Susan O. Hickey noted that Robbins Geller “achieved an exceptional
[s]ettlement with skill, perseverance, and diligent advocacy.” City of Pontiac Gen. Emps.’ Ret. Sys. v.
Wal-Mart Stores, Inc., No. 5:12-cv-5162, Order Awarding Attorneys’ Fees and Expenses at 3 (W.D.
Ark. Apr. 8, 2019).

In January 2019, the Honorable Margo K. Brodie noted that Robbins Geller “has arduously
represented a variety of plaintiffs’ groups in this action[,] . . . [has] extensive antitrust class action
litigation experience . . . [and] negotiated what [may be] the largest antitrust settlement in
history.” In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 330 F.R.D. 11, 34
(E.D.N.Y. 2019).

On December 20, 2018, at the final approval hearing for the settlement, the court lauded Robbins
Geller’s attorneys and their work: “I’ve been very impressed with the level of lawyering in the case
. . . and with the level of briefing . . . and I wanted to express my appreciation for that and for the
work that everyone has done here.” The court concluded, “your clients were all blessed to have
you, [and] not just because of the outcome.” Duncan v. Joy Global, Inc., No. 16-CV-1229,
Transcript at 20-21 (E.D. Wis. Dec. 20, 2018).

In October 2017, the Honorable William Alsup noted that Robbins Geller and lead plaintiff
“vigorously prosecuted this action.” In re LendingClub Sec. Litig., No. 3:16-cv-02627-WHA, Order
at 13 (N.D. Cal. Oct. 20, 2017).

On November 9, 2018, in granting final approval of the settlement, the Honorable Jesse M.
Furman commented: “[Robbins Geller] did an extraordinary job here. . . . [I]t is fair to say [this
was] probably the most complicated case I have had since I have been on the bench. . . . I cannot
really imagine how complicated it would have been if I didn't have counsel who had done as
admirable [a] job in briefing it and arguing as you have done. You have in my view done an
extraordinary service to the class. . . . I think you have done an extraordinary job and deserve
thanks and commendation for that.” Alaska Elec. Pension Fund v. Bank of Am. Corp., No.
1:14-cv-07126-JMF-OTW, Transcript at 27-28 (S.D.N.Y. Nov. 9, 2018).

On September 12, 2018, at the final approval hearing of the settlement, the Honorable William H.
Orrick of the Northern District of California praised Robbins Geller’s “high-quality lawyering” in a
case that “involved complicated discovery and complicated and novel legal issues,” resulting in an
“excellent” settlement for the class. The “lawyering . . . was excellent” and the case was “very well
litigated.” In re Lidoderm Antitrust Litig., No. 14-MDL-02521-WHO, Transcript at 11, 14, 22 (N.D.
Cal. Sept. 12, 2018).




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On March 31, 2017, in granting final approval of the settlement, the Honorable Gonzalo P. Curiel
hailed the settlement as “extraordinary” and “all the more exceptional when viewed in light of the
risk” of continued litigation. The court further commended Robbins Geller for prosecuting the
case on a pro bono basis: “Class Counsel’s exceptional decision to provide nearly seven years of legal
services to Class Members on a pro bono basis evidences not only a lack of collusion, but also that
Class Counsel are in fact representing the best interests of Plaintiffs and the Class Members in this
Settlement. Instead of seeking compensation for fees and costs that they would otherwise be
entitled to, Class Counsel have acted to allow maximum recovery to Plaintiffs and Class Members.
Indeed, that Eligible Class Members may receive recovery of 90% or greater is a testament to Class
Counsel’s representation and dedication to act in their clients’ best interest.” In addition, at the
final approval hearing, the court commented that "this is a case that has been litigated – if not
fiercely, zealously throughout.” Low v. Trump Univ., LLC, 246 F. Supp. 3d 1295, 1302, 1312 (S.D.
Cal. 2017), aff’d, 881 F.3d 1111 (9th Cir. 2018); Low v. Trump University LLC and Donald J. Trump,
No. 10-cv-0940 GPC-WVG, and Cohen v. Donald J. Trump, No. 13-cv-2519-GPC-WVG, Transcript
at 7 (S.D. Cal. Mar. 30, 2017).

In January 2017, at the final approval hearing, the Honorable Kevin H. Sharp of the Middle
District of Tennessee commended Robbins Geller attorneys, stating: “It was complicated, it was
drawn out, and a lot of work clearly went into this [case] . . . . I think there is some benefit to the
shareholders that are above and beyond money, a benefit to the company above and beyond
money that changed hands.” In re Community Health Sys., Inc. S’holder Derivative Litig., No.
3:11-cv-00489, Transcript at 10 (M.D. Tenn. Jan. 17, 2017).

In November 2016, at the final approval hearing, the Honorable James G. Carr stated: “I kept
throwing the case out, and you kept coming back. . . . And it’s both remarkable and noteworthy
and a credit to you and your firm that you did so. . . . [Y]ou persuaded the Sixth Circuit. As we
know, that’s no mean feat at all.” Judge Carr further complimented the Firm, noting that it “goes
without question or even saying” that Robbins Geller is very well-known nationally and that the
settlement is an excellent result for the class. He succinctly concluded that “given the tenacity and
the time and the effort that [Robbins Geller] lawyers put into [the case]” makes the class “a lot
better off.” Plumbers & Pipefitters Nat’l Pension Fund v. Burns, No. 3:05-cv-07393-JGC, Transcript at
4, 10, 14, 17 (N.D. Ohio Nov. 18, 2016).

In September 2016, in granting final approval of the settlement, Judge Arleo commended the
“vigorous and skilled efforts” of Robbins Geller attorneys for obtaining “an excellent recovery.”
Judge Arleo added that the settlement was reached after “contentious, hard-fought litigation” that
ended with “a very, very good result for the class” in a “risky case.” City of Sterling Heights Gen.
Emps.’ Ret. Sys. v. Prudential Fin., Inc., No. 2:12-cv-05275-MCA-LDW, Transcript of Hearing at
18-20 (D.N.J. Sept. 28, 2016).

In August 2015, at the final approval hearing for the settlement, the Honorable Karen M.
Humphreys praised Robbins Geller’s “extraordinary efforts” and “excellent lawyering,” noting that
the settlement “really does signal that the best is yet to come for your clients and for your
prodigious labor as professionals. . . . I wish more citizens in our country could have an
appreciation of what this [settlement] truly represents.” Bennett v. Sprint Nextel Corp., No.
2:09-cv-02122-EFM-KMH, Transcript at 8, 25 (D. Kan. Aug. 12, 2015).

In August 2015, the Honorable Judge Max O. Cogburn, Jr. noted that “plaintiffs’ attorneys were
able [to] achieve the big success early” in the case and obtained an “excellent result.” The
“extraordinary” settlement was because of “good lawyers . . . doing their good work.” Nieman v.
Duke Energy Corp., No. 3:12-cv-456, Transcript at 21, 23, 30 (W.D.N.C. Aug. 12, 2015).



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In July 2015, in approving the settlement, the Honorable Douglas L. Rayes of the District of
Arizona stated: “Settlement of the case during pendency of appeal for more than an insignificant
amount is rare. The settlement here is substantial and provides favorable recovery for the
settlement class under these circumstances.” He continued, noting, “[a]s against the objective
measures of . . . settlements [in] other similar cases, [the recovery] is on the high end.” Teamsters
Local 617 Pension & Welfare Funds v. Apollo Grp., Inc., No. 2:06-cv-02674-DLR, Transcript at 8, 11
(D. Ariz. July 28, 2015).

In June 2015, at the conclusion of the hearing for final approval of the settlement, the Honorable
Susan Richard Nelson of the District of Minnesota noted that it was “a pleasure to be able to
preside over a case like this,” praising Robbins Geller in achieving “an outstanding [result] for [its]
clients,” as she was “very impressed with the work done on th[e] case.” In re St. Jude Med., Inc. Sec.
Litig., No. 0:10-cv-00851-SRN-TNL, Transcript at 7 (D. Minn. June 12, 2015).

In May 2015, at the fairness hearing on the settlement, the Honorable William G. Young noted
that the case was “very well litigated” by Robbins Geller attorneys, adding that “I don’t just say that
as a matter of form. . . . I thank you for the vigorous litigation that I’ve been permitted to be a part
of.” Courtney v. Avid Tech., Inc., No. 1:13-cv-10686-WGY, Transcript at 8-9 (D. Mass. May 12,
2015).

In January 2015, the Honorable William J. Haynes, Jr. of the Middle District of Tennessee
described the settlement as a “highly favorable result achieved for the Class” through Robbins
Geller’s “diligent prosecution . . . [and] quality of legal services.” The settlement represents the
fourth-largest securities recovery ever in the Middle District of Tennessee and one of the largest in
more than a decade. Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc., No. 3:09-cv-00882, 2015
U.S. Dist. LEXIS 181943, at *6-*7 (M.D. Tenn. Jan. 16, 2015).

In September 2014, in approving the settlement for shareholders, Vice Chancellor John W. Noble
noted “[t]he litigation caused a substantial benefit for the class. It is unusual to see a $29 million
recovery.” Vice Chancellor Noble characterized the litigation as “novel” and “not easy,” but “[t]he
lawyers took a case and made something of it.” The court commended Robbins Geller’s efforts in
obtaining this result: “The standing and ability of counsel cannot be questioned” and “the benefits
achieved by plaintiffs’ counsel in this case cannot be ignored.” In re Gardner Denver, Inc. S’holder
Litig., No. 8505-VCN, Transcript at 26-28 (Del. Ch. Sept. 3, 2014).

In May 2014, at the conclusion of the hearing for final approval of the settlement, the Honorable
Elihu M. Berle stated: “I would finally like to congratulate counsel on their efforts to resolve this
case, on excellent work – it was the best interest of the class – and to the exhibition of
professionalism. So I do thank you for all your efforts.” Liberty Mutual Overtime Cases, No. JCCP
4234, Transcript at 20:1-5 (Cal. Super. Ct., Los Angeles Cty. May 29, 2014).

In March 2014, Ninth Circuit Judge J. Clifford Wallace (presiding) expressed the gratitude of the
court: “Thank you. I want to especially thank counsel for this argument. This is a very
complicated case and I think we were assisted no matter how we come out by competent counsel
coming well prepared. . . . It was a model of the type of an exercise that we appreciate. Thank
you very much for your work . . . you were of service to the court.” Eclectic Properties East, LLC v.
The Marcus & Millichap Co., No. 12-16526, Transcript (9th Cir. Mar. 14, 2014).

In February 2014, in approving a settlement, Judge Edward M. Chen noted the “very substantial
risks” in the case and recognized Robbins Geller had performed “extensive work on the case.” In




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re VeriFone Holdings, Inc. Sec. Litig., No. C-07-6140, 2014 U.S. Dist. LEXIS 20044, at *5, *11-*12
(N.D. Cal. Feb. 18, 2014).

In August 2013, in granting final approval of the settlement, the Honorable Richard J. Sullivan
stated: “Lead Counsel is to be commended for this result: it expended considerable effort and
resources over the course of the action researching, investigating, and prosecuting the claims, at
significant risk to itself, and in a skillful and efficient manner, to achieve an outstanding recovery
for class members. Indeed, the result – and the class’s embrace of it – is a testament to the
experience and tenacity Lead Counsel brought to bear.” City of Livonia Emps. Ret. Sys. v. Wyeth, No.
07 Civ. 10329, 2013 U.S. Dist. LEXIS 113658, at *13 (S.D.N.Y. Aug. 7, 2013).

In July 2013, in granting final approval of the settlement, the Honorable William H. Alsup stated
that Robbins Geller did “excellent work in this case,” and continued, “I look forward to seeing you
on the next case.” Fraser v. Asus Comput. Int’l, No. C 12-0652, Transcript at 12:2-3 (N.D. Cal. July
11, 2013).

In June 2013, in certifying the class, U.S. District Judge James G. Carr recognized Robbins
Geller’s steadfast commitment to the class, noting that “plaintiffs, with the help of Robbins Geller,
have twice successfully appealed this court’s orders granting defendants’ motion to dismiss.”
Plumbers & Pipefitters Nat’l Pension Fund v. Burns, 292 F.R.D. 515, 524 (N.D. Ohio 2013).

In November 2012, in granting appointment of lead plaintiff, Chief Judge James F. Holderman
commended Robbins Geller for its “substantial experience in securities class action litigation” and
commented that the Firm “is recognized as ‘one of the most successful law firms in securities class
actions, if not the preeminent one, in the country.’ In re Enron Corp. Sec., 586 F. Supp. 2d 732, 797
(S.D. Tex. 2008) (Harmon, J.).” He continued further that, “‘Robbins Geller attorneys are
responsible for obtaining the largest securities fraud class action recovery ever [$7.2 billion in
Enron], as well as the largest recoveries in the Fifth, Sixth, Eighth, Tenth and Eleventh
Circuits.’” Bristol Cty. Ret. Sys. v. Allscripts Healthcare Sols., Inc., No. 12 C 3297, 2012 U.S. Dist.
LEXIS 161441, at *21 (N.D. Ill. Nov. 9, 2012).

In June 2012, in granting plaintiffs’ motion for class certification, the Honorable Inge Prytz
Johnson noted that other courts have referred to Robbins Geller as “‘one of the most successful law
firms in securities class actions . . . in the country.’” Local 703, I.B. v. Regions Fin. Corp., 282 F.R.D.
607, 616 (N.D. Ala. 2012) (quoting In re Enron Corp. Sec. Litig., 586 F. Supp. 2d 732, 797 (S.D. Tex.
2008)), aff’d in part and vacated in part on other grounds, 762 F.3d 1248 (11th Cir. 2014).

In June 2012, in granting final approval of the settlement, the Honorable Barbara S. Jones
commented that “class counsel’s representation, from the work that I saw, appeared to me to be of
the highest quality.” In re CIT Grp. Inc. Sec. Litig., No. 08 Civ. 6613, Transcript at 9:16-18 (S.D.N.Y.
June 13, 2012).

In March 2012, in granting certification for the class, Judge Robert W. Sweet referenced the Enron
case, agreeing that Robbins Geller’s “‘clearly superlative litigating and negotiating skills’” give the
Firm an “‘outstanding reputation, experience, and success in securities litigation nationwide,’” thus,
“‘[t]he experience, ability, and reputation of the attorneys of [Robbins Geller] is not disputed; it is
one of the most successful law firms in securities class actions, if not the preeminent one, in the
country.’” Billhofer v. Flamel Techs., S.A., 281 F.R.D. 150, 158 (S.D.N.Y. 2012).

In March 2011, in denying defendants’ motion to dismiss, Judge Richard Sullivan commented:




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“Let me thank you all. . . . [The motion] was well argued . . . and . . . well briefed . . . . I certainly
appreciate having good lawyers who put the time in to be prepared . . . .” Anegada Master Fund
Ltd. v. PxRE Grp. Ltd., No. 08-cv-10584, Transcript at 83 (S.D.N.Y. Mar. 16, 2011).

In January 2011, the court praised Robbins Geller attorneys: “They have gotten very good results
for stockholders. . . . [Robbins Geller has] such a good track record.” In re Compellent Techs., Inc.
S’holder Litig., No. 6084-VCL, Transcript at 20-21 (Del. Ch. Jan. 13, 2011).

In August 2010, in reviewing the settlement papers submitted by the Firm, Judge Carlos Murguia
stated that Robbins Geller performed “a commendable job of addressing the relevant issues with
great detail and in a comprehensive manner . . . . The court respects the [Firm’s] experience in
the field of derivative [litigation].” Alaska Elec. Pension Fund v. Olofson, No. 08-cv-02344-CM-JPO
(D. Kan.) (Aug. 20, 2010 e-mail from court re: settlement papers).

In June 2009, Judge Ira Warshawsky praised the Firm’s efforts in In re Aeroflex, Inc. S’holder Litig.:
“There is no doubt that the law firms involved in this matter represented in my opinion the cream
of the crop of class action business law and mergers and acquisition litigators, and from a judicial
point of view it was a pleasure working with them.” In re Aeroflex, Inc. S’holder Litig., No.
003943/07, Transcript at 25:14-18 (N.Y. Sup. Ct., Nassau Cty. June 30, 2009).

In March 2009, in granting class certification, the Honorable Robert Sweet of the Southern District
of New York commented in In re NYSE Specialists Sec. Litig., 260 F.R.D. 55, 74 (S.D.N.Y. 2009): “As
to the second prong, the Specialist Firms have not challenged, in this motion, the qualifications,
experience, or ability of counsel for Lead Plaintiff, [Robbins Geller], to conduct this litigation.
Given [Robbins Geller’s] substantial experience in securities class action litigation and the extensive
discovery already conducted in this case, this element of adequacy has also been satisfied.”

In June 2008, the court commented, “Plaintiffs’ lead counsel in this litigation, [Robbins Geller], has
demonstrated its considerable expertise in shareholder litigation, diligently advocating the rights
of Home Depot shareholders in this Litigation. [Robbins Geller] has acted with substantial skill
and professionalism in representing the plaintiffs and the interests of Home Depot and its
shareholders in prosecuting this case.” City of Pontiac Gen. Emps.’ Ret. Sys. v. Langone, No.
2006-122302, Findings of Fact in Support of Order and Final Judgment at 2 (Ga. Super. Ct.,
Fulton Cty. June 10, 2008).

In a December 2006 hearing on the $50 million consumer privacy class action settlement in Kehoe
v. Fidelity Fed. Bank & Tr., No. 03-80593-CIV (S.D. Fla.), United States District Court Judge Daniel
T.K. Hurley said the following:

        First, I thank counsel. As I said repeatedly on both sides, we have been very, very
        fortunate. We have had fine lawyers on both sides. The issues in the case are
        significant issues. We are talking about issues dealing with consumer protection
        and privacy. Something that is increasingly important today in our society. . . . I
        want you to know I thought long and hard about this. I am absolutely satisfied
        that the settlement is a fair and reasonable settlement. . . . I thank the lawyers on
        both sides for the extraordinary effort that has been brought to bear here . . . .

Kehoe v. Fidelity Fed. Bank & Tr., No. 03-80593-CIV, Transcript at 26, 28-29 (S.D. Fla. Dec. 7,
2006).




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In Stanley v. Safeskin Corp., No. 99 CV 454 (S.D. Cal.), where Robbins Geller attorneys obtained
$55 million for the class of investors, Judge Moskowitz stated:

       I said this once before, and I’ll say it again. I thought the way that your firm
       handled this case was outstanding. This was not an easy case. It was a complicated
       case, and every step of the way, I thought they did a very professional job.

Stanley v. Safeskin Corp., No. 99 CV 454, Transcript at 13 (S.D. Cal. May 25, 2004).




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ATTORNEY BIOGRAPHIES
Mario Alba Jr. | Partner
Mario Alba is a partner in the Firm’s Melville office. He is a member of the Firm’s Institutional Outreach
Team, which provides advice to the Firm’s institutional clients, including numerous public pension
systems and Taft-Hartley funds throughout the United States, and consults with them on issues relating to
corporate fraud in the U.S. securities markets, as well as corporate governance issues and shareholder
litigation. Some of Alba’s institutional clients are currently involved in securities cases involving: BRF
S.A.; Ryanair Holdings PLC; HCP, Inc.; Iconix Brand Group; Advisory Board Company; Endo
International PLC; Impax Laboratories, Inc.; Super Micro Computer, Inc.; Skechers USA, Inc.; and
Hertz Global Holdings, Inc. Alba’s institutional clients are also involved in certain antitrust actions,
namely: In re National Prescription Opiate Litigation, In re Epipen (Epinephrine Injection, USP) Marketing, Sales
Practices and Antitrust Litigation, and Forth v. Walgreen Co. Alba has served as lead counsel in numerous
cases and is responsible for initiating, investigating, researching, and filing securities and consumer fraud
class actions. He has recovered millions of dollars in numerous actions, including cases against BHP
Billiton Limited ($50 million), NBTY, Inc. ($16 million), OSI Pharmaceuticals ($9 million), and PXRe
Group, Ltd. ($5.9 million). Alba has lectured at numerous institutional investor conferences throughout
the United States on various shareholder issues, including at the Illinois Public Pension Fund Association,
the New York State Teamsters Conference, the American Alliance Conference, and the TEXPERS/IPPFA
Joint Conference at the New York Stock Exchange, among others.


Education
B.S., St. John’s University, 1999; J.D., Hofstra University School of Law, 2002

Honors / Awards
Rising Star, Super Lawyers Magazine, 2012-2013, 2016-2017; B.S., Dean’s List, St. John’s University, 1999;
Selected as participant in Hofstra Moot Court Seminar, Hofstra University School of Law




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Susan K. Alexander | Partner
Susan Alexander is a partner in the Firm’s San Francisco office. Alexander’s practice specializes in federal
appeals of securities fraud class actions on behalf of investors. With nearly 30 years of federal appellate
experience, she has argued on behalf of defrauded investors in circuit courts throughout the United
States. Among her most notable cases are In re VeriFone Holdings, Inc. Sec. Litig. ($95 million recovery) and
the successful appellate ruling in Alaska Elec. Pension Fund v. Flowserve Corp. ($55 million recovery). Other
representative results include: Stoyas v. Toshiba Corp., 896 F.3d 933 (9th Cir. 2018) (reversing dismissal of
securities fraud action and holding that the Exchange Act applies to unsponsored American Depositary
Shares), cert. denied, 588 U.S. __ (2019); Mineworkers’ Pension Scheme v. First Solar Inc., 881 F.3d 750 (9th
Cir. 2018) (affirming denial of summary judgment and holding that loss causation is proximate causation,
rejecting more restrictive tests), cert. denied, 588 U.S. __ (2019); W. Va. Pipe Trades Health & Welfare Fund v.
Medtronic, Inc., 845 F.3d 384 (8th Cir. 2016) (reversing summary judgment of securities fraud action on
statute of limitations grounds); In re Ubiquiti Networks, Inc. Sec. Litig., 669 F. App’x 878 (9th Cir. 2016)
(reversing dismissal of §11 claim); Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC, 750 F.3d 227 (2d
Cir. 2014) (reversing dismissal of securities fraud complaint, focused on loss causation); Panther Partners
Inc. v. Ikanos Commc’ns, Inc., 681 F.3d 114 (2d Cir. 2012) (reversing dismissal of §11 claim); City of Pontiac
Gen. Emps. Ret. Sys. v. MBIA, Inc., 637 F.3d 169 (2d Cir. 2011) (reversing dismissal of securities fraud
complaint, focused on statute of limitations); In re Gilead Scis. Sec. Litig., 536 F.3d 1049 (9th Cir. 2008)
(reversing dismissal of securities fraud complaint, focused on loss causation); Barrie v. Intervoice-Brite, Inc.,
397 F.3d 249 (5th Cir.) (reversing dismissal of securities fraud complaint, focused on scienter), reh’g denied
and op. modified, 409 F.3d 653 (5th Cir. 2005); and Pirraglia v. Novell, Inc., 339 F.3d 1182 (10th Cir. 2003)
(reversing dismissal of securities fraud complaint, focused on scienter). Alexander’s prior appellate work
was with the California Appellate Project (“CAP”), where she prepared appeals and petitions for writs of
habeas corpus on behalf of individuals sentenced to death. At CAP, and subsequently in private practice,
she litigated and consulted on death penalty direct and collateral appeals for ten years.


Education
B.A., Stanford University, 1983; J.D., University of California, Los Angeles, 1986

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2015-2020; American Academy of Appellate Lawyers; California
Academy of Appellate Lawyers; Ninth Circuit Advisory Rules Committee; Appellate Delegate, Ninth
Circuit Judicial Conference; ABA Council of Appellate Lawyers




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Jason H. Alperstein | Partner
Jason Alperstein is a partner in the Firm’s Boca Raton office. His practice focuses on consumer fraud,
securities fraud, mass torts, and data breach litigation. Alperstein was an integral member of the In re
Volkswagen “Clean Diesel” Marketing, Sales Practices, & Prods. Liab. Litig., No. 15-md-2672 (N.D. Cal.),
litigation team, prosecuting claims on behalf of almost 600,000 consumers who were duped into
purchasing and leasing Volkswagen, Audi, and Porsche vehicles that were marketed as environmentally
friendly, yet spewed toxic pollutants up to 40 times the legal limit permitted by the EPA. Working closely
with Plaintiffs’ Steering Committee (“PSC”) member Paul J. Geller, Alperstein was involved in almost all
aspects of the litigation. The PSC and government agencies ultimately reached a series of settlements on
behalf of purchasers, lessees, and dealers that totaled well over $17 billion, the largest consumer
automotive settlement in history. Alperstein is actively involved in a number of other class actions and
MDLs pending throughout the country, including: In re Yahoo! Inc. Customer Data Sec. Breach Litig., No.
16-md-02752 (N.D. Cal.), regarding the largest data breach in history; In re FieldTurf Artificial Turf Mktg.
& Sales Practices Litig., No. 17-md-02779 (D.N.J.), concerning the sale of defective synthetic turf for use in
athletic fields; In re Chrysler-Dodge-Jeep Ecodiesel Mktg., Sales Practices & Prods. Liab. Litig., No. 17-md-02777
(N.D. Cal.), pertaining to Fiat Chrysler’s use of defeat devices to hide emission levels on its Jeep and
Dodge “EcoDiesel” vehicles; Benkle v. Ford Motor Co., No. 16-cv-01569 (C.D. Cal.), involving defective
electronic throttle body units in Ford vehicles; and Zimmerman v. The 3M Company, No. 17-cv-01062 (W.D.
Mich.), relating to the dumping of toxic waste and polluting of groundwater in Kent County, Michigan.

Before joining Robbins Geller, Alperstein served on lead and co-lead litigation teams in nationwide and
statewide class action lawsuits against dozens of the largest banking institutions in connection with the
unlawful assessment of checking account overdraft fees. His efforts resulted in over $250 million in
settlements for his clients and significant changes in the way banks charge overdraft fees to their
customers. In addition, he led consumer class actions against product manufacturers for false and
deceptive labeling, and some of the world’s largest clothing retailers for their use of false and deceptive
comparative pricing in their outlet stores.


Education
B.A., Brown University, 2004; M.B.A., University of Miami School of Business, 2008, J.D., University of
Miami School of Law, 2008

Honors / Awards
Rising Star, Super Lawyers Magazine, 2014-2019; 40 & Under Hot List, Benchmark Litigation, 2017-2019;
Rising Star, Consumer Protection, Law360, 2017; J.D., Cum Laude, University of Miami School of Law,
2008; B.A., with Honors, Brown University, 2004




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Matthew I. Alpert | Partner
Matthew Alpert is a partner in the Firm’s San Diego office and focuses on the prosecution of securities
fraud litigation. He has helped recover over $800 million for individual and institutional investors
financially harmed by corporate fraud. Alpert’s current cases include securities fraud cases against XPO
Logistics (D. Conn.), Canada Goose (S.D.N.Y.), Inogen (C.D. Cal.), and Under Armour (D. Md.). Most
recently, Alpert and a team of Robbins Geller attorneys obtained preliminary approval of a $1.21 billion
settlement in In re Valeant Pharm. Int’l, Inc. Sec. Litig. (D.N.J.), a case that Vanity Fair reported as “the
corporate scandal of its era” that had raised “fundamental questions about the functioning of our health-
care system, the nature of modern markets, and the slippery slope of ethical rationalizations.” Subject to
court approval, this is the largest securities class action settlement against a pharmaceutical manufacturer
and the ninth largest ever. Alpert was also a member of the litigation team that successfully obtained class
certification in a securities fraud class action against Regions Financial, a class certification decision which
was substantively affirmed by the United States Court of Appeals for the Eleventh Circuit in Local 703, I.B.
of T. Grocery & Food Emps. Welfare Fund v. Regions Fin. Corp., 762 F.3d 1248 (11th Cir. 2014). Upon
remand, the United States District Court for the Northern District of Alabama granted class certification
again, rejecting defendants’ post-Halliburton II arguments concerning stock price impact.


Education
B.A., University of Wisconsin at Madison, 2001; J.D., Washington University, St. Louis, 2005

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2019




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Darryl J. Alvarado | Partner
Darryl Alvarado is a partner in the Firm’s San Diego office. He focuses his practice on securities fraud
and other complex civil litigation. Alvarado helped secure $388 million for investors in J.P. Morgan
RMBS in Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co. That settlement is, on a percentage basis,
the largest recovery ever achieved in an RMBS class action. He was also a member of a team of attorneys
that secured $95 million for investors in Morgan Stanley-issued RMBS in In re Morgan Stanley Mortg. Pass-
Through Certificates Litig. Most recently, Alvarado served as lead counsel in Smilovits v. First Solar, Inc., and
obtained a $350 million settlement on the eve of trial. The settlement is fifth-largest PSLRA settlement
ever recovered in the Ninth Circuit. In addition, Alvarado was a member of a team of lawyers that
obtained landmark settlements, on the eve of trial, from the major credit rating agencies and Morgan
Stanley arising out of the fraudulent ratings of bonds issued by the Cheyne and Rhinebridge structured
investment vehicles in Abu Dhabi Commercial Bank v. Morgan Stanley & Co. Incorporated and King County,
Washington v. IKB Deutsche Industriebank AG. He was integral in obtaining several precedent-setting
decisions in those cases, including defeating the rating agencies’ historic First Amendment defense and
defeating the ratings agencies’ motions for summary judgment concerning the actionability of credit
ratings.


Education
B.A., University of California, Santa Barbara, 2004; J.D., University of San Diego School of Law, 2007

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2020; 40 & Under Hot List, Benchmark Litigation, 2018-2019;
“Outstanding Young Attorneys,” San Diego Daily Transcript, 2011




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X. Jay Alvarez | Partner
Jay Alvarez is a partner in the Firm’s San Diego office. He focuses his practice on securities fraud
litigation and other complex litigation. Alvarez’s notable cases include In re Qwest Commc’ns Int’l, Inc. Sec.
Litig. ($400 million recovery), In re Coca-Cola Sec. Litig. ($137.5 million settlement), In re St. Jude Medical,
Inc. Sec. Litig. ($50 million settlement), and In re Cooper Cos. Sec. Litig. ($27 million recovery). Most
recently, Alvarez was a member of the litigation team that secured a historic recovery on behalf of Trump
University students in two class actions against President Donald J. Trump. The settlement provides $25
million to approximately 7,000 consumers. This result means individual class members are eligible for
upwards of $35,000 in restitution. He represented the class on a pro bono basis.

Prior to joining the Firm, Alvarez served as an Assistant United States Attorney for the Southern District
of California from 1991-2003. As an Assistant United States Attorney, he obtained extensive trial
experience, including the prosecution of bank fraud, money laundering, and complex narcotics
conspiracy cases. During his tenure as an Assistant United States Attorney, Alvarez also briefed and
argued numerous appeals before the Ninth Circuit Court of Appeals.


Education
B.A., University of California, Berkeley, 1984; J.D., University of California, Berkeley, Boalt Hall School
of Law, 1987

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019



Dory P. Antullis | Partner
Dory Antullis is a partner in the Firm’s Boca Raton office. Her practice focuses on complex class actions,
including securities, corporate governance, and consumer fraud litigation.

Prior to joining the Firm, Antullis worked as an associate in the Miami office of Greenberg Traurig, P.A.,
where she practiced in the area of commercial defense litigation and international arbitration, and as
General Counsel for a medical and defense industry manufacture and supply company in Coral Gables,
Florida.


Education
B.A., Rice University, 1999; J.D., Columbia Law School, 2003

Honors / Awards
National Merit Scholar, Rice University; Golden Key National Honor Society, Rice University; Nominated
for The Rice Undergraduate academic journal, Rice University; Michael I. Sovern Scholar, Columbia Law
School; Hague Appeal for Peace, Committee for a Just and Effective Response to 9/11, Columbia Law
School; Columbia Mediation and Political Asylum Clinics, Columbia Law School; Harlem Tutorial
Program, Columbia Law School; Journal of Eastern European Law, Columbia Law School; Columbia Law
Women’s Association, Columbia Law School




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Stephen R. Astley | Partner
Stephen Astley is a partner in the Firm’s Boca Raton office. Astley devotes his practice to representing
institutional and individual shareholders in their pursuit to recover investment losses caused by fraud.
He has been lead counsel in numerous securities fraud class actions across the country, helping secure
significant recoveries for his clients and investors. He was on the trial team that recovered $60 million on
behalf of investors in City of Sterling Heights Gen. Emps.’ Ret. Sys. v. Hospira, Inc. Other notable
representations include: In re Red Hat, Inc. Sec. Litig. (E.D.N.C.) ($20 million settlement); Eshe Fund v. Fifth
Third Bancorp (S.D. Ohio) ($16 million); City of St. Clair Shores Gen. Emps.’ Ret. Sys. v. Lender Processing
Servs., Inc. (M.D. Fla.) ($14 million); and In re Synovus Fin. Corp. (N.D. Ga.) ($11.75 million).

Prior to joining the Firm, Astley was with the Miami office of Hunton & Williams, where he concentrated
his practice on class action defense, including securities class actions and white collar criminal defense.
Additionally, he represented numerous corporate clients accused of engaging in unfair and deceptive
practices. Astley was also an active duty member of the United States Navy’s Judge Advocate General’s
Corps where he was the Senior Defense Counsel for the Naval Legal Service Office Pearl Harbor
Detachment. In that capacity, Astley oversaw trial operations for the Detachment and gained substantial
first-chair trial experience as the lead defense counsel in over 75 courts-martial and administrative
proceedings. Additionally, from 2002-2003, Astley clerked for the Honorable Peter T. Fay, U.S. Court of
Appeals for the Eleventh Circuit.


Education
B.S., Florida State University, 1992; M. Acc., University of Hawaii at Manoa, 2001; J.D., University of
Miami School of Law, 1997

Honors / Awards
J.D., Cum Laude, University of Miami School of Law, 1997; United States Navy Judge Advocate General’s
Corps., Lieutenant




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A. Rick Atwood, Jr. | Partner
Rick Atwood is a partner in the Firm’s San Diego office. As a recipient of the California Lawyer Attorney of
the Year (“CLAY”) Award for his work on behalf of shareholders, he has successfully represented
shareholders in securities class actions, merger-related class actions, and shareholder derivative suits in
federal and state courts in more than 30 jurisdictions. Through his litigation efforts at both the trial and
appellate levels, Atwood has helped recover billions of dollars for public shareholders, including the
largest post-merger common fund recoveries on record. Most recently, in In re Dole Food Co., Inc.
Stockholder Litig., which went to trial in the Delaware Court of Chancery on claims of breach of fiduciary
duty on behalf of Dole Food Co., Inc. shareholders, Atwood helped obtain $148 million, the largest trial
verdict ever in a class action challenging a merger transaction. He was also a key member of the litigation
team in In re Kinder Morgan, Inc. S’holders Litig., where he helped obtain an unprecedented $200 million
common fund for former Kinder Morgan shareholders, the largest merger & acquisition class action
recovery in history.

Atwood also led the litigation team that obtained an $89.4 million recovery for shareholders in In re Del
Monte Foods Co. S’holders Litig., after which the Delaware Court of Chancery stated that “it was only
through the effective use of discovery that the plaintiffs were able to ‘disturb[ ] the patina of normalcy
surrounding the transaction.’” The court further commented that “Lead Counsel engaged in hard-nosed
discovery to penetrate and expose problems with practices that Wall Street considered ‘typical.’” One
Wall Street banker even wrote in The Wall Street Journal that “‘Everybody does it, but Barclays is the one
that got caught with their hand in the cookie jar . . . . Now everybody has to rethink how we conduct
ourselves in financing situations.’” Atwood’s other significant opinions include Brown v. Brewer ($45
million recovery) and In re Prime Hospitality, Inc. S’holders Litig. ($25 million recovery).


Education
B.A., University of Tennessee, Knoxville, 1987; B.A., Katholieke Universiteit Leuven, Belgium, 1988;
J.D., Vanderbilt School of Law, 1991

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Recommended Lawyer, The Legal 500, 2017-2019;
M&A Litigation Attorney of the Year in California, Corporate International, 2015; Super Lawyer, Super
Lawyers Magazine, 2014-2017; Attorney of the Year, California Lawyer, 2012; B.A., Great Distinction,
Katholieke Universiteit Leuven, Belgium, 1988; B.A., Honors, University of Tennessee, Knoxville, 1987;
Authorities Editor, Vanderbilt Journal of Transnational Law, 1991




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Aelish M. Baig | Partner
Aelish Marie Baig is a partner in the Firm’s San Francisco office. She specializes in federal securities and
consumer class actions. She focuses primarily on securities fraud litigation on behalf of individual and
institutional investors, including state and municipal pension funds, Taft-Hartley funds, and private
retirement and investment funds. Baig has litigated a number of cases through jury trial, resulting in
multi-million dollar awards and settlements for her clients, and has prosecuted securities fraud,
consumer, and derivative actions obtaining millions of dollars in recoveries against corporations such as
Wells Fargo, Verizon, Celera, Pall, and Prudential.

Baig, along with other Robbins Geller attorneys, is currently leading the effort on behalf of cities and
counties around the country in In re National Prescription Opiate Litigation. Additionally, she prosecuted an
action against Wells Fargo’s directors and officers accusing the giant of engaging in the robosigning of
foreclosure papers so as to mass-process home foreclosures, a practice which contributed significantly to
the 2008-2009 financial crisis. The resulting settlement was worth more than $67 million in cash,
corporate preventative measures, and new lending initiatives for residents of cities devastated by Wells
Fargo’s alleged unlawful foreclosure practices. Baig was part of the litigation and trial team in White v.
Cellco Partnership d/b/a Verizon Wireless, which resulted in a $25 million settlement and Verizon’s agreement
to an injunction restricting its ability to impose early termination fees in future subscriber agreements.
She was also part of the team that prosecuted dozens of stock option backdating actions, securing tens of
millions of dollars in cash recoveries as well as the implementation of comprehensive corporate
governance enhancements for numerous companies victimized by their directors’ and officers’ fraudulent
stock option backdating practices. Additionally, Baig prosecuted an action against Prudential Insurance
for its alleged failure to pay life insurance benefits to beneficiaries of policyholders it knew or had reason
to know had died, resulting in a settlement in excess of $30 million.


Education
B.A., Brown University, 1992; J.D., Washington College of Law at American University, 1998

Honors / Awards
Featured in “Lawyer Limelight” series, Lawdragon, 2020; Leading Lawyer in America, Lawdragon, 2020;
Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Litigation Trailblazer, The National Law Journal,
2019; California Trailblazer, The Recorder, 2019; Super Lawyer, Super Lawyers Magazine, 2012-2013; J.D.,
Cum Laude, Washington College of Law at American University, 1998; Senior Editor, Administrative Law
Review, Washington College of Law at American University




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Randall J. Baron | Partner
Randy Baron is a partner in the Firm’s San Diego office. He specializes in securities litigation, corporate
takeover litigation, and breach of fiduciary duty actions. For almost two decades, Baron has headed up a
team of lawyers whose accomplishments include obtaining instrumental rulings both at injunction and
trial phases, and establishing liability of financial advisors and investment banks. With an in-depth
understanding of merger and acquisition and breach of fiduciary duty law, an ability to work under
extreme time pressures, and the experience and willingness to take a case through trial, he has been
responsible for recovering more than a billion dollars for shareholders.

Notable achievements over the years include: In re Kinder Morgan, Inc. S’holders Litig. (Kan. Dist. Ct.,
Shawnee Cty.), where Baron obtained an unprecedented $200 million common fund for former Kinder
Morgan shareholders, the largest merger & acquisition class action recovery in history; In re Dole Food Co.,
Inc. Stockholder Litig. (Del. Ch.), where he went to trial in the Delaware Court of Chancery on claims of
breach of fiduciary duty on behalf of Dole Food Co., Inc. shareholders and obtained $148 million, the
largest trial verdict ever in a class action challenging a merger transaction; and In re Rural/Metro Corp.
Stockholders Litig. (Del. Ch.), where Baron and co-counsel obtained nearly $110 million total recovery for
shareholders against Royal Bank of Canada Capital Markets LLC. In In re Del Monte Foods Co. S’holders
Litig. (Del. Ch.), he exposed the unseemly practice by investment bankers of participating on both sides of
large merger and acquisition transactions and ultimately secured an $89 million settlement for
shareholders of Del Monte. Baron was one of the lead attorneys representing about 75 public and private
institutional investors that filed and settled individual actions in In re WorldCom Sec. Litig. (S.D.N.Y.),
where more than $657 million was recovered, the largest opt-out (non-class) securities action in history.


Education
B.A., University of Colorado at Boulder, 1987; J.D., University of San Diego School of Law, 1990

Honors / Awards
Fellow, Advisory Board, Litigation Counsel of America (LCA); Rated Distinguished by Martindale-
Hubbell; Hall of Fame, The Legal 500, 2020; Super Lawyer, Super Lawyers Magazine, 2014-2016,
2018-2020; National Practice Area Star, Benchmark Litigation, 2019-2020; Local Litigation Star, Benchmark
Litigation, 2018, 2020; Southern California Best Lawyer, Best Lawyers®, 2019-2020; Best Lawyer in
America, Best Lawyers®, 2019-2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Leading Lawyer,
The Legal 500, 2014-2019; Leading Lawyer, Chambers USA, 2016-2019; Leading Lawyer in America,
Lawdragon, 2011, 2017-2019; Litigation Star, Benchmark Litigation, 2016-2019; California
Star, Benchmark Litigation, 2019; State Litigation Star, Benchmark Litigation, 2019; Winning Litigator, The
National Law Journal, 2018; Titan of the Industry, The American Lawyer, 2018; Recommended Lawyer, The
Legal 500, 2017; Mergers & Acquisitions Trailblazer, The National Law Journal, 2015-2016; Litigator of the
Week, The American Lawyer, October 16, 2014; Attorney of the Year, California Lawyer, 2012; Litigator of
the Week, The American Lawyer, October 7, 2011; J.D., Cum Laude, University of San Diego School of Law,
1990




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James E. Barz | Partner
James Barz is a partner with the Firm and manages the Firm’s Chicago office. He has tried 18 cases to
verdict and he is a registered CPA, former federal prosecutor, and has been an adjunct professor at
Northwestern University School of Law from 2008 to 2019, teaching courses on trial advocacy and class
action litigation.

Barz has focused on representing investors in securities fraud class actions that have resulted in recoveries
of over $2 billion. Most recently, Barz was lead counsel in In re Valeant Pharm. Int’l, Inc. Sec. Litig., and
secured a $1.21 billion recovery for investors, a case that Vanity Fair reported as “the corporate scandal of
its era” that had raised “fundamental questions about the functioning of our health-care system, the nature
of modern markets, and the slippery slope of ethical rationalizations.” Subject to court approval, this is
the largest securities class action settlement against a pharmaceutical manufacturer and the ninth largest
securities class action settlement ever.

Barz has also secured substantial recoveries for investors in HCA ($215 million, M.D. Tenn.); Motorola
($200 million, N.D. Ill.); Sprint ($131 million, D. Kan.); Orbital ATK ($108 million, E.D. Va.); Psychiatric
Solutions ($65 million, M.D. Tenn.); Dana Corp. ($64 million, N.D. Ohio); Hospira ($60 million, N.D. Ill.);
Career Education ($27.5 million, N.D. Ill.); and LJM Funds Management, Ltd. ($12.85 million, N.D. Ill.). He
has been lead trial counsel in several of these cases obtaining favorable settlements just days or weeks
before trial and after obtaining denials of summary judgment. Barz also handles whistleblower cases,
including a successful settlement in United States v. Signature Healthcare LLC (M.D. Tenn.) ($30 million),
and antitrust cases, including currently serving on the Plaintiffs’ Steering Committee in In re Dealer
Management Systems Antitrust Litigation (N.D. Ill.).


Education
B.B.A., Loyola University Chicago, School of Business Administration, 1995; J.D., Northwestern
University School of Law, 1998

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2018-2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019;
Leading Lawyer, Law Bulletin Media, 2018; B.B.A., Summa Cum Laude, Loyola University Chicago, School
of Business Administration, 1995; J.D., Cum Laude, Northwestern University School of Law, 1998




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Nathan W. Bear | Partner
Nate Bear is a partner in the Firm’s San Diego office. Bear advises institutional investors on a global
basis. His clients include Taft-Hartley funds, public and multi-employer pension funds, fund managers,
insurance companies, and banks around the world. He counsels clients on securities fraud and corporate
governance, and frequently speaks at conferences worldwide. Bear has been part of Robbins Geller
litigation teams which have recovered over $1 billion for investors, including In re Cardinal Health, Inc. Sec.
Litig. ($600 million) and Jones v. Pfizer Inc. ($400 million). In addition to initiating securities fraud class
actions in the United States, he possesses direct experience in Australian class actions, potential group
actions in the United Kingdom, settlements in the European Union under the Wet Collectieve
Afwikkeling Massaschade (WCAM), the Dutch Collective Mass Claims Settlement Act, as well as
representative actions in Germany utilizing the Kapitalanlegermusterverfahrensgesetz (KapMuG), the
Capital Market Investors’ Model Proceeding Act. In Abu Dhabi Commercial Bank v. Morgan Stanley & Co.
Inc., Bear was a member of the litigation team which achieved the first major ruling upholding fraud
allegations against the chief credit rating agencies. That ruling led to the filing of a similar case, King
County, Washington v. IKB Deutsche Industriebank AG. These cases, arising from the fraudulent ratings of
bonds issued by the Cheyne and Rhinebridge structured investment vehicles, ultimately obtained
landmark settlements – on the eve of trial – from the major credit rating agencies and Morgan Stanley.
Bear maintained an active role in litigation at the heart of the worldwide financial crisis, and pursued
banks over their manipulation of LIBOR, FOREX, and other benchmark rates. Additionally, Bear
represents investors damaged by the defeat device scandal enveloping German automotive
manufacturers, including Volkswagen, Porsche, and Daimler.


Education
B.A., University of California at Berkeley, 1998; J.D., University of San Diego School of Law, 2006

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2016; “Outstanding Young Attorneys,” San Diego Daily
Transcript, 2011




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Alexandra S. Bernay | Partner
Xan Bernay is a partner in the Firm’s San Diego office, where she specializes in antitrust and unfair
competition class-action litigation. She has also worked on some of the Firm’s largest securities fraud class
actions, including the Enron litigation, which recovered an unprecedented $7.2 billion for investors.
Bernay currently serves as co-lead counsel in In re Payment Card Interchange Fee and Merchant Discount
Antitrust Litig., in which a settlement of $5.5 billion was approved in the Eastern District of New York.
This case was brought on behalf of millions of U.S. merchants against Visa and MasterCard and various
card-issuing banks, challenging the way these companies set and collect tens of billions of dollars annually
in merchant fees. The settlement is believed to be the largest antitrust class action settlement of all time.

Additionally, Bernay is involved in In re Remicade Antitrust Litig. pending in the Eastern District of
Pennsylvania – a large case involving anticompetitive conduct in the biosimilars market, where the Firm is
sole lead counsel for the end-payor plaintiffs. She is also part of the litigation team in In re Dealer Mgmt.
Sys. Antitrust Litig. (N.D. Ill.), which involves anticompetitive conduct related to dealer management
systems on behalf of auto dealerships across the country. Another representative case is Persian Gulf Inc.
v. BP West Coast Prods. LLC (S.D. Cal.), a massive case against the largest gas refiners in the world brought
by gasoline station owners who allege they were overcharged for gasoline in California as a result of
anticompetitive conduct.


Education
B.A., Humboldt State University, 1997; J.D., University of San Diego School of Law, 2000

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Litigator of the Week, Global Competition Review,
October 1, 2014




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Erin W. Boardman | Partner
Erin Boardman is a partner in the Firm’s Melville office, where her practice focuses on representing
individual and institutional investors in class actions brought pursuant to the federal securities laws. She
has been involved in the prosecution of numerous securities class actions that have resulted in millions of
dollars in recoveries for defrauded investors, including: Medoff v. CVS Caremark Corp. (D.R.I.) ($48 million
recovery); Construction Laborers Pension Tr. of Greater St. Louis v. Autoliv Inc. (S.D.N.Y.) ($22.5 million
recovery); In re Gildan Activewear Inc. Sec. Litig. (S.D.N.Y.) (resolved as part of a $22.5 million global
settlement); In re L.G. Phillips LCD Co., Ltd., Sec. Litig. (S.D.N.Y.) ($18 million recovery); In re Giant
Interactive Grp., Inc. Sec. Litig. (S.D.N.Y.) ($13 million recovery); In re Coventry HealthCare, Inc. Sec. Litig. (D.
Md.) ($10 million recovery); Lenartz v. American Superconductor Corp. (D. Mass.) ($10 million recovery);
Dudley v. Haub (D.N.J.) ($9 million recovery); Hildenbrand v. W Holding Co. (D.P.R.) ($8.75 million
recovery); In re Doral Fin. Corp. Sec. Litig. (D.P.R.) ($7 million recovery); and Van Dongen v. CNinsure Inc.
(S.D.N.Y.) ($6.625 million recovery). During law school, Boardman served as Associate Managing Editor
of the Journal of Corporate, Financial and Commercial Law, interned in the chambers of the Honorable Kiyo
A. Matsumoto in the United States District Court for the Eastern District of New York, and represented
individuals on a pro bono basis through the Workers’ Rights Clinic.


Education
B.A., State University of New York at Binghamton, 2003; J.D., Brooklyn Law School, 2007

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2018; B.A., Magna Cum Laude, State University of New York at
Binghamton, 2003



Douglas R. Britton | Partner
Doug Britton is a partner in the Firm’s San Diego office. His practice focuses on securities fraud and
corporate governance. Britton has been involved in settlements exceeding $1 billion and has secured
significant corporate governance enhancements to improve corporate functioning. Notable achievements
include In re WorldCom, Inc. Sec. & “ERISA” Litig., where he was one of the lead partners that represented
a number of opt-out institutional investors and secured an unprecedented recovery of $651 million; In re
SureBeam Corp. Sec. Litig., where he was the lead trial counsel and secured an impressive recovery of
$32.75 million; and In re Amazon.com, Inc. Sec. Litig., where he was one of the lead attorneys securing a
$27.5 million recovery for investors.


Education
B.B.A., Washburn University, 1991; J.D., Pepperdine University School of Law, 1996

Honors / Awards
J.D., Cum Laude, Pepperdine University School of Law, 1996




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Luke O. Brooks | Partner
Luke Brooks is a partner in the Firm’s securities litigation practice group in the San Diego office. He
focuses primarily on securities fraud litigation on behalf of individual and institutional investors, including
state and municipal pension funds, Taft-Hartley funds, and private retirement and investment funds.
Brooks served as trial counsel in Jaffe v. Household International in the Northern District of Illinois, a
securities class action that obtained a record-breaking $1.575 billion settlement after 14 years of litigation,
including a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. Other prominent cases
recently prosecuted by Brooks include Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., in which
plaintiffs recovered $388 million for investors in J.P. Morgan residential mortgage-backed securities, and
a pair of cases – Abu Dhabi Commercial Bank v. Morgan Stanley & Co. Inc. (“Cheyne”) and King
County, Washington, et al. v. IKB Deutsche Industriebank AG (“Rhinebridge”) – in which plaintiffs obtained a
settlement, on the eve of trial in Cheyne, from the major credit rating agencies and Morgan Stanley
arising out of the fraudulent ratings of bonds issued by the Cheyne and Rhinebridge structured
investment vehicles. Reuters described the settlement as a “landmark” deal and emphasized that it was the
“first time S&P and Moody’s have settled accusations that investors were misled by their ratings.” An
article published in Rolling Stone magazine entitled “The Last Mystery of the Financial Crisis” similarly
credited Robbins Geller with uncovering “a mountain of evidence” detailing the credit rating agencies’
fraud. Most recently, Brooks served as lead counsel in Smilovits v. First Solar, Inc., and obtained a $350
million settlement on the eve of trial. The settlement is fifth-largest PSLRA settlement ever recovered in
the Ninth Circuit.


Education
B.A., University of Massachusetts at Amherst, 1997; J.D., University of San Francisco, 2000

Honors / Awards
Local Litigation Star, Benchmark Litigation, 2017-2018, 2020; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019; California Star, Benchmark Litigation, 2019; State Litigation Star, Benchmark
Litigation, 2019; Recommended Lawyer, The Legal 500, 2017-2018; Member, University of San Francisco Law
Review, University of San Francisco




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Spencer A. Burkholz | Partner
Spence Burkholz is a partner in the Firm’s San Diego office and a member of the Firm’s Executive and
Management Committees. He has 25 years of experience in prosecuting securities class actions and
private actions on behalf of large institutional investors. Burkholz was one of the lead trial attorneys
in Jaffe v. Household International in the Northern District of Illinois, a securities class action that obtained a
record-breaking $1.575 billion settlement after 14 years of litigation, including a six-week jury trial in
2009 that resulted in a verdict for plaintiffs. Burkholz has also recovered billions of dollars for injured
shareholders in cases such as Enron ($7.2 billion), WorldCom ($657 million), Countrywide ($500 million),
and Qwest ($445 million).


Education
B.A., Clark University, 1985; J.D., University of Virginia School of Law, 1989

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Plaintiffs’ Lawyer Trailblazer, The National Law Journal,
2020; Super Lawyer, Super Lawyers Magazine, 2015-2016, 2020; Leading Lawyer in America, Lawdragon,
2018-2020; Top 100 Trial Lawyer, Benchmark Litigation, 2018-2020; National Practice Area Star, Benchmark
Litigation, 2020; Local Litigation Star, Benchmark Litigation, 2015-2018, 2020; Lawyer of the Year, Best
Lawyers®, 2020; Southern California Best Lawyer, Best Lawyers®, 2018-2020; Best Lawyer in America, Best
Lawyers®, 2018-2020; Top Lawyer in San Diego, San Diego Magazine, 2013-2020; Recommended
Lawyer, The Legal 500, 2017-2019; Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Top 20 Trial
Lawyer in California, Benchmark Litigation, 2019; California Star, Benchmark Litigation, 2019; State
Litigation Star, Benchmark Litigation, 2019; Plaintiff Attorney of the Year, Benchmark Litigation, 2018; B.A.,
Cum Laude, Clark University, 1985; Phi Beta Kappa, Clark University, 1985



Michael G. Capeci | Partner
Michael Capeci is a partner in the Firm’s Melville office. His practice focuses on prosecuting complex
securities class action lawsuits in federal and state courts. Throughout his tenure with the Firm, Capeci
has played an integral role in the teams prosecuting cases such as: In re BHP Billiton Ltd. Sec. Litig. ($50
million recovery); Galestan v. OneMain Holdings, Inc. ($9 million recovery); Carpenters Pension Tr. Fund of St.
Louis v. Barclays PLC ($14 million recovery); City of Pontiac General Emps.’ Ret. Sys. v. Lockheed Martin
Corp. ($19.5 million recovery); and Plumbers and Pipefitters Local Union No. 630 Pension-Annuity Tr. Fund v.
Arbitron Inc. ($7 million recovery). Capeci is currently prosecuting numerous cases in federal and state
courts alleging violations of the Securities Exchange Act of 1934 and the Securities Act of 1933. Recently,
Michael led the litigation team that achieved the first settlement of a 1933 Act claim in New York state
court, In re EverQuote, Inc. Sec. Litig. ($4.75 million recovery), following the U.S. Supreme Court’s
landmark decision in Cyan, Inc. v. Beaver Cty. Emps. Ret. Fund in 2018.


Education
B.S., Villanova University, 2007; J.D., Hofstra University School of Law, 2010

Honors / Awards
Rising Star, Super Lawyers Magazine, 2014-2019; J.D., Cum Laude, Hofstra University School of Law, 2010




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Brian E. Cochran | Partner
Brian Cochran is a partner in the Firm’s San Diego and Chicago offices. He focuses his practice on
complex securities, shareholder, consumer protection, and ERISA litigation. In particular, Cochran
specializes in case investigation and initiation, and lead plaintiff issues arising under the Private Securities
Litigation Reform Act of 1995. He has developed dozens of cases under the federal securities laws and
recovered hundreds of millions of dollars for injured investors and consumers. Several of Cochran’s cases
have pioneered new ground, such as cases on behalf of cryptocurrency investors, and sparked follow-on
governmental investigations into corporate malfeasance.

Most recently, Cochran was a member of the litigation team that achieved a $1.21 billion settlement
(subject to court approval) in the Valeant Pharmaceuticals securities litigation. Cochran was also part of the
team that secured a historic recovery on behalf of Trump University students in two class actions against
President Donald J. Trump one week before trial. The settlement provided $25 million to approximately
7,000 consumers, entitling individual class members for upwards of $35,000 in restitution. Cochran
prosecuted the case on a pro bono basis. Other notable recoveries include: Scotts Miracle-Gro (up to $85
million); Psychiatric Solutions ($65 million); Big Lots ($38 million); Fifth Street Finance ($14 million);
and Third Avenue Management ($14 million). Several of Cochran’s pending cases have secured class
certification and/or successfully opposed a motion to dismiss against prominent corporate defendants,
such as Goldman Sachs, General Electric, JP Morgan, Johnson & Johnson, and Walgreens.


Education
A.B., Princeton University, 2006; J.D., University of California at Berkeley School of Law, Boalt Hall,
2012

Honors / Awards
Next Generation Partner, The Legal 500, 2020; Rising Star, Super Lawyers Magazine, 2020; Rising Star, The
Legal 500, 2019; A.B., With Honors, Princeton University, 2006; J.D., Order of the Coif, University of
California at Berkeley School of Law, Boalt Hall, 2012




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Joseph D. Daley | Partner
Joseph Daley is a partner in the Firm’s San Diego office, serves on the Firm’s Securities Hiring
Committee, and is a member of the Firm’s Appellate Practice Group. Precedents include: City of
Birmingham Ret. & Relief Sys. v. Davis, __ F. App’x __, 2020 WL 1189621 (2d Cir. 2020); City of Providence
v. Bats Glob. Mkts., Inc., 878 F.3d 36 (2d Cir. 2017); DeJulius v. New Eng. Health Care Emps. Pension Fund,
429 F.3d 935 (10th Cir. 2005); Frank v. Dana Corp. (“Dana I”), 547 F.3d 564 (6th Cir. 2008); Frank v. Dana
Corp. (“Dana II”), 646 F.3d 954 (6th Cir. 2011); Freidus v. Barclays Bank Plc, 734 F.3d 132 (2d Cir. 2013); In
re HealthSouth Corp. Sec. Litig., 334 F. App’x 248 (11th Cir. 2009); In re Merck & Co. Sec., Derivative &
ERISA Litig., 493 F.3d 393 (3d Cir. 2007); In re Quality Sys., Inc. Sec. Litig., 865 F.3d 1130 (9th Cir.
2017); In re Qwest Commc’ns Int’l, 450 F.3d 1179 (10th Cir. 2006); Luther v. Countrywide Home Loans Servicing
LP, 533 F.3d 1031 (9th Cir. 2008); NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d
145 (2d Cir. 2012); Rosenbloom v. Pyott (“Allergan”), 765 F.3d 1137 (9th Cir. 2014); Silverman v. Motorola
Solutions, Inc., 739 F.3d 956 (7th Cir. 2013); Siracusano v. Matrixx Initiatives, Inc., 585 F.3d 1167 (9th Cir.
2009), aff’d, 563 U.S. 27 (2011); and Southland Sec. Corp. v. INSpire Ins. Solutions Inc., 365 F.3d 353 (5th
Cir. 2004). Daley is admitted to practice before the U.S. Supreme Court, as well as before 12 U.S. Courts
of Appeals around the nation.


Education
B.S., Jacksonville University, 1981; J.D., University of San Diego School of Law, 1996

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2011-2012, 2014-2018; Appellate Moot Court Board, Order of the
Barristers, University of San Diego School of Law; Best Advocate Award (Traynore Constitutional Law
Moot Court Competition), First Place and Best Briefs (Alumni Torts Moot Court Competition and USD
Jessup International Law Moot Court Competition)




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Patrick W. Daniels | Partner
Patrick Daniels is a founding and managing partner in the Firm’s San Diego office. He is widely
recognized as a leading corporate governance and investor advocate. Daily Journal, the leading legal
publisher in California, named him one of the 20 most influential lawyers in California under 40 years of
age. Additionally, the Yale School of Management’s Millstein Center for Corporate Governance and
Performance awarded Daniels its “Rising Star of Corporate Governance” honor for his outstanding
leadership in shareholder advocacy and activism.

Daniels is an advisor to political and financial leaders throughout the world. He counsels private and
state government pension funds and fund managers in the United States, United Arab Emirates, United
Kingdom, the Netherlands, and other countries within the European Union on issues related to corporate
fraud in the United States securities markets and “best practices” in the corporate governance of publicly
traded companies. Daniels has represented dozens of institutional investors in some of the largest and
most       significant    shareholder        actions,  including    Enron,      WorldCom,    AOL       Time
Warner, BP, Pfizer, Countrywide, Petrobras, and Volkswagen, to name just a few. In the wake of the financial
crisis, he represented dozens of investors in structured investment products in ground-breaking actions
against the ratings agencies and Wall Street banks that packaged and sold supposedly highly rated shoddy
securities to institutional investors all around the world.


Education
B.A., University of California, Berkeley, 1993; J.D., University of San Diego School of Law, 1997

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Rising Star of Corporate Governance, Yale School of
Management’s Milstein Center for Corporate Governance & Performance, 2008; One of the 20 Most
Influential Lawyers in the State of California Under 40 Years of Age, Daily Journal; B.A., Cum Laude,
University of California, Berkeley, 1993




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Stuart A. Davidson | Partner
Stuart Davidson is a partner in the Firm’s Boca Raton office. His practice focuses on complex consumer
class actions, including cases involving deceptive and unfair trade practices, privacy and data breach
issues, and antitrust violations. Davidson served as class counsel in one of the earliest privacy cases, Kehoe
v. Fidelity Federal Bank & Trust, where he represented half-a-million Florida drivers against a national bank
for purchasing their private information from the state department of motor vehicles for marketing
purposes, in violation of the Driver’s Privacy Protection Act. His efforts resulted in a seminal privacy
decision on damages by the Eleventh Circuit, 421 F.3d 1209 (11th Cir. 2005), cert. denied, 547 U.S. 1051
(2006), and after years of hard-fought litigation, including an appeal to the United States Supreme Court,
he was able to obtain a $50 million recovery for the class. He was also integral in obtaining a settlement
valued at $15 million in In re Sony Gaming Networks & Customer Data Security Breach Litigation, concerning
claims related to the massive data breach of Sony’s PlayStation Network, and currently serves as a
member of the Plaintiffs’ Executive Committee in In re Yahoo! Inc. Customer Data Security Breach Litigation in
the Northern District of California regarding the largest data breach in history. Davidson is actively
involved in In re Facebook Biometric Information Privacy Litigation, concerning Facebook’s alleged privacy
violations through its collection of user’s biometric identifiers without informed consent, a cutting-edge
nationwide privacy consumer class action in California.

Most recently, Davidson was appointed to the Plaintiffs’ Steering Committee in In re Intel Corp. CPU
Marketing, Sales Practices and Products Liability Litigation, which concerns serious security vulnerabilities –
known as “Spectre” and “Meltdown” – that infect nearly all of Intel’s x86 processors manufactured and sold
since 1995, the patching of which results in processing speed degradation of the impacted computer,
server or mobile device. Davidson also currently serves as co-lead counsel for hundreds of retired NHL
players in In re NHL Players’ Concussion Injury Litigation in the District of Minnesota, and is spearheading
several aspects of In re EpiPen (Epinephrine Injection, USP) Marketing, Sales Practices and Antitrust Litigation in
the District of Kansas, a case involving the illegal monopolization of the epinephrine auto-injector market,
which allowed the prices of the life-saving EpiPen to rise over 600% in 9 years, and where Robbins Geller
named partner Paul J. Geller was appointed co-lead counsel.

Davidson is a former lead assistant public defender in the Felony Division of the Broward County, Florida
Public Defender’s Office. During his tenure at the Public Defender’s Office, he tried over 30 jury trials,
conducted hundreds of depositions, handled numerous evidentiary hearings, engaged in extensive
motion practice, and defended individuals charged with major crimes ranging from third-degree felonies
to life and capital felonies.


Education
B.A., State University of New York at Geneseo, 1993; J.D., Nova Southeastern University Shepard
Broad College of Law, 1996

Honors / Awards
J.D., Summa Cum Laude, Nova Southeastern University Shepard Broad College of Law, 1996; Associate
Editor, Nova Law Review, Book Awards in Trial Advocacy, Criminal Pretrial Practice and International
Law




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Jason C. Davis | Partner
Jason Davis is a partner in the Firm’s San Francisco office where he practices securities class actions and
complex litigation involving equities, fixed-income, synthetic, and structured securities issued in public
and private transactions. Davis was on the trial team in Jaffe v. Household Int’l, Inc., a securities class action
that obtained a record-breaking $1.575 billion settlement after 14 years of litigation, including a six-week
jury trial in 2009 that resulted in a verdict for plaintiffs. Most recently, he was part of the litigation team
in Luna v. Marvell Tech. Grp., Ltd., resulting in a $72.5 million settlement that represents approximately
24% to 50% of the best estimate of classwide damages suffered by investors.

Before joining the Firm, Davis focused on cross-border transactions, mergers and acquisitions at Cravath,
Swaine and Moore LLP in New York.


Education
B.A., Syracuse University, 1998; J.D., University of California at Berkeley, Boalt Hall School of Law, 2002

Honors / Awards
B.A., Summa Cum Laude, Syracuse University, 1998; International Relations Scholar of the year, Syracuse
University; Teaching fellow, examination awards, Moot court award, University of California at Berkeley,
Boalt Hall School of Law




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Mark J. Dearman | Partner
Mark Dearman is a partner in the Firm’s Boca Raton office, where his practice focuses on consumer
fraud, securities fraud, mass torts, antitrust, and whistleblower litigation. Dearman, along with other
Robbins Geller attorneys, is currently leading the effort on behalf of cities and counties around the
country in In re National Prescription Opiate Litig. He was also recently appointed as the Chair of the
Plaintiffs’ Executive Committee in In re Apple Inc. Device Performance Litig. and was appointed to the
Plaintiffs’ Executive Committee in In re FieldTurf Artificial Turf Mktg. Practices Litig., which alleges that
FieldTurf USA Inc. and its related companies sold defective synthetic turf for use in athletic fields. His
other recent representative cases include: In re NHL Players’ Concussion Injury Litig., 2015 U.S. Dist. LEXIS
38755 (D. Minn. 2015); In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 903 F. Supp. 2d 942
(S.D. Cal. 2012); In re Volkswagen “Clean Diesel” Mktg. Sales Practice, & Prods. Liab. Litig., 2016 U.S. Dist.
LEXIS 1357 (N.D. Cal. 2016); In re Ford Fusion & C-Max Fuel Econ. Litig., 2015 U.S. Dist. LEXIS 155383
(S.D.N.Y. 2015); Looper v. FCA US LLC, No. 5:14-cv-00700 (C.D. Cal.); In re Aluminum Warehousing
Antitrust Litig., 95 F. Supp. 3d 419 (S.D.N.Y. 2015), aff’d, 833 F.3d 151 (2d Cir. 2016); In re Liquid
Aluminum Sulfate Antitrust Litig., No. 16-md-2687 (D.N.J.); In re Winn-Dixie Stores, Inc. S’holder Litig., No.
16-2011-CA-010616 (Fla. 4th Jud. Cir. Ct., Duval Cty.); Gemelas v. Dannon Co. Inc., No. 1:08-cv-00236
(N.D. Ohio); and In re AuthenTec, Inc. S’holder Litig., No. 05-2012-CA-57589 (Fla. 18th Jud. Cir. Ct.,
Brevard Cty.). Prior to joining the Firm, he founded Dearman & Gerson, where he defended Fortune
500 companies, with an emphasis on complex commercial litigation, consumer claims, and mass torts
(products liability and personal injury), and has obtained extensive jury trial experience throughout the
United States. Having represented defendants for so many years before joining the Firm, Dearman has a
unique perspective that enables him to represent clients effectively.


Education
B.A., University of Florida, 1990; J.D., Nova Southeastern University, 1993

Honors / Awards
AV rated by Martindale-Hubbell; Super Lawyer, Super Lawyers Magazine, 2014-2020; In top 1.5% of
Florida Civil Trial Lawyers in Florida Trend’s Florida Legal Elite, 2004, 2006




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Kathleen B. Douglas | Partner
Kathleen Douglas is a partner in the Firm’s Boca Raton office. She focuses her practice on securities
fraud class actions and consumer fraud. Most recently, Douglas and a team of Robbins Geller attorneys
obtained preliminary approval of a $1.21 billion settlement in In re Valeant Pharm. Int’l, Inc. Sec. Litig., a
case that Vanity Fair reported as “the corporate scandal of its era” that had raised “fundamental questions
about the functioning of our health-care system, the nature of modern markets, and the slippery slope of
ethical rationalizations.” Subject to court approval, this is the largest securities class action settlement
against a pharmaceutical manufacturer and the ninth largest ever.

Douglas was also a key member of the litigation team in In re UnitedHealth Grp. Inc. PSLRA Litig., in which
she and team of Robbins Geller attorneys achieved a substantial $925 million recovery. In addition to the
monetary recovery, UnitedHealth also made critical changes to a number of its corporate governance
policies, including electing a shareholder-nominated member to the company’s Board of Directors.
Likewise, in Nieman v. Duke Energy Corp., she and a team of attorneys obtained a $146.25 million recovery,
which is the largest recovery in North Carolina for a case involving securities fraud and is one of the five
largest recoveries in the Fourth Circuit. In addition, Douglas was a member of the team of attorneys
that represented investors in Knurr v. Orbital ATK, Inc., which recovered $108 million for shareholders
and is believed to be the fourth-largest securities class action settlement in the history of the Eastern
District of Virginia. Douglas has served as class counsel in several class actions brought on behalf of
Florida emergency room physicians. These cases were against some of the nation’s largest Health
Maintenance Organizations and settled for substantial increases in reimbursement rates and millions of
dollars in past damages for the class.


Education
B.S., Georgetown University, 2004; J.D., University of Miami School of Law, 2007

Honors / Awards
Rising Star, Super Lawyers Magazine, 2012-2017; B.S., Cum Laude, Georgetown University, 2004




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Travis E. Downs III | Partner
Travis Downs is a partner in the Firm’s San Diego office. His areas of expertise include prosecution of
shareholder and securities litigation, including complex shareholder derivative actions. Downs led a team
of lawyers who successfully prosecuted over 65 stock option backdating derivative actions in federal and
state courts across the country, resulting in hundreds of millions in financial givebacks for the plaintiffs
and extensive corporate governance enhancements, including annual directors elections, majority voting
for directors, and shareholder nomination of directors. Notable cases include: In re Community Health Sys.,
Inc. S’holder Derivative Litig. ($60 million in financial relief and unprecedented corporate governance
reforms); In re Marvell Tech. Grp. Ltd. Derivative Litig. ($54 million in financial relief and extensive
corporate governance enhancements); In re McAfee, Inc. Derivative Litig. ($30 million in financial relief and
extensive corporate governance enhancements); In re Affiliated Computer Servs. Derivative Litig. ($30 million
in financial relief and extensive corporate governance enhancements); In re KB Home S’holder Derivative
Litig. ($30 million in financial relief and extensive corporate governance enhancements); In re Juniper
Networks Derivative Litig. ($22.7 million in financial relief and extensive corporate governance
enhancements); In re Nvidia Corp. Derivative Litig. ($15 million in financial relief and extensive corporate
governance enhancements); and City of Pontiac Gen. Emps.’ Ret. Sys. v. Langone (achieving landmark
corporate governance reforms for investors).

Downs was also part of the litigation team that obtained a $67 million settlement in City of Westland Police
& Fire Ret. Sys. v. Stumpf, a shareholder derivative action alleging that Wells Fargo participated in the mass-
processing of home foreclosure documents by engaging in widespread robo-signing, and a $250 million
settlement in In re Google, Inc. Derivative Litig., an action alleging that Google facilitated in the improper
advertising of prescription drugs. Downs is a frequent speaker at conferences and seminars and has
lectured on a variety of topics related to shareholder derivative and class action litigation.


Education
B.A., Whitworth University, 1985; J.D., University of Washington School of Law, 1990

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Southern California Best Lawyer, Best Lawyers®,
2018-2020; Best Lawyer in America, Best Lawyers®, 2018-2020; Top Lawyer in San Diego, San Diego
Magazine, 2013-2019; Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Board of Trustees, Whitworth
University; Super Lawyer, Super Lawyers Magazine, 2008; B.A., Honors, Whitworth University, 1985




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Daniel S. Drosman | Partner
Dan Drosman is a partner in the Firm’s San Diego office and a member of the Firm’s Management
Committee. He focuses his practice on securities fraud and other complex civil litigation and has obtained
significant recoveries for investors in cases such as Morgan Stanley, Cisco Systems, Coca-Cola, Petco, PMI, and
America West. Drosman served as one of the lead trial attorneys in Jaffe v. Household Int’l, Inc. in the
Northern District of Illinois, a securities class action that obtained a record-breaking $1.575 billion
settlement after 14 years of litigation, including a six-week jury trial in 2009 that resulted in a verdict for
plaintiffs. He also led a group of attorneys prosecuting fraud claims against the credit rating agencies,
where he was distinguished as one of the few plaintiffs’ counsel to overcome the credit rating agencies’
motions to dismiss. Most recently, Drosman served as lead counsel in Smilovits v. First Solar, Inc., and
obtained a $350 million settlement on the eve of trial. The settlement is fifth-largest PSLRA settlement
ever recovered in the Ninth Circuit.

Prior to joining the Firm, Drosman served as an Assistant District Attorney for the Manhattan District
Attorney’s Office, and an Assistant United States Attorney in the Southern District of California, where he
investigated and prosecuted violations of the federal narcotics, immigration, and official corruption law.


Education
B.A., Reed College, 1990; J.D., Harvard Law School, 1993

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2017-2020; Leading Lawyer in America, Lawdragon, 2018-2020;
Southern California Best Lawyer, Best Lawyers®, 2019-2020; Best Lawyer in America, Best Lawyers®,
2019-2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Recommended Lawyer, The Legal 500,
2017-2018; Top 100 Lawyer, Daily Journal, 2017; Department of Justice Special Achievement Award,
Sustained Superior Performance of Duty; B.A., Honors, Reed College, 1990; Phi Beta Kappa, Reed
College, 1990




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Thomas E. Egler | Partner
Tom Egler is a partner in the Firm’s San Diego office and focuses his practice on representing clients in
major complex, multidistrict litigations, such as Lehman Brothers, Countrywide Mortgage Backed
Securities, WorldCom, AOL Time Warner, and Qwest. He has represented institutional investors both as
plaintiffs in individual actions and as lead plaintiffs in class actions.

Egler also serves as a Lawyer Representative to the Ninth Circuit Judicial Conference from the Southern
District of California, and in the past has served on the Executive Board of the San Diego chapter of the
Association of Business Trial Lawyers. Prior to joining the Firm, Egler was a law clerk to the Honorable
Donald E. Ziegler, Chief Judge, United States District Court, Western District of Pennsylvania.


Education
B.A., Northwestern University, 1989; J.D., The Catholic University of America, Columbus School of Law,
1995

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2017-2018; Associate Editor, Catholic University Law Review



Alan I. Ellman | Partner
Alan Ellman is a partner in the Firm’s Melville office, where he concentrates his practice on prosecuting
complex securities fraud cases on behalf of institutional investors. Most recently, Ellman was on the team
of Robbins Geller attorneys who obtained a $34.5 million recovery in Patel v. L-3 Communications Holdings,
Inc., which represents a high percentage of damages that plaintiffs could reasonably expect to be
recovered at trial and is more than eight times higher than the average settlement of cases with
comparable investor losses. He was also on the team of attorneys who recovered in excess of $34 million
for investors in In re OSG Sec. Litig., which represented an outsized recovery of 93% of bond purchasers’
damages and 28% of stock purchasers’ damages. The creatively structured settlement included more than
$15 million paid by a bankrupt entity. In 2006, Ellman received a Volunteer and Leadership Award from
Housing Conservation Coordinators (HCC) for his pro bono service defending a client in Housing Court
against a non-payment action, arguing an appeal before the Appellate Term, and staffing HCC’s legal
clinic. He also successfully appealed a pro bono client’s criminal sentence before the Appellate Division.


Education
B.S., B.A., State University of New York at Binghamton, 1999; J.D., Georgetown University Law Center,
2003

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2017-2019; Rising Star, Super Lawyers Magazine, 2014-2015; B.S.,
B.A., Cum Laude, State University of New York at Binghamton, 1999



Jason A. Forge | Partner
Jason Forge is a partner in the Firm’s San Diego office. He specializes in complex investigations,
litigation, and trials. As a federal prosecutor and private practitioner, Forge has conducted and


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supervised scores of jury and bench trials in federal and state courts, including the month-long trial of a
defense contractor who conspired with Congressman Randy “Duke” Cunningham in the largest bribery
scheme in congressional history. He recently obtained approval of a $160 million recovery in the first
successful securities fraud case against Wal-Mart Stores, Inc. in City of Pontiac General Employees’ Retirement
System v. Wal-Mart Stores, Inc. Most recently, Forge was a member of the Firm’s trial team in Hsu v. Puma
Biotechnology, Inc., a securities fraud class action that resulted in a verdict in favor of investors after a two-
week jury trial.

After the trial victory over Puma Biotechnology and Alan Auerbach, Forge joined a Robbins Geller
litigation team that had defeated 12 motions for summary judgment against 40 defendants and was about
to depose 17 experts in the home stretch to trial. Forge and the team used these depositions to disprove a
truth-on-the-market argument that nine defense experts had embraced. Soon after the last of these
expert depositions, the Robbins Geller team secured a $1.025 billion settlement from American Realty
Capital Properties and other defendants that included a record $237 million contribution from individual
defendants and represented more than twice the recovery rate obtained by several funds that had had
opted out of the class.

Forge was a key member of the litigation team that secured a historic recovery on behalf of Trump
University students in two class actions against President Donald J. Trump. The settlement refunds over
90% of the money thousands of students paid to “enroll” in Trump University. He represented the class
on a pro bono basis. Forge has also successfully defeated motions to dismiss and obtained class
certification against several prominent defendants, including the first federal RICO case against Scotts
Miracle-Gro, which recently settled for up to $85 million. He was a member of the litigation team that
obtained a $125 million settlement in In re LendingClub Securities Litigation, a settlement that ranks among
the top ten largest securities recoveries ever in the Northern District of California.

In a case against another prominent defendant, Pfizer Inc., Forge led an investigation that uncovered key
documents that Pfizer had not produced in discovery. Although fact discovery in the case had already
closed, the district judge ruled that the documents had been improperly withheld and ordered that
discovery be reopened, including reopening the depositions of Pfizer’s former CEO, CFO, and General
Counsel. Less than six months after completing these depositions, Pfizer settled the case for $400
million.


Education
B.B.A., The University of Michigan Ross School of Business, 1990; J.D., The University of Michigan Law
School, 1993

Honors / Awards
Local Litigation Star, Benchmark Litigation, 2020; Southern California Best Lawyer, Best Lawyers®,
2019-2020; Best Lawyer in America, Best Lawyers®, 2019-2020; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2018; Top 100
Lawyer, Daily Journal, 2017; Litigator of the Year, Our City San Diego, 2017; Two-time recipient of one of
Department of Justice’s highest awards: Director’s Award for Superior Performance by Litigation Team;
numerous commendations from Federal Bureau of Investigation (including commendation from FBI
Director Robert Mueller III), Internal Revenue Service, and Defense Criminal Investigative Service; J.D.,
Magna Cum Laude, Order of the Coif, The University of Michigan Law School, 1993; B.B.A., High
Distinction, The University of Michigan Ross School of Business, 1990




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Paul J. Geller | Partner
Paul Geller, managing partner of the Firm’s Boca Raton, Florida office, is a founding partner of the Firm,
a member of its Executive and Management Committees, and head of the Firm’s Consumer Practice
Group. Geller’s 27 years of litigation experience is broad, and he has handled cases in each of the Firm’s
practice areas. Notably, before devoting his practice to the representation of consumers and investors, he
defended companies in high-stakes class action litigation, providing him an invaluable perspective. Geller
has tried bench and jury trials on both the plaintiffs’ and defendants’ sides, and has argued before
numerous state, federal, and appellate courts throughout the country.

Geller was recently selected to serve in a leadership position on behalf of governmental entities and other
plaintiffs in the sprawling litigation concerning the nationwide prescription opioid epidemic. In
reporting on the selection of the lawyers to lead the case, The National Law Journal reported that Geller
and “[t]he team reads like a ‘Who’s Who’ in mass torts.” Geller was also part of the leadership team
representing consumers in the massive Volkswagen “Clean Diesel” Emissions case. The San Francisco legal
newspaper The Recorder labeled Geller and the group that was appointed in that case, which settled for
more than $17 billion, a “class action dream team.”

Geller is also currently serving as Co-Lead Counsel in In re EpiPen (Epinephrine Injection, USP) Mktg., Sales
Practices & Antitrust Litig., a nationwide class action that alleges that pharmaceutical company Mylan N.V.
and others engaged in anticompetitive and unfair business conduct in its sale and marketing of the
EpiPen Auto-Injector device.

Some of Geller’s other recent noteworthy successes include a $265 million recovery against Massey
Energy in In re Massey Energy Co. Sec. Litig., in which Massey was found accountable for a tragic explosion
at the Upper Big Branch mine in Raleigh County, West Virginia. Geller also secured a $146.25 million
recovery against Duke Energy in Nieman v. Duke Energy Corp., the largest recovery in North Carolina for a
case involving securities fraud, and one of the five largest recoveries in the Fourth Circuit.


Education
B.S., University of Florida, 1990; J.D., Emory University School of Law, 1993

Honors / Awards
Rated AV by Martindale-Hubbell; Fellow, Litigation Counsel of America (LCA) Proven Trial
Lawyers; Super Lawyer, Super Lawyers Magazine, 2007-2020; Leading Lawyer in America, Lawdragon,
2006-2007, 2009-2020; Best Lawyer in America, Best Lawyers®, 2017-2020; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019; Recommended Lawyer, The Legal 500, 2016, 2019; Plaintiffs’ Lawyer
Trailblazer, The National Law Journal, 2018; Lawyer of the Year, Best Lawyers®, 2018; Attorney of the
Month, Attorney At Law, 2017; Featured in “Lawyer Limelight” series, Lawdragon, 2017; Top Rated
Lawyer, South Florida’s Legal Leaders, Miami Herald, 2015; Litigation Star, Benchmark Litigation, 2013;
“Legal Elite,” Florida Trend Magazine; One of “Florida’s Most Effective Lawyers,” American Law Media, One
of Florida’s top lawyers in South Florida Business Journal, One of the Nation’s Top “40 Under 40,” The
National Law Journal; One of Florida’s Top Lawyers, Law & Politics; Editor, Emory Law Journal; Order of
the Coif, Emory University School of Law




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Christopher C. Gold | Partner
Christopher Gold is a partner in the Firm’s Boca Raton office. His practice focuses on mass tort and class
action litigation involving consumer fraud, privacy and data breach issues, and securities fraud. He has
worked on a number of notable cases and has successfully recovered millions of dollars on behalf of
clients.

Gold was integral in obtaining a settlement valued at $15 million in In re Sony Gaming Networks & Customer
Data Security Breach Litigation, concerning claims related to the massive data breach of Sony’s PlayStation
Network. Gold is actively involved in In re Yahoo! Inc. Customer Data Security Breach Litigation in the
Northern District of California, which arises from the largest data breach in history. He is also actively
involved in In re Facebook Biometric Information Privacy Litigation, a cutting-edge nationwide privacy
consumer class action in California concerning Facebook’s alleged privacy violations through its alleged
collection of user’s biometric identifiers without informed consent, as well as In re Intel Corp. CPU
Marketing, Sales Practices and Products Liability Litigation and Hauck v. Advanced Micro Devices, Inc., two cases
arising from the so-called “Meltdown” and “Spectre” vulnerabilities that allegedly exist in virtually all
modern computer chips. Other notable consumer cases Gold has worked on include: Friedman v. AARP,
Inc., 855 F.3d 1047 (9th Cir. 2017); In re Clorox Consumer Litig., 894 F. Supp. 2d 1224 (N.D. Cal.
2012); Dumont v. Litton Loan Servicing, LP, 2015 U.S. Dist. LEXIS 29787 (S.D.N.Y. 2015); and Lesti v. Wells
Fargo Bank, N.A., 960 F. Supp. 2d 1311 (M.D. Fla. 2013). Gold is fluent in Brazilian Portuguese.


Education
B.S., Lynn University, 2006; J.D., DePaul University College of Law, 2010

Honors / Awards
Rising Star, Super Lawyers Magazine, 2019-2020




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Jonah H. Goldstein | Partner
Jonah Goldstein is a partner in the Firm’s San Diego office and is responsible for prosecuting complex
securities cases and obtaining recoveries for investors. He also represents corporate whistleblowers who
report violations of the securities laws. Goldstein has achieved significant settlements on behalf of
investors including in In re HealthSouth Sec. Litig. (over $670 million recovered against HealthSouth, UBS
and Ernst & Young), In re Cisco Sec. Litig. (approximately $100 million), and Marcus v. J.C. Penney
Company, Inc. ($97.5 million recovery). Goldstein also served on the Firm’s trial team in In re AT&T Corp.
Sec. Litig., MDL No. 1399 (D.N.J.), which settled after two weeks of trial for $100 million, and aided in the
$65 million recovery in Garden City Emps.’ Ret. Sys. v. Psychiatric Solutions, Inc., the fourth-largest securities
recovery ever in the Middle District of Tennessee and one of the largest in more than a decade. Most
recently, he was part of the litigation team in Luna v. Marvell Tech. Grp., Ltd., resulting in a $72.5 million
settlement that represents approximately 24% to 50% of the best estimate of classwide damages suffered
by investors. Before joining the Firm, Goldstein served as a law clerk for the Honorable William H.
Erickson on the Colorado Supreme Court and as an Assistant United States Attorney for the Southern
District of California, where he tried numerous cases and briefed and argued appeals before the Ninth
Circuit Court of Appeals.


Education
B.A., Duke University, 1991; J.D., University of Denver College of Law, 1995

Honors / Awards
Recommended Lawyer, The Legal 500, 2018-2019; Comments Editor, University of Denver Law Review,
University of Denver College of Law




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Benny C. Goodman III | Partner
Benny Goodman is a partner in the Firm’s San Diego office. He primarily represents plaintiffs in
shareholder actions on behalf of aggrieved corporations. Goodman has recovered hundreds of millions of
dollars in shareholder derivative actions pending in state and federal courts across the nation. Most
recently, he led a team of lawyers in litigation brought on behalf of Community Health Systems, Inc.,
resulting in a $60 million payment to the company, the largest recovery in a shareholder derivative action
in Tennessee and the Sixth Circuit, as well as best-in-class value-enhancing corporate governance reforms
that included two shareholder-nominated directors to the Community Health Board of Directors.

Similarly, Goodman recovered a $25 million payment to Lumber Liquidators and numerous corporate
governance reforms, including a shareholder-nominated director, in In re Lumber Liquidators Holdings, Inc.
S’holder Derivative Litig. In In re Google Inc. S’holder Derivative Litig., Goodman achieved groundbreaking
corporate governance reforms designed to mitigate regulatory and legal compliance risk associated with
online pharmaceutical advertising, including among other things, the creation of a $250 million fund to
help combat rogue pharmacies from improperly selling drugs online.


Education
B.S., Arizona State University, 1994; J.D., University of San Diego School of Law, 2000

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2018-2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019;
Recommended Lawyer, The Legal 500, 2017



Elise J. Grace | Partner
Elise Grace is a partner in the San Diego office and counsels the Firm’s institutional clients on options to
secure premium recoveries in securities litigation both within the United States and internationally.
Grace is a frequent lecturer and author on securities and accounting fraud, and develops annual MCLE
and CPE accredited educational programs designed to train public fund representatives on practices to
protect and maximize portfolio assets, create long-term portfolio value, and best fulfill fiduciary duties.
Grace has routinely been named a Recommended Lawyer by The Legal 500. Grace has prosecuted various
significant securities fraud class actions, as well as the AOL Time Warner state and federal securities opt-
out litigations, which resulted in a combined settlement of over $629 million for defrauded investors.
Before joining the Firm, Grace practiced at Clifford Chance, where she defended numerous Fortune 500
companies in securities class actions and complex business litigation.


Education
B.A., University of California, Los Angeles, 1993; J.D., Pepperdine School of Law, 1999

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Recommended Lawyer, The Legal 500, 2016-2017;
J.D., Magna Cum Laude, Pepperdine School of Law, 1999; American Jurisprudence Bancroft-Whitney
Award – Civil Procedure, Evidence, and Dalsimer Moot Court Oral Argument; Dean’s Academic
Scholarship Recipient, Pepperdine School of Law; B.A., Summa Cum Laude, University of California, Los
Angeles, 1993; B.A., Phi Beta Kappa, University of California, Los Angeles, 1993



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Tor Gronborg | Partner
Tor Gronborg is a partner in the Firm’s San Diego office and a member of the Firm’s Management
Committee. He often lectures on topics such as the Federal Rules of Civil Procedure and electronic
discovery. Gronborg has served as lead or co-lead counsel in numerous securities fraud cases that have
collectively recovered nearly $2 billion for investors. Most recently, Gronborg and a team of Robbins
Geller attorneys obtained preliminary approval of a $1.21 billion settlement in In re Valeant Pharm. Int’l,
Inc. Sec. Litig., a case that Vanity Fair reported as “the corporate scandal of its era” that had raised
“fundamental questions about the functioning of our health-care system, the nature of modern markets,
and the slippery slope of ethical rationalizations.” Subject to court approval, this is the largest securities
class action settlement against a pharmaceutical manufacturer and the ninth largest ever.

In addition to Valeant, Gronborg’s work has included significant recoveries against corporations such as
Cardinal Health ($600 million), Motorola ($200 million), Duke Energy ($146.25 million), Sprint Nextel
Corp. ($131 million), Prison Realty ($104 million), CIT Group ($75 million), Wyeth ($67.5 million), and
Intercept Pharmaceuticals ($55 million), to name a few. Gronborg was also a member of the Firm’s trial
team in Hsu v. Puma Biotechnology, Inc., No. SACV15-0865 (C.D. Cal.), a securities fraud class action that
resulted in a verdict in favor of investors after a two-week jury trial. On three separate occasions,
Gronborg’s pleadings have been upheld by the federal Courts of Appeals (Broudo v. Dura Pharm., Inc., 339
F.3d 933 (9th Cir. 2003), rev’d on other grounds, 544 U.S. 336 (2005); In re Daou Sys., 411 F.3d 1006 (9th
Cir. 2005); Staehr v. Hartford Fin. Servs. Grp., 547 F.3d 406 (2d Cir. 2008)). He has also been responsible
for a number of significant rulings, including In re Sanofi-Aventis Sec. Litig., 293 F.R.D. 449 (S.D.N.Y.
2013); Silverman v. Motorola, Inc., 798 F. Supp. 2d 954 (N.D. Ill. 2011); Roth v. Aon Corp., 2008 U.S. Dist.
LEXIS 18471 (N.D. Ill. 2008); In re Cardinal Health, Inc. Sec. Litigs., 426 F. Supp. 2d 688 (S.D. Ohio 2006);
and In re Dura Pharm., Inc. Sec. Litig., 452 F. Supp. 2d 1005 (S.D. Cal. 2006).


Education
B.A., University of California, Santa Barbara, 1991; Rotary International Scholar, University of Lancaster,
U.K., 1992; J.D., University of California, Berkeley, 1995

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2013-2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019;
Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2019; Moot Court Board Member, University of
California, Berkeley; AFL-CIO history scholarship, University of California, Santa Barbara




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Ellen Gusikoff Stewart | Partner
Ellen Stewart is a partner in the Firm’s San Diego office, and is a member of the Firm’s Summer Associate
Hiring Committee. She currently practices in the Firm’s settlement department, negotiating and
documenting complex securities, merger, ERISA, and derivative action settlements. Notable settlements
include: KBC Asset Management v. 3D Systems Corp. (D.S.C. 2018) ($50 million); Luna v. Marvell Tech.
Grp. (N.D. Cal. 2018) ($72.5 million); Garden City Emps.’ Ret. Sys. v. Psychiatric Solutions, Inc. (M.D. Tenn.
2015) ($65 million); and City of Sterling Heights Gen. Emps.’ Ret. Sys v. Hospira, Inc. (N.D. Ill. 2014) ($60
million).

Stewart has served on the Federal Bar Association Ad Hoc Committee for the revisions to the Settlement
Guidelines for the Northern District of California and was a contributor to the Guidelines and Best
Practices – Implementing 2018 Amendments to Rule 23 Class Action Settlement Provisions manual of the
Bolch Judicial Institute at the Duke University School of Law.


Education
B.A., Muhlenberg College, 1986; J.D., Case Western Reserve University, 1989

Honors / Awards
Rated Distinguished by Martindale-Hubbell




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Robert Henssler | Partner
Bobby Henssler is a partner in the Firm’s San Diego office, where he focuses his practice on securities
fraud and other complex civil litigation. He has obtained significant recoveries for investors in cases such
as Enron, Blackstone, and CIT Group. Henssler is currently a key member of the team of attorneys
prosecuting fraud claims against Goldman Sachs stemming from Goldman’s conduct in subprime
mortgage transactions (including “Abacus”).

Most recently, Henssler and a team of Robbins Geller attorneys obtained preliminary approval of a $1.21
billion settlement in In re Valeant Pharm. Int’l, Inc. Sec. Litig., a case that Vanity Fair reported as “the
corporate scandal of its era” that had raised “fundamental questions about the functioning of our health-
care system, the nature of modern markets, and the slippery slope of ethical rationalizations.” Subject to
court approval, this is the largest securities class action settlement against a pharmaceutical manufacturer
and the ninth largest ever.

Henssler was also lead counsel in Schuh v. HCA Holdings, Inc., which resulted in a $215 million recovery
for shareholders, the largest securities class action recovery ever in Tennessee. The recovery achieved
represents more than 30% of the aggregate classwide damages, far exceeding the typical recovery in a
securities class action. Henssler also led the litigation teams in Marcus v. J.C. Penney Company, Inc. ($97.5
million recovery), Landmen Partners Inc. v. The Blackstone Group L.P. ($85 million recovery), In re Novatel
Wireless Sec. Litig. ($16 million recovery), Carpenters Pension Trust Fund of St. Louis v. Barclays PLC ($14
million settlement), and Kmiec v. Powerwave Technologies, Inc. ($8.2 million settlement), to name a few.


Education
B.A., University of New Hampshire, 1997; J.D., University of San Diego School of Law, 2001

Honors / Awards
Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2020; Recommended Lawyer, The Legal 500,
2018-2019




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Steven F. Hubachek | Partner
Steve Hubachek is a partner in the Firm’s San Diego office. He is a member of the Firm’s appellate
group, where his practice concentrates on federal appeals. He has more than 25 years of appellate
experience, has argued over 100 federal appeals, including 3 cases before the United States Supreme
Court and 7 cases before en banc panels of the Ninth Circuit Court of Appeals. Prior to his work with the
Firm, Hubachek joined Perkins Coie in Seattle, Washington, as an associate. He was admitted to the
Washington State Bar in 1987 and was admitted to the California State Bar in 1990, practicing for many
years with Federal Defenders of San Diego, Inc. He also had an active trial practice, including over 30
jury trials, and was Chief Appellate Attorney for Federal Defenders.


Education
B.A., University of California, Berkeley, 1983; J.D., Hastings College of the Law, 1987

Honors / Awards
AV rated by Martindale-Hubbell; Super Lawyer, Super Lawyers Magazine, 2007-2009, 2019-2020; Top
Lawyer in San Diego, San Diego Magazine, 2014-2020; Assistant Federal Public Defender of the Year,
National Federal Public Defenders Association, 2011; Appellate Attorney of the Year, San Diego Criminal
Defense Bar Association, 2011 (co-recipient); President’s Award for Outstanding Volunteer Service, Mid
City Little League, San Diego, 2011; E. Stanley Conant Award for exceptional and unselfish devotion to
protecting the rights of the indigent accused, 2009 (joint recipient); The Daily Transcript Top Attorneys,
2007; J.D., Cum Laude, Order of the Coif, Thurston Honor Society, Hastings College of Law, 1987



Maxwell R. Huffman | Partner
Maxwell Huffman is a partner in the Firm’s San Diego office. He focuses his practice on representing
both institutional and individual shareholders in securities class action litigation in the context of mergers
and acquisitions. Huffman was part of the litigation team for In re Dole Food Co., Inc. Stockholder Litig.,
where he went to trial in the Delaware Court of Chancery on claims of breach of fiduciary duty on behalf
of Dole Food Co., Inc. shareholders and obtained $148 million, the largest trial verdict ever in a class
action challenging a merger transaction.


Education
B.A., California State University, Sacramento, 2005; J.D., Gonzaga University School of Law, 2009

Honors / Awards
Recommended Lawyer, The Legal 500, 2019; Winning Litigator, The National Law Journal, 2018; Titan of
the Industry, The American Lawyer, 2018




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James I. Jaconette | Partner
James Jaconette is one of the founding partners of the Firm and is located in its San Diego office. He
manages cases in the Firm’s securities class action and shareholder derivative litigation practices. He has
served as one of the lead counsel in securities cases with recoveries to individual and institutional investors
totaling over $8 billion. He also advises institutional investors, including hedge funds, pension funds, and
financial institutions. Landmark securities actions in which he contributed in a primary litigating role
include In re Informix Corp. Sec. Litig., and In re Dynegy Inc. Sec. Litig. and In re Enron Corp. Sec. Litig., where
he represented lead plaintiff The Regents of the University of California. Most recently, Jaconette was
part of the trial team in Schuh v. HCA Holdings, Inc., which resulted in a $215 million recovery for
shareholders, the largest securities class action recovery ever in Tennessee. The recovery achieved
represents more than 30% of the aggregate classwide damages, far exceeding the typical recovery in a
securities class action.


Education
B.A., San Diego State University, 1989; M.B.A., San Diego State University, 1992; J.D., University of
California Hastings College of the Law, 1995

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019; J.D., Cum Laude, University of California Hastings
College of the Law, 1995; Associate Articles Editor, Hastings Law Journal, University of California Hastings
College of the Law; B.A., with Honors and Distinction, San Diego State University, 1989



Rachel L. Jensen | Partner
Rachel Jensen is a partner in the Firm’s San Diego office. For 16 years, Jensen has developed a track
record of success in helping to craft impactful business reforms and recover billions of dollars on behalf of
individuals, businesses, and government entities injured by unlawful business practices, fraudulent
schemes, and hazardous products.

Jensen was one of the lead attorneys who secured a historic recovery on behalf of Trump University
students nationwide in two class actions against President Donald J. Trump, which provided $25 million
and nearly 100% refunds to class members. Jensen represented the class on a pro bono basis. As a member
of the Plaintiffs’ Steering Committee in the Fiat Chrysler EcoDiesel litigation, Jensen helped obtain an
$840 million global settlement for concealed defeat devices in “EcoDiesel” SUVs and trucks. Jensen also
represented drivers against Volkswagen in one of the most brazen corporate frauds in recent
history, helping recover $17 billion for emission cheating in “clean” diesel vehicles. Additionally, Jensen
serves as lead counsel for investors in Grupo Televisa ADRs who lost millions when it was revealed that
the Mexican media giant obtained broadcasting rights to FIFA World Cup tournaments not by fair play
but bribery. Jensen also serves as one of the lead counsel for policyholders against certain Lloyd’s of
London syndicates for collusive practices in the insurance market. Most recently, Jensen’s representation
of California passengers in a landmark consumer and civil rights case against Greyhound for subjecting
them to discriminatory immigration raids had an immediate impact as Greyhound now provides “know
your rights” information to passengers and implemented other business reforms.

Among other recoveries, Jensen has played significant roles in In re LendingClub Sec. Litig., No.
3:16-cv-02627-WHA (N.D. Cal.) ($125 million settlement that ranks among the top ten largest securities
recoveries ever in N.D. Cal.); Negrete v. Allianz Life Ins. Co. of N. Am., No. CV056838CAS(MANx) (C.D.


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Cal.) ($250 million to senior citizens targeted for exorbitant deferred annuities that would not mature in
their lifetimes); In re Ins. Brokerage Antitrust Litig., No. 04-5184(CCC) (D.N.J.) ($200 million recovered for
policyholders who paid inflated premiums due to kickback scheme among major insurers and brokers); In
re Morning Song Bird Food Litig., No. 3:12-cv-01592-JAH-AGS (S.D. Cal.) ($85 million settlement in refunds
to bird lovers who purchased Scotts Miracle-Gro wild bird food treated with pesticides that are hazardous
to birds); City of Westland Police & Fire Ret. Sys. v. Stumpf, No. 3:11-cv-02369-SI (N.D. Cal.) ($67 million in
homeowner down-payment assistance and credit counseling for cities hardest hit by the foreclosure crisis
and computer integration for mortgage servicing segments in derivative settlement with Wells Fargo for
“robo-signing” of foreclosure affidavits); In re Mattel, Inc., Toy Lead Paint Prods. Liab. Litig., No.
2:07-ml-01897-DSF-AJW (C.D. Cal.) ($50 million in refunds and quality assurance business reforms for
toys made in China with lead and magnets); and In re Checking Account Overdraft Litig., No.
1:09-md-2036-JLK (S.D. Fla.) ($500 million in settlements with major banks for manipulating debit
transactions to maximize overdraft fees).


Education
B.A., Florida State University, 1997; University of Oxford, International Human Rights Law Program at
New College, Summer 1998; J.D., Georgetown University Law School, 2000

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2016-2020; Leading Lawyer in America, Lawdragon, 2017-2020;
California Trailblazer, The Recorder, 2019; Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Plaintiffs’
Lawyer Trailblazer, The National Law Journal, 2018; Top Woman Lawyer, Daily Journal, 2017; Rising
Star, Super Lawyers Magazine, 2015; Nominated for 2011 Woman of the Year, San Diego Magazine; Editor-
in-Chief, First Annual Review of Gender and Sexuality Law, Georgetown University Law School; Dean’s List
1998-1999; B.A., Cum Laude, Florida State University’s Honors Program, 1997; Phi Beta Kappa




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Steven M. Jodlowski | Partner
Steven Jodlowski is a partner in the Firm’s San Diego office. His practice focuses on high-stakes complex
litigation, often involving antitrust, securities, and consumer claims. In recent years, he has specialized in
representing investors in a series of antitrust actions involving the manipulation of benchmark rates,
including the ISDAfix Benchmark litigation, which to date resulted in the recovery of $504.5 million on
behalf of investors, and In re SSA Bonds Antitrust Litig., which resulted in the recovery of $95.5 million on
behalf of investors. He is currently serving as interim co-lead class counsel in Thompson v. 1-800 Contacts,
Inc., where the court has granted preliminary approval of $24.9 million in settlements. Jodlowski was also
part of the trial team in an antitrust monopolization case against a multinational computer and software
company.

Jodlowski has successfully prosecuted numerous antitrust and RICO cases. These cases resulted in the
recovery of more than $1 billion for investors and policyholders. Jodlowski has also represented
institutional and individual shareholders in corporate takeover actions in state and federal court. He has
handled pre- and post-merger litigation stemming from the acquisition of publicly listed companies in the
biotechnology, oil and gas, information technology, specialty retail, electrical, banking, finance, and real
estate industries, among others.


Education
B.B.A., University of Central Oklahoma, 2002; J.D., California Western School of Law, 2005

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2019; Outstanding Antitrust Litigation Achievement in Private
Law Practice, American Antitrust Institute, 2018; CAOC Consumer Attorney of the Year Award Finalist,
2015; J.D., Cum Laude, California Western School of Law, 2005




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Chad Johnson | Partner
Chad Johnson is a partner in the Firm’s Manhattan office. Johnson has more than 25 years’ experience
handling complex securities cases and breach of fiduciary duty actions, which includes significant time as a
plaintiffs’ lawyer, a securities-fraud prosecutor, and a defense lawyer. Johnson previously served as the
head of New York’s securities fraud unit referred to as the Investor Protection Bureau. In that role, he
prosecuted cases that resulted in billions of dollars of recoveries for New Yorkers and made new law in
the area of securities enforcement for the benefit of investors. Among the cases that Johnson handled in
that role included prosecuting dark pool operators for making false statements to the investing public.

In the private sector, Johnson represents institutional and other investors in securities and breach of
fiduciary duty cases, including representing investors in direct or “opt-out” actions and also in class
actions. Johnson represents some of the world’s largest and most sophisticated asset managers, public
pension funds, and sovereign wealth funds. Johnson also represents whistleblowers in false claims act or
“qui tam” actions.


Education
B.A., University of Michigan, 1989; J.D., Harvard Law School, 1993

Honors / Awards
J.D., Cum Laude, Harvard Law School, 1993; B.A., High Distinction, University of Michigan, 1989



Evan J. Kaufman | Partner
Evan Kaufman is a partner in the Firm’s Melville office. He focuses his practice in the area of complex
litigation, including securities, ERISA, corporate fiduciary duty, derivative, and consumer fraud class
actions. Kaufman has served as lead counsel or played a significant role in numerous actions,
including: In re TD Banknorth S’holders Litig. ($50 million recovery); In re Gen. Elec. Co. ERISA Litig. ($40
million cost to GE, including significant improvements to GE’s employee retirement plan, and benefits to
GE plan participants valued in excess of $100 million); EnergySolutions, Inc. Sec. Litig. ($26 million
recovery); Lockheed Martin Corp. Sec. Litig. ($19.5 million recovery); In re Warner Chilcott Ltd. Sec. Litig.
($16.5 million recovery); In re Third Avenue Mgmt. Sec. Litig. ($14.25 million recovery); In re Giant
Interactive Grp., Inc. Sec. Litig. ($13 million recovery); In re Royal Grp. Tech. Sec. Litig. ($9 million recovery);
Fidelity Ultra Short Bond Fund Litig. ($7.5 million recovery); In re Audiovox Derivative Litig. ($6.75 million
recovery and corporate governance reforms); State Street Yield Plus Fund Litig. ($6.25 million recovery); In
re Merrill Lynch & Co., Inc., Internet Strategies Sec. Litig. (resolved as part of a $39 million global settlement);
and In re MONY Grp., Inc. S’holder Litig. (obtained preliminary injunction requiring disclosures in proxy
statement).


Education
B.A., University of Michigan, 1992; J.D., Fordham University School of Law, 1995

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2013-2015, 2017-2019; Member, Fordham International Law Journal,
Fordham University School of Law




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David A. Knotts | Partner
David Knotts is a partner in the Firm’s San Diego office and, in addition to ongoing litigation work,
teaches a full-semester course on M&A litigation at the University of California Berkeley School of Law.
He focuses his practice on securities class action litigation in the context of mergers and acquisitions,
representing both individual shareholders and institutional investors. Knotts has been counsel of record
for shareholders on a number of significant recoveries in courts and throughout the country, including In
re Rural/Metro Corp. Stockholders Litig. (nearly $110 million total recovery, affirmed by the Delaware
Supreme Court in RBC v. Jervis), In re Del Monte Foods Co. S’holders Litig. ($89.4 million), Websense ($40
million), In re Onyx S’holders Litig. ($30 million), and Joy Global ($20 million). Websense and Onyx are both
believed to be the largest post-merger class settlements in California state court history. When Knotts
recently presented the settlement as lead counsel for the stockholders in Joy Global, the United States
District Court for the Eastern District of Wisconsin noted that “this is a pretty extraordinary settlement,
recovery on behalf of the members of the class. . . . [I]t’s always a pleasure to work with people who are
experienced and who know what they are doing.”

Before joining Robbins Geller, Knotts was an associate at one of the largest law firms in the world and
represented corporate clients in various aspects of state and federal litigation, including major antitrust
matters, trade secret disputes, and unfair competition claims.


Education
B.S., University of Pittsburgh, 2001; J.D., Cornell Law School, 2004

Honors / Awards
Next Generation Partner, The Legal 500, 2019-2020; Recommended Lawyer, The Legal 500, 2017-2019; 40
& Under Hot List, Benchmark Litigation, 2018; Wiley W. Manuel Award for Pro Bono Legal Services, State
Bar of California; Casa Cornelia Inns of Court; J.D., Cum Laude, Cornell Law School, 2004




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Laurie L. Largent | Partner
Laurie Largent is a partner in the Firm’s San Diego, California office. Her practice focuses on securities
class action and shareholder derivative litigation and she has helped recover millions of dollars for injured
shareholders. Largent was part of the litigation team that obtained a $265 million recovery in In re Massey
Energy Co. Sec. Litig., in which Massey was found accountable for a tragic explosion at the Upper Big
Branch mine in Raleigh County, West Virginia. She also helped obtain $67.5 million for Wyeth
shareholders in City of Livonia Emps.’ Ret. Sys. v. Wyeth, settling claims that the defendants misled investors
about the safety and commercial viability of one of the company’s leading drug candidates. Most recently,
Largent was on the team that secured a $64 million recovery for Dana Corp. shareholders in Plumbers &
Pipefitters Nat’l Pension Fund v. Burns, in which the Firm’s Appellate Practice Group successfully appealed
to the Sixth Circuit Court of Appeals twice, reversing the district court’s dismissal of the action. Some of
Largent’s other cases include: In re Sanofi-Aventis Sec. Litig. (S.D.N.Y.) ($40 million); In re Bridgepoint Educ.,
Inc. Sec. Litig. (S.D. Cal.) ($15.5 million); Ross v. Abercrombie & Fitch Co. (S.D. Ohio) ($12 million); Maiman
v. Talbott (C.D. Cal.) ($8.25 million); In re Cafepress Inc. S’holder Litig. (Cal. Super. Ct., San Mateo Cty.) ($8
million); and Krystek v. Ruby Tuesday, Inc. (M.D. Tenn.) ($5 million). Largent’s current cases include
securities fraud cases against Dell, Inc. (W.D. Tex.) and Banc of California (C.D. Cal.).

Largent is a past board member on the San Diego County Bar Foundation and the San Diego Volunteer
Lawyer Program. She has also served as an Adjunct Business Law Professor at Southwestern College in
Chula Vista, California.


Education
B.B.A., University of Oklahoma, 1985; J.D., University of Tulsa, 1988

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Board Member, San Diego County Bar Foundation,
2013-2017; Board Member, San Diego Volunteer Lawyer Program, 2014-2017




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Angel P. Lau | Partner
Angel Lau is a partner in the Firm’s San Diego office, where her practice focuses on complex securities
litigation. She is a member of the litigation team prosecuting actions against investment banks and the
leading national credit rating agencies for their role in structuring and rating structured investment
vehicles. These cases are among the first to successfully allege fraud against the rating agencies, whose
ratings have historically been protected by the First Amendment.

As part of the Firm’s litigation team, Lau helped secure a $388 million recovery for investors in J.P.
Morgan residential mortgage-backed securities in Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co.
The resulting settlement is, on a percentage basis, the largest recovery ever achieved in a class action
brought on behalf of purchasers of RMBS. She was part of the litigation team that obtained a landmark
$272 million recovery from the Second Circuit Court of Appeals in its precedent-setting NECA-IBEW
Health & Welfare Fund v. Goldman Sachs & Co. decision, which dramatically expanded the scope of
permissible class actions asserting claims under the Securities Act of 1933 on behalf of mortgage-backed
securities investors. Additionally, Lau also helped to obtain a landmark settlement, on the eve of trial,
from the major credit rating agencies and Morgan Stanley arising out of the fraudulent ratings of bonds
issued by the structured investment vehicles in Abu Dhabi Commercial Bank v. Morgan Stanley & Co.
Inc. Before joining the Firm, Lau worked at an investment bank in New York, with experience in
arbitrage trading and securitized products.


Education
B.A., Stanford University, 1994; J.D., University of San Diego School of Law, 2012




Honors / Awards
Rising Star, Super Lawyers Magazine, 2020




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Arthur C. Leahy | Partner
Art Leahy is a founding partner in the Firm’s San Diego office and a member of the Firm’s Executive and
Management Committees. He has over 20 years of experience successfully litigating securities actions and
derivative cases. Leahy has recovered well over two billion dollars for the Firm’s clients and has
negotiated comprehensive pro-investor corporate governance reforms at several large public companies.
Most recently, Leahy helped secure a $272 million recovery on behalf of mortgage-backed securities
investors in NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co. In the Goldman Sachs case, he
helped achieve favorable decisions in the Second Circuit Court of Appeals on behalf of investors of
Goldman Sachs mortgage-backed securities and again in the Supreme Court, which denied Goldman
Sachs’ petition for certiorari, or review, of the Second Circuit’s reinstatement of the plaintiff’s case. He
was also part of the Firm’s trial team in the AT&T securities litigation, which AT&T and its former officers
paid $100 million to settle after two weeks of trial. Prior to joining the Firm, he served as a judicial extern
for the Honorable J. Clifford Wallace of the United States Court of Appeals for the Ninth Circuit, and
served as a judicial law clerk for the Honorable Alan C. Kay of the United States District Court for the
District of Hawaii.


Education
B.A., Point Loma Nazarene University, 1987; J.D., University of San Diego School of Law, 1990

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine,
2013-2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Super Lawyer, Super Lawyers
Magazine, 2016-2017; J.D., Cum Laude, University of San Diego School of Law, 1990; Managing Editor,
San Diego Law Review, University of San Diego School of Law




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Nathan R. Lindell | Partner
Nate Lindell is a partner in the Firm’s San Diego office, where his practice focuses on representing
aggrieved investors in complex civil litigation. He has helped achieve numerous significant recoveries for
investors, including:In re Enron Corp. Sec. Litig. ($7.2 billion recovery); In re HealthSouth Corp. Sec.
Litig. ($671 million recovery); Luther v. Countrywide Fin. Corp. ($500 million recovery); Fort Worth Emps.’
Ret. Fund v. J.P. Morgan Chase & Co. ($388 million recovery); NECA-IBEW Health & Welfare Fund v.
Goldman Sachs & Co. ($272 million recovery); In re Morgan Stanley Mortg. Pass-Through Certificates Litig. ($95
million recovery); Massachusetts Bricklayers & Masons Tr. Funds v. Deutsche Alt-A Sec., Inc. ($32.5 million
recovery); City of Ann Arbor Emps.’ Ret. Sys. v. Citigroup Mortg. Loan Trust Inc. ($24.9 million
recovery); Plumbers’ Union Local No. 12 Pension Fund v. Nomura Asset Acceptance Corp. ($21.2 million
recovery); and Genesee Cty. Emps.’ Ret. Sys. v. Thornburg Mortg., Inc. ($11.25 million recovery). In October
2016, Lindell successfully argued in front of the New York Supreme Court, Appellate Division, First
Judicial Department, for the reversal of an earlier order granting defendants’ motion to dismiss in Phoenix
Light SF Limited v. Morgan Stanley.

Lindell was also a member of the litigation team responsible for securing a landmark victory from the
Second Circuit Court of Appeals in its precedent-setting NECA-IBEW Health & Welfare Fund v. Goldman
Sachs & Co. decision, which dramatically expanded the scope of permissible class actions asserting claims
under the Securities Act of 1933 on behalf of mortgage-backed securities investors, and ultimately
resulted in a $272 million recovery for investors.


Education
B.S., Princeton University, 2003; J.D., University of San Diego School of Law, 2006

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2017; Charles W. Caldwell Alumni Scholarship, University of
San Diego School of Law; CALI/AmJur Award in Sports and the Law



Ryan Llorens | Partner
Ryan Llorens is a partner in the Firm’s San Diego office. Llorens’ practice focuses on litigating complex
securities fraud cases. He has worked on a number of securities cases that have resulted in significant
recoveries for investors, including: In re HealthSouth Corp. Sec. Litig. ($670 million); AOL Time Warner ($629
million); In re AT&T Corp. Sec. Litig. ($100 million); In re Fleming Cos. Sec. Litig. ($95 million); and In re
Cooper Cos., Inc. Sec Litig. ($27 million).


Education
B.A., Pitzer College, 1997; J.D., University of San Diego School of Law, 2002

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015




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Andrew S. Love | Partner
Andrew Love is a partner in the Firm’s San Francisco office. His practice focuses primarily on appeals of
securities fraud class action cases. Love has briefed and argued cases on behalf of defrauded investors and
consumers in several U.S. Courts of Appeal, as well as in the California appellate courts. Prior to joining
the Firm, Love represented inmates on California’s death row in appellate and habeas corpus
proceedings, successfully arguing capital cases in both the California Supreme Court and the Ninth
Circuit. During his many years as a death penalty lawyer, he co-chaired the Capital Case Defense
Seminar (2004-2013), recognized as the largest conference for death penalty practitioners in the country.
He regularly presented at the seminar and at other conferences on a wide variety of topics geared towards
effective appellate practice. Additionally, he was on the faculty of the National Institute for Trial
Advocacy’s Post-Conviction Skills Seminar. Love has also written several articles on appellate advocacy
and capital punishment that have appeared in The Daily Journal, CACJ Forum, American Constitution Society,
and other publications.


Education
University of Vermont, 1981; J.D., University of San Francisco School of Law, 1985

Honors / Awards
J.D., Cum Laude, University of San Francisco School of Law, 1985; McAuliffe Honor Society, University of
San Francisco School of Law, 1982-1985




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Erik W. Luedeke | Partner
Erik Luedeke is a partner in the Firm’s San Diego office, where he represents individual and institutional
investors in shareholder derivative and securities litigation. As corporate fiduciaries, directors and officers
are duty-bound to act in the best interest of the corporation and its shareholders. When they fail to do so
they breach their fiduciary duty and may be held liable for harm caused to the corporation. Luedeke’s
shareholder derivative practice focuses on litigating breach of fiduciary duty and related claims on behalf
of corporations and shareholders injured by wayward corporate fiduciaries. Notable shareholder
derivative actions in which he recently participated and the recoveries he helped to achieve include In
re Community Health Sys., Inc. S'holder Derivative Litig. ($60 million in financial relief and unprecedented
corporate governance reforms), In re Lumber Liquidators Holdings, Inc. S’holder Derivative Litig. ($26 million
in financial relief plus substantial governance), and In re Google Inc. S’holder Derivative Litig. ($250 million
in financial relief to fund substantial governance).

Luedeke’s practice also includes the prosecution of complex securities class action cases on behalf of
aggrieved investors. Luedeke was a member of the litigation team in Jaffe v. Household Int’l, Inc., No.
02-C-5893 (N.D. Ill.), that resulted in a record-breaking $1.575 billion settlement after 14 years of
litigation, including a six-week jury trial ending in a plaintiffs’ verdict. He was also a member of the
litigation teams in In re UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1691 (D. Minn.) ($925 million
recovery), and In re Questcor Pharm., Inc. Sec. Litig., No. 8:12-cv-01623 (C.D. Cal.) ($38 million recovery).


Education
B.S./B.A., University of California Santa Barbara, 2001; J.D., University of San Diego School of Law, 2006

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2017; Student Comment Editor, San Diego International Law
Journal, University of San Diego School of Law




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Carmen A. Medici | Partner
Carmen Medici is a partner in the Firm’s San Diego office and focuses on complex antitrust class action
litigation and unfair competition law. He represents businesses and consumers who are the victims of
price-fixing, monopolization, collusion, and other anticompetitive and unfair business practices. Medici
specializes in litigation against giants in the financial, pharmaceutical, and commodities industries.

Medici currently serves as co-lead counsel in In re Payment Card Interchange Fee and Merchant Discount
Antitrust Litig., in which a settlement of $5.5 billion was approved in the Eastern District of New York.
This case was brought on behalf of millions of U.S. merchants against Visa and MasterCard and various
card-issuing banks, challenging the way these companies set and collect tens of billions of dollars annually
in merchant fees. The settlement is believed to be the largest antitrust class action settlement of all time.
He is also a part of the co-lead counsel team in In re SSA Bonds Antitrust Litig., pending in the Southern
District of New York, representing bond purchasers who were defrauded by a brazen price-fixing scheme
perpetrated by traders at some of the nation’s largest banks. Medici is also a member of the litigation
team in In re Dealer Mgmt. Sys. Antitrust Litig., a lawsuit brought on behalf of car dealerships pending in
federal court in Chicago, where one defendant has settled for nearly $30 million.


Education
B.S., Arizona State University, 2003; J.D., University of San Diego School of Law, 2006

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2020



Matthew S. Melamed | Partner
Matthew Melamed is a partner in the Firm’s San Francisco office, where he focuses on securities litigation
whistleblower representation. Since joining the Firm, he has been a member of litigation teams
responsible for substantial investor recoveries, including Jones v. Pfizer Inc. (S.D.N.Y.), In re St. Jude
Med., Inc. Sec. Litig. (D. Minn.), Oklahoma Police Pension & Ret. Sys. v. Sientra, Inc. (Cal. Super. Ct., San
Mateo Cty.), and In re Willbros Grp., Inc. Sec. Litig. (S.D. Tex.). He has also contributed to the Firm’s
appellate work, including in Mineworkers’ Pension Scheme, British Coal Staff Superannuation v. First Solar,
Inc. (9th Cir.), and China Development Industrial Bank v. Morgan Stanley & Co. Incorporated (N.Y. App. Div.).
Along with other Robbins Geller attorneys, Melamed is currently leading the effort on behalf of cities,
counties, and states in a nationwide litigation concerning the marketing and distribution of prescription
opioids.


Education
B.A., Wesleyan University, 1996; J.D., University of California, Hastings College of the Law, 2008

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2018; J.D., Magna Cum Laude, University of California, Hastings
College of the Law, 2008; Tony Patiño Fellow, University of California, Hastings College of the
Law; Order of the Coif, University of California, Hastings College of the Law; Senior Articles
Editor, Hastings Law Journal, University of California, Hastings College of the Law; Student Director,
General Assistance Advocacy Project, University of California, Hastings College of the Law



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Mark T. Millkey | Partner
Mark Millkey is a partner in the Firm’s Melville office. He has significant experience in the areas of
securities and consumer litigation, as well as in federal and state court appeals.

During his career, Millkey has worked on a major consumer litigation against MetLife that resulted in a
benefit to the class of approximately $1.7 billion, as well as a securities class action against Royal
Dutch/Shell that settled for a minimum cash benefit to the class of $130 million and a contingent value of
more than $180 million. Since joining Robbins Geller, he has worked on securities class actions that have
resulted in approximately $300 million in settlements.


Education
B.A., Yale University, 1981; M.A., University of Virginia, 1983; J.D., University of Virginia, 1987

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2013-2019



David W. Mitchell | Partner
David Mitchell is a partner in the Firm’s San Diego office and focuses his practice on antitrust and
securities fraud litigation. He is a former federal prosecutor who has tried nearly 20 jury trials. As head of
the Firm’s Antitrust and Competition Law Practice Group, he has served as lead or co-lead counsel in
numerous cases and has helped achieve substantial settlements for shareholders. His most notable
antitrust cases include Dahl v. Bain Capital Partners, LLC, obtaining more than $590 million for
shareholders, and In re Payment Card Interchange Fee and Merchant Discount Antitrust Litig., in which a
settlement of $5.5 billion was approved in the Eastern District of New York. This case was brought on
behalf of millions of U.S. merchants against Visa and MasterCard and various card-issuing banks,
challenging the way these companies set and collect tens of billions of dollars annually in merchant fees.
The settlement is believed to be the largest antitrust class action settlement of all time.

Additionally, Mitchell served as co-lead counsel in the ISDAfix Benchmark action against 14 major banks
and broker ICAP plc, obtaining $504.5 million for plaintiffs. Currently, Mitchell serves as court-
appointed lead counsel in In re Aluminum Warehousing Antitrust Litig., City of Providence, Rhode Island v.
BATS Global Markets Inc., In re SSA Bonds Antitrust Litig., In re Remicade Antitrust Litig., and In re 1-800
Contacts Antitrust Litig.


Education
B.A., University of Richmond, 1995; J.D., University of San Diego School of Law, 1998

Honors / Awards
Member, Enright Inn of Court; Super Lawyer, Super Lawyers Magazine, 2016-2020; Leading Lawyer in
America, Lawdragon, 2020; Southern California Best Lawyer, Best Lawyers®, 2018-2020; Best Lawyer in
America, Best Lawyers®, 2018-2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Honoree,
Outstanding Antitrust Litigation Achievement in Private Law Practice, American Antitrust Institute, 2018;
Antitrust Trailblazer, The National Law Journal, 2015; “Best of the Bar,” San Diego Business Journal, 2014




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Maureen E. Mueller | Partner
Maureen Mueller is a partner in the Firm’s Boca Raton office, where her practice focuses on complex
securities litigation. Mueller has helped recover more than $3 billion for investors. She was a member of
the Firm’s trial team in Jaffe v. Household Int’l, Inc., No. 02-C-05893 (N.D. Ill.), a securities class action that
obtained a record-breaking $1.575 billion settlement after 14 years of litigation, including a six-week jury
trial in 2009 that resulted in a verdict for plaintiffs. She was also a member of the team of attorneys
responsible for recovering a record-breaking $925 million for investors in the UnitedHealth litigation, In re
UnitedHealth Grp. Inc. PSLRA Litig., No. 06-CV-1216 (JMR/FLN) (D. Minn.), and served as co-lead counsel
in In re Wachovia Preferred Securities and Bond/Notes Litig., No. 09 Civ. 6351 (RJS) (S.D.N.Y.), which
recovered $627 million. More recently, Mueller was part of the litigation team that secured a $64 million
recovery for shareholders of Dana Corp. in Plumbers & Pipefitters National Pension Fund v. Burns, No.
3:05-cv-07393-JGC (N.D. Ohio), in which the Firm’s Appellate Practice Group successfully appealed to
the Sixth Circuit Court of Appeals twice, reversing the district court’s dismissal of the action. She was also
a member of the team of attorneys that recovered $13 million in Burges v. BancorpSouth, Inc., No.
3:14-cv-01564 (M.D. Tenn.), and represented investors in Knurr v. Orbital ATK, Inc., No.
1:16-cv-01031-TSE-MSN (E.D. Va.), which recovered $108 million for shareholders and is believed to be
the fourth-largest securities class action settlement in the history of the Eastern District of Virginia.


Education
B.S., Trinity University, 2002; J.D., University of San Diego School of Law, 2007

Honors / Awards
Next Generation Partner, The Legal 500, 2018-2020; Recommended Lawyer, The Legal 500, 2017, 2019;
Top Litigator Under 40, Benchmark Litigation, 2017; Top Women Lawyer, Daily Journal, 2017; Rising
Star, Super Lawyers Magazine, 2015-2017; “Outstanding Young Attorneys,” San Diego Daily Transcript, 2010;
Lead Articles Editor, San Diego Law Review, University of San Diego School of Law




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Danielle S. Myers | Partner
Danielle Myers is a partner in the Firm’s San Diego office and focuses her practice on complex securities
litigation. Myers is one of the partners who oversees the Portfolio Monitoring Program® and provides
legal recommendations to the Firm’s institutional investor clients on their options to maximize recoveries
in securities litigation, both within the United States and internationally, from inception to settlement. In
addition, Myers advises the Firm’s clients in connection with lead plaintiff applications and has secured
appointment of the Firm’s clients as lead plaintiff and the Firm’s appointment as lead counsel in over
140 securities class actions in the past several years which have yielded more than $3 billion for investors,
including 2018-2020 recoveries in In re Valeant Pharm. Int’l, Inc. Sec. Litig., No. 3:15-cv-07658 (D.N.J.)
($1.2 billion pending final approval); In re Am. Realty Capital Props., Inc. Litig., No. 1:15-mc-00040
(S.D.N.Y.) ($1.025 billion); City of Pontiac Gen. Ret. Sys. v. Wal-Mart Stores, Inc., No. 5:12-cv-5162 (W.D.
Ark.) ($160 million); Evellard v. LendingClub Corp., No. 3:16-cv-02627 (N.D. Cal.) ($125 million); Knurr v.
Orbital ATK, Inc., No. 1:16-cv-01031 (E.D. Va.) ($108 million); and Marcus v. J.C. Penney Co., Inc., No.
6:13-cv-00736 (E.D. Tex.) ($97.5 million). Myers is also a frequent lecturer on securities fraud and
corporate governance reform at conferences and events around the world.


Education
B.A., University of California at San Diego, 1997; J.D., University of San Diego, 2008

Honors / Awards
Leading Lawyer, The Legal 500, 2020; Future Star, Benchmark Litigation, 2019-2020; Next Generation
Lawyer, The Legal 500, 2017-2019; Recommended Lawyer, The Legal 500, 2019; Rising Star, Super Lawyers
Magazine, 2015-2018; One of the “Five Associates to Watch in 2012,” Daily Journal; Member, San Diego Law
Review; CALI Excellence Award in Statutory Interpretation



Eric I. Niehaus | Partner
Eric Niehaus is a partner in the Firm’s San Diego office, where his practice focuses on complex securities
and derivative litigation. His efforts have resulted in numerous multi-million dollar recoveries to
shareholders and extensive corporate governance changes. Recent examples include: In re NYSE
Specialists Sec. Litig. (S.D.N.Y.); In re Novatel Wireless Sec. Litig. (S.D. Cal.); Batwin v. Occam Networks, Inc.
(C.D. Cal.); Commc’ns Workers of Am. Plan for Emps.’ Pensions and Death Benefits v. CSK Auto Corp. (D. Ariz.);
Marie Raymond Revocable Tr. v. Mat Five (Del. Ch.); and Kelleher v. ADVO, Inc. (D. Conn.). Niehaus is
currently prosecuting cases against several financial institutions arising from their role in the collapse of
the mortgage-backed securities market. Before joining the Firm, Niehaus worked as a Market Maker on
the American Stock Exchange in New York and the Pacific Stock Exchange in San Francisco.


Education
B.S., University of Southern California, 1999; J.D., California Western School of Law, 2005

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2016; J.D., Cum Laude, California Western School of Law, 2005;
Member, California Western Law Review




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Brian O. O'Mara | Partner
Brian O’Mara is a partner in the Firm’s San Diego office. His practice focuses on complex securities and
antitrust litigation. Since 2003, O’Mara has served as lead or co-lead counsel in numerous shareholder
and antitrust actions, including: Bennett v. Sprint Nextel Corp. (D. Kan.) ($131 million recovery); In re CIT
Grp. Inc. Sec. Litig. (S.D.N.Y.) ($75 million recovery); In re MGM Mirage Sec. Litig. (D. Nev.) ($75 million
recovery); C.D.T.S. No. 1 v. UBS AG (S.D.N.Y.); In re Aluminum Warehousing Antitrust Litig. (S.D.N.Y.); and
Alaska Elec. Pension Fund v. Bank of Am. Corp. (S.D.N.Y.). Most recently, O’Mara served as class counsel in
the ISDAfix Benchmark action against 14 major banks and broker ICAP plc, obtaining $504.5 million for
plaintiffs.

O’Mara has been responsible for a number of significant rulings, including: Alaska Elec. Pension Fund v.
Bank of Am. Corp., 175 F. Supp. 3d 44 (S.D.N.Y. 2016); Bennett v. Sprint Nextel Corp., 298 F.R.D. 498 (D.
Kan. 2014); In re MGM Mirage Sec. Litig., 2013 U.S. Dist. LEXIS 139356 (D. Nev. 2013); In re Constar Int’l,
Inc. Sec. Litig., 2008 U.S. Dist. LEXIS 16966 (E.D. Pa. 2008), aff’d, 585 F.3d 774 (3d Cir. 2009); In re Direct
Gen. Corp. Sec. Litig., 2006 U.S. Dist. LEXIS 56128 (M.D. Tenn. 2006); and In re Dura Pharm., Inc. Sec.
Litig., 452 F. Supp. 2d 1005 (S.D. Cal. 2006). Prior to joining the Firm, he served as law clerk to the
Honorable Jerome M. Polaha of the Second Judicial District Court of the State of Nevada.


Education
B.A., University of Kansas, 1997; J.D., DePaul University, College of Law, 2002

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2016-2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019;
Outstanding Antitrust Litigation Achievement in Private Law Practice, American Antitrust Institute, 2018;
CALI Excellence Award in Securities Regulation, DePaul University, College of Law




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Lucas F. Olts | Partner
Luke Olts is a partner in the Firm’s San Diego office, where his practice focuses on securities litigation on
behalf of individual and institutional investors. Olts has recently focused on litigation related to
residential mortgage-backed securities, and has served as lead counsel or co-lead counsel in some of the
largest recoveries arising from the collapse of the mortgage market. For example, he was a member of the
team that recovered $388 million for investors in J.P. Morgan residential mortgage-backed securities in
Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., and a member of the litigation team responsible for
securing a $272 million settlement on behalf of mortgage-backed securities investors in NECA-IBEW
Health & Welfare Fund v. Goldman Sachs & Co. Olts also served as co-lead counsel in In re Wachovia
Preferred Sec. & Bond/Notes Litig., which recovered $627 million under the Securities Act of 1933. He also
served as lead counsel in Siracusano v. Matrixx Initiatives, Inc., in which the U.S. Supreme Court
unanimously affirmed the decision of the Ninth Circuit that plaintiffs stated a claim for securities fraud
under §10(b) of the Securities Exchange Act of 1934 and SEC Rule 10b-5. Before joining the Firm, Olts
served as a Deputy District Attorney for the County of Sacramento, where he tried numerous cases to
verdict, including crimes of domestic violence, child abuse, and sexual assault.


Education
B.A., University of California, Santa Barbara, 2001; J.D., University of San Diego School of Law, 2004

Honors / Awards
Future Star, Benchmark Litigation, 2018-2020; Next Generation Lawyer, The Legal 500, 2017; Top Litigator
Under 40, Benchmark Litigation, 2017; Under 40 Hotlist, Benchmark Litigation, 2016



Steven W. Pepich | Partner
Steve Pepich is a partner in the Firm’s San Diego office. His practice has focused primarily on securities
class action litigation, but has also included a wide variety of complex civil cases, including representing
plaintiffs in mass tort, royalty, civil rights, human rights, ERISA, and employment law actions. Pepich has
participated in the successful prosecution of numerous securities class actions, including: Carpenters Health
& Welfare Fund v. Coca-Cola Co. ($137.5 million recovery); In re Fleming Cos. Inc. Sec. & Derivative
Litig. ($95 million recovered); In re Boeing Sec. Litig.($92 million recovery); In re Louisiana-Pacific Corp. Sec.
Litig. ($65 million recovery); Haw. Structural Ironworkers Pension Trust Fund v. Calpine Corp. ($43 million
recovery); In re Advanced Micro Devices Sec. Litig. ($34 million recovery); and Gohler v. Wood, ($17.2 million
recovery). Pepich was a member of the plaintiffs’ trial team in Mynaf v. Taco Bell Corp., which settled after
two months of trial on terms favorable to two plaintiff classes of restaurant workers for recovery of unpaid
wages. He was also a member of the plaintiffs’ trial team in Newman v. Stringfellow where, after a nine-
month trial in Riverside, California, all claims for exposure to toxic chemicals were ultimately resolved for
$109 million.


Education
B.S., Utah State University, 1980; J.D., DePaul University, 1983




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Daniel J. Pfefferbaum | Partner
Daniel Pfefferbaum is a partner in the Firm’s San Francisco office, where his practice focuses on complex
securities litigation. He has been a member of litigation teams that have recovered more than $100
million for investors, including: Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc. ($65 million recovery); In
re PMI Grp., Inc. Sec. Litig. ($31.25 million recovery); Cunha v. Hansen Natural Corp. ($16.25 million
recovery); In re Accuray Inc. Sec. Litig. ($13.5 million recovery); and Twinde v. Threshold Pharm., Inc. ($10
million recovery). Pfefferbaum was a member of the litigation team that secured a historic recovery on
behalf of Trump University students in two class actions against President Donald J. Trump. The
settlement provides $25 million to approximately 7,000 consumers. This result means individual class
members are eligible for upwards of $35,000 in restitution. He represented the class on a pro bono basis.


Education
B.A., Pomona College, 2002; J.D., University of San Francisco School of Law, 2006; LL.M. in Taxation,
New York University School of Law, 2007

Honors / Awards
Future Star, Benchmark Litigation, 2018-2020; 40 & Under Hot List, Benchmark Litigation, 2016-2019; Top
40 Under 40, Daily Journal, 2017; Rising Star, Super Lawyers Magazine, 2013-2017




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Theodore J. Pintar | Partner
Ted Pintar is a partner in the Firm’s San Diego office. Pintar has over 20 years of experience prosecuting
securities fraud actions and derivative actions and over 15 years of experience prosecuting insurance-
related consumer class actions, with recoveries in excess of $1 billion. He was part of the litigation team in
the AOL Time Warner state and federal court securities opt-out actions, which arose from the 2001
merger of America Online and Time Warner. These cases resulted in a global settlement of $618 million.
Pintar was also on the trial team in Knapp v. Gomez, which resulted in a plaintiff’s verdict. Pintar has
successfully prosecuted several RICO cases involving the deceptive sale of deferred annuities, including
cases against Allianz Life Insurance Company of North America ($250 million), American Equity
Investment Life Insurance Company ($129 million), Midland National Life Insurance Company ($80
million), and Fidelity & Guarantee Life Insurance Company ($53 million). He has participated in the
successful prosecution of numerous other insurance and consumer class actions, including: (i) actions
against major life insurance companies such as Manufacturer’s Life ($555 million initial estimated
settlement value) and Principal Mutual Life Insurance Company ($380+ million), involving the deceptive
sale of life insurance; (ii) actions against major homeowners insurance companies such as Allstate ($50
million) and Prudential Property and Casualty Co. ($7 million); (iii) actions against automobile insurance
companies such as the Auto Club and GEICO; and (iv) actions against Columbia House ($55 million) and
BMG Direct, direct marketers of CDs and cassettes. Additionally, Pintar has served as a panelist for
numerous Continuing Legal Education seminars on federal and state court practice and procedure.


Education
B.A., University of California, Berkeley, 1984; J.D., University of Utah College of Law, 1987

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2013-2020;
Super Lawyer, Super Lawyers Magazine, 2014-2017; CAOC Consumer Attorney of the Year Award Finalist,
2015; Note and Comment Editor, Journal of Contemporary Law, University of Utah College of Law; Note
and Comment Editor, Journal of Energy Law and Policy, University of Utah College of Law




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Willow E. Radcliffe | Partner
Willow Radcliffe is a partner in the Firm’s San Francisco office and concentrates her practice on securities
class action litigation in federal court. Radcliffe has been significantly involved in the prosecution of
numerous securities fraud claims, including actions filed against Flowserve, NorthWestern, and Ashworth,
and has represented plaintiffs in other complex actions, including a class action against a major bank
regarding the adequacy of disclosures made to consumers in California related to Access Checks. Before
joining the Firm, she clerked for the Honorable Maria-Elena James, Magistrate Judge for the United
States District Court for the Northern District of California.


Education
B.A., University of California, Los Angeles 1994; J.D., Seton Hall University School of Law, 1998

Honors / Awards
Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2020; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019; J.D., Cum Laude, Seton Hall University School of Law, 1998; Most Outstanding
Clinician Award; Constitutional Law Scholar Award



Mark S. Reich | Partner
Mark Reich is a partner in the Firm’s Melville office. Reich focuses his practice on challenging unfair
mergers and acquisitions in courts throughout the country. Reich’s notable cases include: In re Aramark
Corp. S’holders Litig., where he achieved a $222 million increase in consideration paid to shareholders of
Aramark and a substantial reduction to management’s voting power – from 37% to 3.5% – in connection
with the approval of the going-private transaction; In re Delphi Fin. Grp. S’holders Litig., resulting in a $49
million post-merger settlement for Class A Delphi shareholders; and In re TD Banknorth S’holders Litig.,
where Reich played a significant role in raising the inadequacy of the $3 million initial settlement, which
the court rejected as wholly inadequate, and later resulted in a vastly increased $50 million recovery.

Reich has also played a central role in other shareholder-related litigation. His cases include In re Gen.
Elec. Co. ERISA Litig., resulting in structural changes to company’s 401(k) plan valued at over $100
million, benefiting current and future plan participants, and In re Doral Fin. Corp. Sec. Litig., obtaining a
$129 million recovery for shareholders in a securities fraud litigation.


Education
B.A., Queens College, 1997; J.D., Brooklyn Law School, 2000

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2013-2019; Member, The Journal of Law and Policy, Brooklyn Law
School; Member, Moot Court Honor Society, Brooklyn Law School




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Jack Reise | Partner
Jack Reise is a partner in the Firm's Boca Raton office. Devoted to protecting the rights of those who have
been harmed by corporate misconduct, his practice focuses on class action litigation (including securities
fraud, shareholder derivative actions, consumer protection, antitrust, and unfair and deceptive insurance
practices). Reise also dedicates a substantial portion of his practice to representing shareholders in actions
brought under the federal securities laws. He is currently serving as lead counsel in more than a dozen
cases nationwide. Most recently, Reise and a team of Robbins Geller attorneys obtained preliminary
approval of a $1.21 billion settlement in In re Valeant Pharm. Int’l, Inc. Sec. Litig. (D.N.J.), a case that Vanity
Fair reported as “the corporate scandal of its era” that had raised “fundamental questions about the
functioning of our health-care system, the nature of modern markets, and the slippery slope of ethical
rationalizations.” Subject to court approval, this is the largest securities class action settlement against a
pharmaceutical manufacturer and the ninth largest ever. As lead counsel, Reise has also represented
investors in a series of cases involving mutual funds charged with improperly valuating their net assets,
which settled for a total of more than $50 million. Other notable actions include: In re NewPower Holdings,
Inc. Sec. Litig. (S.D.N.Y.) ($41 million settlement); In re Red Hat, Inc. Sec. Litig. (E.D.N.C.) ($20 million
settlement); and In re AFC Enters., Inc. Sec. Litig. (N.D. Ga.) ($17.2 million settlement).


Education
B.A., Binghamton University, 1992; J.D., University of Miami School of Law, 1995

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019; American Jurisprudence Book Award in Contracts;
J.D., Cum Laude, University of Miami School of Law, 1995; University of Miami Inter-American Law Review,
University of Miami School of Law




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Darren J. Robbins | Partner
Darren Robbins is a founding partner of the Firm. Over the last two decades, he has served as lead
counsel in more than 100 securities class actions and has recovered billions of dollars for injured
shareholders. Robbins served as lead counsel in In re Am. Realty Capital Props., Inc. Litig., a case arising out
of ARCP’s manipulative accounting practices, and obtained a $1.025 billion recovery. For five years, he
and the litigation team prosecuted nine different claims for violations of the Securities Exchange Act of
1934 and the Securities Act of 1933, involving seven different stock or debt offerings and two mergers.
The recovery represents the highest percentage of damages of any major PSLRA case prior to trial and
includes the largest personal contributions by individual defendants in history. Robbins has also obtained
significant recoveries in a number of actions arising out of wrongdoing related to the issuance of
residential mortgage-backed securities, including a case against Goldman Sachs ($272 million recovery).
Robbins also served as co-lead counsel in connection with a $627 million recovery for investors in In re
Wachovia Preferred Securities & Bond/Notes Litig., one of the largest credit-crisis settlements involving
Securities Act claims. Robbins also recently served as lead counsel in Schuh v. HCA Holdings, Inc., which
resulted in a $215 million recovery for shareholders.

One of the hallmarks of Robbins’ practice has been his focus on corporate governance reform.
In UnitedHealth, a securities fraud class action arising out of an options backdating scandal, Robbins
represented lead plaintiff CalPERS and was able to obtain the cancellation of more than 3.6 million stock
options held by the company’s former CEO and secure a record $925 million cash recovery for
shareholders. Robbins also negotiated sweeping corporate governance reforms, including the election of
a shareholder-nominated director to the company’s board of directors, a mandatory holding period for
shares acquired via option exercise, and compensation reforms that tied executive pay to performance.
Recently, Robbins led a shareholder derivative action brought by several pension funds on behalf of
Community Health Systems, Inc. The case yielded a $60 million payment to Community Health, as well
as corporate governance reforms that included two shareholder-nominated directors, the creation and
appointment of a Healthcare Law Compliance Coordinator, the implementation of an executive
compensation clawback in the event of a restatement, the establishment of an insider trading controls
committee, and the adoption of a political expenditure disclosure policy.


Education
B.S., University of Southern California, 1990; M.A., University of Southern California, 1990; J.D.,
Vanderbilt Law School, 1993

Honors / Awards
Leading Lawyer, The Legal 500, 2020; Super Lawyer, Super Lawyers Magazine, 2013-2020; Leading Lawyer
in America, Lawdragon, 2006-2007, 2009-2020; Local Litigation Star, Benchmark Litigation, 2013-2018,
2020; Southern California Best Lawyer, Best Lawyers®, 2012-2020; Best Lawyer in America, Best Lawyers®,
2010-2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Recommended Lawyer, The Legal 500,
2011, 2017, 2019; Leading Lawyer, Chambers USA, 2014-2019; Benchmark California Star, Benchmark
Litigation, 2019; State Litigation Star, Benchmark Litigation, 2019; Lawyer of the Year, Best Lawyers®, 2017;
Influential Business Leader, San Diego Business Journal, 2017; Litigator of the Year, Our City San
Diego, 2017; Top 50 Lawyers in San Diego, Super Lawyers Magazine, 2015; One of the Top 100 Lawyers
Shaping the Future, Daily Journal; One of the “Young Litigators 45 and Under,” The American Lawyer;
Attorney of the Year, California Lawyer; Managing Editor, Vanderbilt Journal of Transnational Law,
Vanderbilt Law School




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Robert J. Robbins | Partner
Robert Robbins is a partner in the Firm’s Boca Raton office. He focuses his practice on investigating
securities fraud, initiating securities class actions, and helping institutional and individual shareholders
litigate their claims to recover investment losses caused by fraud. Representing shareholders in all aspects
of class actions brought pursuant to the federal securities laws, Robbins provides counsel in numerous
securities fraud class actions across the country, helping secure significant recoveries for investors. Most
recently, Robbins and a team of Robbins Geller attorneys obtained preliminary approval of a $1.21 billion
settlement in In re Valeant Pharm. Int’l, Inc. Sec. Litig., a case that Vanity Fair reported as “the corporate
scandal of its era” that had raised “fundamental questions about the functioning of our health-care system,
the nature of modern markets, and the slippery slope of ethical rationalizations.” Subject to court
approval, this is the largest securities class action settlement against a pharmaceutical manufacturer and
the ninth largest ever. Robbins has also been a key member of litigation teams responsible for the
successful prosecution of many other securities class actions, including: Hospira ($60 million recovery); 3D
Systems ($50 million); CVS Caremark ($48 million recovery); Baxter International ($42.5 million
recovery); R.H. Donnelley ($25 million recovery); Spiegel ($17.5 million recovery); TECO Energy ($17.35
million recovery); AFC Enterprises ($17.2 million recovery); Accretive Health ($14 million recovery); Lender
Processing Services ($14 million recovery); Imperial Holdings ($12 million recovery); Mannatech ($11.5
million recovery); Newpark Resources ($9.24 million recovery); Gilead Sciences ($8.25 million recovery); TCP
International ($7.175 million recovery); Cryo Cell International ($7 million recovery); Gainsco ($4 million
recovery); and Body Central ($3.425 million recovery).


Education
B.S., University of Florida, 1999; J.D., University of Florida College of Law, 2002

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Rising Star, Super Lawyers Magazine, 2015-2017; J.D.,
High Honors, University of Florida College of Law, 2002; Member, Journal of Law and Public Policy,
University of Florida College of Law; Member, Phi Delta Phi, University of Florida College of Law; Pro
bono certificate, Circuit Court of the Eighth Judicial Circuit of Florida; Order of the Coif




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Henry Rosen | Partner
Henry Rosen is a partner in the Firm’s San Diego office, where he is a member of the Hiring Committee
and the Technology Committee, the latter of which focuses on applications to digitally manage documents
produced during litigation and internally generate research files. He has significant experience
prosecuting every aspect of securities fraud class actions and has obtained more than $1 billion on behalf
of defrauded investors. Prominent cases include In re Cardinal Health, Inc. Sec. Litig., in which Rosen
recovered $600 million for defrauded shareholders. This $600 million settlement is the largest recovery
ever in a securities fraud class action in the Sixth Circuit, and remains one of the largest settlements in the
history of securities fraud litigation. Additional recoveries include: Jones v. Pfizer Inc. ($400 million); In re
First Energy ($89.5 million); In re CIT Grp. Inc. Sec. Litig. ($75 million); Stanley v. Safeskin Corp. ($55
million); In re Storage Tech. Corp. Sec. Litig. ($55 million); and Rasner v. Sturm (FirstWorld Communications)
($25.9 million).


Education
B.A., University of California, San Diego, 1984; J.D., University of Denver, 1988

Honors / Awards
Editor-in-Chief, University of Denver Law Review, University of Denver




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David A. Rosenfeld | Partner
David Rosenfeld is a partner in the Firm’s Melville office. He has focused his practice of law for more
than 15 years in the areas of securities litigation and corporate takeover litigation. He has been appointed
as lead counsel in dozens of securities fraud lawsuits and has successfully recovered hundreds of millions
of dollars for defrauded shareholders. Rosenfeld works on all stages of litigation, including drafting
pleadings, arguing motions, and negotiating settlements. Most recently, he was on the team of Robbins
Geller attorneys who obtained a $34.5 million recovery in Patel v. L-3 Communications Holdings, Inc., which
represents a high percentage of damages that plaintiffs could reasonably expect to be recovered at trial
and is more than eight times higher than the average settlement of cases with comparable investor losses.

Additionally, Rosenfeld led the Robbins Geller team in recovering in excess of $34 million for investors in
Overseas Shipholding Group, which represented an outsized recovery of 93% of bond purchasers’
damages and 28% of stock purchasers’ damages. The creatively structured settlement included more
than $15 million paid by a bankrupt entity. Rosenfeld also led the effort that resulted in the recovery of
nearly 90% of losses for investors in Austin Capital, a sub-feeder fund of Bernard Madoff. In connection
with this lawsuit, Rosenfeld met with and interviewed Madoff in federal prison. Rosenfeld has also
achieved remarkable recoveries against companies in the financial industry. In addition to recovering $70
million for investors in Credit Suisse Group, and having been appointed lead counsel in the securities
fraud lawsuit against First BanCorp (which provided shareholders with a $74.25 million recovery), he
recently settled claims against Barclays for $14 million, or 20% of investors’ damages, for statements made
about its LIBOR practices.


Education
B.S., Yeshiva University, 1996; J.D., Benjamin N. Cardozo School of Law, 1999

Honors / Awards
Advisory Board Member of Stafford’s Securities Class Action Reporter; Future Star, Benchmark Litigation,
2016-2020; Super Lawyer, Super Lawyers Magazine, 2014-2019; Recommended Lawyer, The Legal 500,
2018; Rising Star, Super Lawyers Magazine, 2011-2013




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Robert M. Rothman | Partner
Robert Rothman is a partner in Robbins Geller Rudman & Dowd LLP’s Melville office and a member of
the Firm’s Management Committee. He has recovered well in excess of $1 billion on behalf of victims of
investment fraud, consumer fraud, and antitrust violations.

Recently, Rothman served as lead counsel in In re Am. Realty Capital Props., Inc. Litig. where he obtained a
$1.025 billion cash recovery on behalf of investors. Rothman and the litigation team prosecuted nine
different claims for violations of the Securities Exchange Act of 1934 and the Securities Act of 1933,
involving seven different stock or debt offerings and two mergers. The recovery represents the highest
percentage of damages ever obtained in a major PSLRA case before trial and includes the largest personal
contributions by individual defendants in history. Additionally, Rothman has recovered hundreds of
millions of dollars for investors in cases against First Bancorp, Doral Financial, Popular, iStar, Autoliv,
CVS Caremark, Fresh Pet, The Great Atlantic & Pacific Tea Company (A&P), NBTY, Spiegel, American
Superconductor, Iconix Brand Group, Black Box, OSI Pharmaceuticals, Gravity, Caminus, Central
European Distribution Corp., OneMain Holdings, The Children’s Place, CNinsure, Covisint, FleetBoston
Financial, Interstate Bakeries, Hibernia Foods, Jakks Pacific, Jarden, Portal Software, Ply Gem Holdings,
Orion Energy, Tommy Hilfiger, TD Banknorth, Teletech, Unitek, Vicuron, Xerium, W Holding, and
dozens of others.

Rothman also represents shareholders in connection with going-private transactions and tender offers.
For example, in connection with a tender offer made by Citigroup, Rothman secured an increase of more
than $38 million over what was originally offered to shareholders. He also actively litigates consumer
fraud cases, including a case alleging false advertising where the defendant agreed to a settlement valued
in excess of $67 million.


Education
B.A., State University of New York at Binghamton, 1990; J.D., Hofstra University School of Law, 1993

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2011, 2013-2019; Dean’s Academic Scholarship Award, Hofstra
University School of Law; J.D., with Distinction, Hofstra University School of Law, 1993; Member, Hofstra
Law Review, Hofstra University School of Law




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Samuel H. Rudman | Partner
Sam Rudman is a founding member of the Firm, a member of the Firm’s Executive and Management
Committees, and manages the Firm’s New York offices. His 26-year securities practice focuses on
recognizing and investigating securities fraud, and initiating securities and shareholder class actions to
vindicate shareholder rights and recover shareholder losses. A former attorney with the SEC, Rudman
has recovered hundreds of millions of dollars for shareholders, including a $200 million recovery in
Motorola, a $129 million recovery in Doral Financial, an $85 million recovery in Blackstone, a $74 million
recovery in First BanCorp, a $65 million recovery in Forest Labs, a $50 million recovery in TD Banknorth, a
$48 million recovery in CVS Caremark, and a $34.5 million recovery in L-3 Communications Holdings.


Education
B.A., Binghamton University, 1989; J.D., Brooklyn Law School, 1992

Honors / Awards
Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2020; Leading Lawyer in America, Lawdragon,
2016-2020; National Practice Area Star, Benchmark Litigation, 2019-2020; Local Litigation Star, Benchmark
Litigation, 2013-2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Recommended Lawyer, The
Legal 500, 2018-2019; Leading Lawyer, Chambers USA, 2014-2019; Litigation Star, Benchmark Litigation,
2013, 2017-2019; Super Lawyer, Super Lawyers Magazine, 2007-2019; Dean’s Merit Scholar, Brooklyn Law
School; Moot Court Honor Society, Brooklyn Law School; Member, Brooklyn Journal of International Law,
Brooklyn Law School




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Joseph Russello | Partner
Joseph Russello is a partner in the Firm’s Melville office. He principally prosecutes violations of the
federal securities laws and breaches of fiduciary duty on behalf of individual and institutional investors.
During his tenure at the Firm, Russello has achieved significant results in complex and challenging cases.

Currently, Russello is leading the Firm’s efforts in litigating securities claims against several companies in
the Commercial Division of the New York State Supreme Court, New York County, in the wake of the
U.S. Supreme Court’s decision in Cyan, Inc. v. Beaver Cty. Emps.’ Ret. Fund, _ U.S. _, 138 S. Ct. 1061 (2018),
which confirmed that state courts have concurrent jurisdiction of claims under the Securities Act of 1933.
He is also prosecuting federal securities fraud cases against Telefonaktiebolaget LM Ericsson (known as
Ericsson) and former executives and directors of Allied Nevada Gold Corporation, the latter of which was
the subject of a favorable decision from the Ninth Circuit Court of Appeals reversing dismissal and
reinstating the claims in their entirety (In re Allied Nev. Gold Corp. Sec. Litig., 743 F. App’x 887 (9th Cir.
2018) (summary order)).

Recently, Russello led the team responsible for recovering $50 million in litigation against BHP Billiton,
an Australian-based mining company accused of failing to disclose significant safety problems at the
Fundão iron-ore dam, in Brazil. Together with Brazilian mining company Vale S.A., BHP owned
Samarco Mineração S.A., which operated the mining complex at which the Fundão dam was located. On
November 5, 2015, the dam collapsed and unleashed a torrent of mining waste, resulting in the death of
19 people, the destruction of the town of Bento Rodrigues, and the decimation of the surrounding
environment. Even today, this event is regarded as the worst environmental disaster in Brazil’s history.
Russello and a team from Robbins Geller represented two institutional investors and an individual in
defeating BHP’s motion to dismiss (In re BHP Billiton Ltd. Sec. Litig., 276 F. Supp. 3d 65 (S.D.N.Y. 2017)),
and prosecuted and ultimately resolved the case on behalf of two sets of purchasers of American
Depositary Shares (ADSs) trading on the New York Stock Exchange.


Education
B.A., Gettysburg College, 1998; J.D., Hofstra University School of Law, 2001

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Super Lawyer, Super Lawyers Magazine,
2014-2019; Law360 Securities Editorial Advisory Board, 2017




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Scott H. Saham | Partner
Scott Saham is a partner in the Firm’s San Diego office, where his practice focuses on complex securities
litigation. He is licensed to practice law in both California and Michigan. Most recently, Saham was a
member of the litigation team that obtained a $125 million settlement in In re LendingClub Sec. Litig., a
settlement that ranks among the top ten largest securities recoveries ever in the Northern District of
California. He was also part of the litigation teams in Schuh v. HCA Holdings, Inc., which resulted in a
$215 million recovery for shareholders, the largest securities class action recovery ever in Tennessee,
and Luna v. Marvell Tech. Grp., Ltd., which resulted in a $72.5 million settlement that represents
approximately 24% to 50% of the best estimate of classwide damages suffered by investors. He also served
as lead counsel prosecuting the Pharmacia securities litigation in the District of New Jersey, which resulted
in a $164 million recovery. Additionally, Saham was lead counsel in the In re Coca-Cola Sec. Litig. in the
Northern District of Georgia, which resulted in a $137.5 million recovery after nearly eight years of
litigation. He also obtained reversal from the California Court of Appeal of the trial court’s initial
dismissal of the landmark Countrywide mortgage-backed securities action. This decision is reported
as Luther v. Countrywide Fin. Corp., 195 Cal. App. 4th 789 (2011), and following this ruling that revived the
action the case settled for $500 million.


Education
B.A., University of Michigan, 1992; J.D., University of Michigan Law School, 1995

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019




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Jessica T. Shinnefield | Partner
Jessica Shinnefield is a partner in the Firm’s San Diego office. Currently, her practice focuses on
initiating, investigating, and prosecuting securities fraud class actions. Shinnefield served as lead counsel
in In re Am. Realty Capital Props., Inc. Litig., a case arising out of ARCP’s manipulative accounting practices,
and obtained a $1.025 billion recovery. For five years, she and the litigation team prosecuted nine
different claims for violations of the Securities Exchange Act of 1934 and the Securities Act of 1933,
involving seven different stock or debt offerings and two mergers. The recovery represents the highest
percentage of damages of any major PSLRA case prior to trial and includes the largest personal
contributions by individual defendants in history. Shinnefield also served as lead counsel in Smilovits v.
First Solar, Inc., and obtained a $350 million settlement on the eve of trial. The settlement is fifth-largest
PSLRA settlement ever recovered in the Ninth Circuit.

Shinnefield was also a member of the litigation team prosecuting actions against investment banks and
leading national credit rating agencies for their roles in structuring and rating structured investment
vehicles backed by toxic assets in Abu Dhabi Commercial Bank v. Morgan Stanley & Co. Incorporated and King
County, Washington v. IKB Deutsche Industriebank AG. These cases were among the first to successfully allege
fraud against the rating agencies, whose ratings have traditionally been protected by the First
Amendment. Shinnefield also litigated individual opt-out actions against AOL Time Warner – Regents of
the Univ. of Cal. v. Parsons and Ohio Pub. Emps. Ret. Sys. v. Parsons (recovery more than $600 million).
Additionally, she litigated an action against Omnicare, in which she helped obtain a favorable ruling for
plaintiffs from the United States Supreme Court. Shinnefield has also successfully appealed lower court
decisions in the Second, Seventh, and Ninth Circuit Courts of Appeals.


Education
B.A., University of California at Santa Barbara, 2001; J.D., University of San Diego School of Law, 2004

Honors / Awards
Litigator of the Week, The American Lawyer, 2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019;
Rising Star, Super Lawyers Magazine, 2015-2019; 40 & Under Hot List, Benchmark Litigation, 2018-2019;
B.A., Phi Beta Kappa, University of California at Santa Barbara, 2001




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Elizabeth A. Shonson | Partner
Elizabeth Shonson is a partner in the Firm’s Boca Raton office. She concentrates her practice on
representing investors in class actions brought pursuant to the federal securities laws. Shonson has
litigated numerous securities fraud class actions nationwide, helping achieve significant recoveries for
aggrieved investors. She was a member of the litigation teams responsible for recouping millions of
dollars for defrauded investors, including: In re Massey Energy Co. Sec. Litig. (S.D. W.Va.) ($265 million);
Nieman v. Duke Energy Corp. (W.D.N.C.) ($146.25 million recovery); Eshe Fund v. Fifth Third Bancorp (S.D.
Ohio) ($16 million); City of St. Clair Shores Gen. Emps. Ret. Sys. v. Lender Processing Servs., Inc. (M.D. Fla.)
($14 million); and In re Synovus Fin. Corp. (N.D. Ga.) ($11.75 million).


Education
B.A., Syracuse University, 2001; J.D., University of Florida Levin College of Law, 2005

Honors / Awards
Rising Star, Super Lawyers Magazine, 2016-2019; J.D., Cum Laude, University of Florida Levin College of
Law, 2005; Editor-in-Chief, Journal of Technology Law & Policy; Phi Delta Phi; B.A., with Honors, Summa
Cum Laude, Syracuse University, 2001; Phi Beta Kappa



Trig Smith | Partner
Trig Smith is a partner in the Firm’s San Diego office where he focuses his practice on complex securities
litigation. He has been involved in the prosecution of numerous securities class actions that have resulted
in over a billion dollars in recoveries for investors. His cases have included: In re Cardinal Health, Inc. Sec.
Litig. ($600 million recovery); Jones v. Pfizer Inc. ($400 million recovery); Silverman v. Motorola, Inc. ($200
million recovery); and City of Livonia Emps.’ Ret. Sys. v. Wyeth ($67.5 million). Most recently, he was a
member of the Firm’s trial team in Hsu v. Puma Biotechnology, Inc., a securities fraud class action that
resulted in a verdict in favor of investors after a two-week jury trial.


Education
B.S., University of Colorado, Denver, 1995; M.S., University of Colorado, Denver, 1997; J.D., Brooklyn
Law School, 2000

Honors / Awards
Member, Brooklyn Journal of International Law, Brooklyn Law School; CALI Excellence Award in Legal
Writing, Brooklyn Law School




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Mark Solomon | Partner
Mark Solomon is a founding partner in the Firm’s San Diego office and leads its international litigation
practice. Over the last 27 years, he has regularly represented United States- and United Kingdom-based
pension funds and asset managers in class and non-class securities litigation in federal and state courts
throughout the United States. He has been admitted to the Bars of England and Wales (Barrister), Ohio,
and California, but now practices exclusively in California, as well as in various United States federal
district and appellate courts.

Solomon has spearheaded the prosecution of many significant securities fraud cases. He has obtained
multi-hundred million dollar recoveries for plaintiffs in pre-trial settlements and significant corporate
governance reforms designed to limit recidivism and promote appropriate standards. He litigated,
through the rare event of trial, the securities class action against Helionetics Inc. and its executives, where
he won a $15.4 million federal jury verdict. Prior to the most recent financial crisis, he was instrumental
in obtaining some of the first mega-recoveries in the field in California and Texas, serving as co-lead
counsel in In re Informix Corp. Sec. Litig. (N.D. Cal.) and recovering $131 million for Informix investors;
and serving as co-lead counsel in Schwartz v. TXU Corp. (N.D. Tex.), where he helped obtain a recovery of
over $149 million for a class of purchasers of TXU securities. Solomon is currently counsel to a number
of pension funds serving as lead plaintiffs in cases throughout the United States. For instance, Solomon
represented the Norfolk County Council, as Administering Authority of the Norfolk Pension Fund, in Hsu
v. Puma Biotechnology, Inc. where, after three weeks of trial, the Fund obtained a jury verdict in favor of the
class against the company and its CEO. He also represented the British Coal Staff Superannuation
Scheme and the Mineworkers’ Pension Scheme in Smilovits v. First Solar, Inc. in which the class recently
recovered $350 million on the eve of trial. The settlement is fifth-largest PSLRA settlement ever
recovered in the Ninth Circuit.


Education
B.A., Trinity College, Cambridge University, England, 1985; L.L.M., Harvard Law School, 1986; Inns of
Court School of Law, Degree of Utter Barrister, England, 1987

Honors / Awards
Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Super Lawyer, Super Lawyers Magazine, 2017-2018;
Recommended Lawyer, The Legal 500, 2016-2017; Lizette Bentwich Law Prize, Trinity College, 1983 and
1984; Hollond Travelling Studentship, 1985; Harvard Law School Fellowship, 1985-1986; Member and
Hardwicke Scholar of the Honourable Society of Lincoln’s Inn




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Jeffrey J. Stein | Partner
Jeffrey Stein is a partner in the Firm’s San Diego office, where he practices securities fraud litigation and
other complex matters. He was a member of the litigation team that secured a historic recovery on behalf
of Trump University students in two class actions against President Donald J. Trump. The settlement
provides $25 million to approximately 7,000 consumers. This result means individual class members are
eligible for upwards of $35,000 in restitution. Stein represented the class on a pro bono basis.

Before joining the Firm, Stein focused on civil rights litigation, with special emphasis on the First, Fourth,
and Eighth Amendments. In this capacity, he helped his clients secure successful outcomes before the
United States Supreme Court and the Ninth Circuit Court of Appeals.


Education
B.S., University of Washington, 2005; J.D., University of San Diego School of Law, 2009



Christopher D. Stewart | Partner
Christopher Stewart is a partner in the Firm’s San Diego office. His practice focuses on complex securities
and shareholder derivative litigation. Stewart served as lead counsel in In re Am. Realty Capital Props., Inc.
Litig., a case arising out of ARCP’s manipulative accounting practices, and obtained a $1.025 billion
recovery. For five years, he and the litigation team prosecuted nine different claims for violations of the
Securities Exchange Act of 1934 and the Securities Act of 1933, involving seven different stock or debt
offerings and two mergers. The recovery represents the highest percentage of damages of any major
PSLRA case prior to trial and includes the largest personal contributions by individual defendants in
history. Most recently, Stewart served as lead counsel in Smilovits v. First Solar, Inc., and obtained a $350
million settlement on the eve of trial. The settlement is fifth-largest PSLRA settlement ever recovered in
the Ninth Circuit.

He was also part of the litigation team that obtained a $67 million settlement in City of Westland Police &
Fire Ret. Sys. v. Stumpf, a shareholder derivative action alleging that Wells Fargo participated in the mass-
processing of home foreclosure documents by engaging in widespread robo-signing.


Education
B.S., Santa Clara University, 2004; M.B.A., University of San Diego School of Business Administration,
2009; J.D., University of San Diego School of Law, 2009

Honors / Awards
Rising Star, Super Lawyers Magazine, 2015-2020; J.D., Magna Cum Laude, Order of the Coif, University of
San Diego School of Law, 2009; Member, San Diego Law Review




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Douglas Wilens | Partner
Douglas Wilens is a partner in the Firm’s Boca Raton office. Wilens is a member of the Firm’s Appellate
Practice Group, participating in numerous appeals in federal and state courts across the country. Most
notably, Wilens handled successful and precedent-setting appeals in Ind. Pub. Ret. Sys. v. SAIC, Inc., 818
F.3d 85 (2d Cir. 2016) (addressing duty to disclose under SEC Regulation Item 303 in §10(b) case), Mass.
Ret. Sys. v. CVS Caremark Corp., 716 F.3d 229 (1st Cir. 2013) (addressing pleading of loss causation
in §10(b) case), and Lormand v. US Unwired, Inc., 565 F.3d 228 (5th Cir. 2009) (addressing pleading of
falsity, scienter, and loss causation in §10(b) case).

Before joining the Firm, Wilens was an associate at a nationally recognized firm, where he litigated
complex actions on behalf of numerous professional sports leagues, including the National Basketball
Association, the National Hockey League, and Major League Soccer. He has also served as an adjunct
professor at Florida Atlantic University and Nova Southeastern University, where he taught
undergraduate and graduate-level business law classes.


Education
B.S., University of Florida, 1992; J.D., University of Florida College of Law, 1995

Honors / Awards
Book Award for Legal Drafting, University of Florida College of Law; J.D., with Honors, University of
Florida College of Law, 1995




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Shawn A. Williams | Partner
Shawn Williams is a founding partner in the Firm’s San Francisco office and a member of the Firm’s
Management Committee. His practice focuses on securities class actions. Williams was among the lead
class counsel for the Firm recovering investor losses in notable cases, including: Chicago Laborers Pension
Fund v. Alibaba Grp. Holding Ltd. ($75 million recovery); In re Krispy Kreme Doughnuts, Inc. Sec. Litig. ($75
million recovery); In re Medtronic, Inc. Sec. Litig. ($43 million recovery); In re Cadence Design Sys., Inc. Sec.
Litig. ($38 million recovery); and City of Sterling Heights Gen. Emps’. Ret. Sys. v. Prudential Fin., Inc. ($33
million recovery). Williams is also among the Firm’s lead attorneys prosecuting shareholder derivative
actions, securing tens of millions of dollars in cash recoveries and negotiating the implementation of
comprehensive corporate governance enhancements, such as: In re McAfee, Inc. Derivative Litig.; In re
Marvell Tech. Grp. Ltd. Derivative Litig.; In re KLA-Tencor Corp. S’holder Derivative Litig.; and The Home Depot,
Inc. Derivative Litig. Before joining the Firm, Williams served for 5 years as an Assistant District Attorney
in the Manhattan District Attorney’s Office, where he tried over 20 cases to New York City juries and led
white-collar fraud grand jury investigations.


Education
B.A., The State of University of New York at Albany, 1991; J.D., University of Illinois, 1995

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2014-2017, 2020; Board Member, Leading Lawyer in
America, Lawdragon, 2018-2020; Leading Plaintiff Financial Lawyer, Lawdragon, 2019; Top 100
Lawyer, Daily Journal, 2019; California Trailblazer, The Recorder, 2019; Titan of the Plaintiffs Bar, Law360,
2019; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2019; California Bar Foundation, 2012-2014



David T. Wissbroecker | Partner
David Wissbroecker is a partner in the Firm’s San Diego and Chicago offices. He focuses his practice on
securities class action litigation in the context of mergers and acquisitions, representing both individual
shareholders and institutional investors. As part of the litigation team at Robbins Geller, Wissbroecker has
helped secure monetary recoveries for shareholders that collectively exceed $1 billion. Wissbroecker has
litigated numerous high-profile cases in Delaware and other jurisdictions, including shareholder class
actions challenging the acquisitions of Dole, Kinder Morgan, Del Monte Foods, Affiliated Computer
Services, Intermix, and Rural Metro. His practice has recently expanded to include numerous proxy
fraud cases in federal court, along with shareholder document demand litigation in Delaware.
Before joining the Firm, Wissbroecker served as a staff attorney for the United States Court of Appeals for
the Seventh Circuit, and then as a law clerk for the Honorable John L. Coffey, Circuit Judge for the
Seventh Circuit.


Education
B.A., Arizona State University, 1998; J.D., University of Illinois College of Law, 2003

Honors / Awards
Recommended Lawyer, The Legal 500, 2019; Rising Star, Super Lawyers Magazine, 2015; J.D., Magna Cum
Laude, University of Illinois College of Law, 2003; B.A., Cum Laude, Arizona State University, 1998




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Christopher M. Wood | Partner
Christopher Wood is a partner in the Firm’s Nashville office, where his practice focuses on complex
securities litigation. He has been a member of litigation teams responsible for recovering hundreds of
millions of dollars for investors, including: In re Massey Energy Co. Sec. Litig. ($265 million recovery); In re
VeriFone Holdings, Inc. Sec. Litig. ($95 million recovery); Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc.
($65 million recovery); In re Micron Tech., Inc. Sec. Litig. ($42 million recovery); and Winslow v.
BancorpSouth, Inc. ($29.5 million recovery).

Wood has provided pro bono legal services through the San Francisco Bar Association’s Volunteer Legal
Services Program, the Ninth Circuit’s Pro Bono Program, Volunteer Lawyers & Professionals for the Arts,
and Tennessee Justice for Our Neighbors.


Education
B.A., Vanderbilt University, 2003; J.D., University of San Francisco School of Law, 2006

Honors / Awards
Rising Star, Super Lawyers Magazine, 2011-2013, 2015-2019




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Debra J. Wyman | Partner
Debra Wyman is a partner in the Firm’s San Diego office. She specializes in securities litigation and has
litigated numerous cases against public companies in state and federal courts that have resulted in over
$1 billion in securities fraud recoveries.

Wyman served as lead counsel in In re Am. Realty Capital Props., Inc. Litig., a case arising out of ARCP’s
manipulative accounting practices, and obtained a $1.025 billion recovery. For five years, she and the
litigation team prosecuted nine different claims for violations of the Securities Exchange Act of 1934 and
the Securities Act of 1933, involving seven different stock or debt offerings and two mergers. The
recovery represents the highest percentage of damages of any major PSLRA case prior to trial and
includes the largest personal contributions by individual defendants in history.

Wyman was a member of the trial team in Schuh v. HCA Holdings, Inc., which resulted in a $215 million
recovery for shareholders, the largest securities class action recovery ever in Tennessee. The recovery
achieved represents more than 30% of the aggregate classwide damages, far exceeding the typical
recovery in a securities class action. Wyman prosecuted the complex securities and accounting fraud case
In re HealthSouth Corp. Sec. Litig., one of the largest and longest-running corporate frauds in history, in
which $671 million was recovered for defrauded HealthSouth investors. She was also part of the trial
team that litigated In re AT&T Corp. Sec. Litig., which was tried in the United States District Court, District
of New Jersey, and settled after only two weeks of trial for $100 million. Most recently, Wyman was part
of the litigation team that secured a $64 million recovery for Dana Corp. shareholders in Plumbers &
Pipefitters National Pension Fund v. Burns, in which the Firm’s Appellate Practice Group successfully
appealed to the Sixth Circuit Court of Appeals twice, reversing the district court’s dismissal of the action.


Education
B.A., University of California Irvine, 1990; J.D., University of San Diego School of Law, 1997

Honors / Awards
Leading Lawyer in America, Lawdragon, 2020; Litigator of the Week, The American Lawyer, 2020; Leading
Plaintiff Financial Lawyer, Lawdragon, 2019; Top Women Lawyer, Daily Journal, 2017; Litigator of the
Year, Our City San Diego, 2017; Super Lawyer, Super Lawyers Magazine, 2016-2017




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Laura M. Andracchio | Of Counsel
Laura Andracchio is Of Counsel in the Firm’s San Diego office. Having first joined the Firm in 1997, she
was a Robbins Geller partner for ten years before her role as Of Counsel. As a partner with the Firm,
Andracchio led dozens of securities fraud cases against public companies throughout the country,
recovering hundreds of millions of dollars for injured investors. Her current focus remains securities
fraud litigation under the federal securities laws.

Most recently, Andracchio was a member of the litigation team in City of Pontiac Gen. Emps.’ Ret. Sys. v.
Walmart Stores, Inc. (W.D. Ark.), in which a $160 million recovery for Walmart investors was approved in
2019. She also assisted the litigation team in a case brought against J.P. Morgan Chase & Co., Fort Worth
Emps.’ Ret. Fund v. J.P. Morgan Chase & Co. (S.D.N.Y.), on behalf of investors in residential mortgage-
backed securities, which resulted in a recovery of $388 million in 2017.

Andracchio was also a lead member of the trial team in In re AT&T Corp. Sec. Litig., recovering $100
million for the class after two weeks of trial in district court in New Jersey. Before trial, she managed and
litigated the case, which was pending for four years. She also led the trial team in Brody v. Hellman, a case
against Qwest and former directors of U.S. West seeking an unpaid dividend, recovering $50 million for
the class, which was largely comprised of U.S. West retirees. Other cases Andracchio has litigated
include: City of Hialeah Emps.’ Ret. Sys. v. Toll Bros., Inc.; Ross v. Abercrombie & Fitch Co.; In re GMH Cmtys.
Tr. Sec. Litig.; In re Vicuron Pharm., Inc. Sec. Litig.; and In re Navarre Corp. Sec. Litig.


Education
B.A., Bucknell University, 1986; J.D., Duquesne University School of Law, 1989

Honors / Awards
Order of the Barristers, J.D., with honors, Duquesne University School of Law, 1989




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Randi D. Bandman | Of Counsel
Randi Bandman is Of Counsel in the Firm’s Boca Raton office. Throughout her career, she has
represented and advised hundreds of clients, including pension funds, managers, banks, and hedge
funds, such as the Directors Guild of America, Screen Actors Guild, Writers Guild of America, and
Teamster funds. Bandman’s cases have yielded billions of dollars of recoveries. Notable cases include the
AOL Time Warner, Inc. merger ($629 million), In re Enron Corp. Sec. Litig. ($7.2 billion), Private Equity
litigation (Dahl v. Bain Capital Partners, LLC) ($590.5 million), and In re WorldCom Sec. Litig. ($657 million).

Bandman is currently representing plaintiffs in the Foreign Exchange Litigation pending in the Southern
District of New York which alleges collusive conduct by the world’s largest banks to fix prices in the $5.3
trillion a day foreign exchange market and in which billions of dollars have been recovered to date for
injured plaintiffs. Bandman is part of the Robbins Geller Co-Lead Counsel team representing the class in
the “High Frequency Trading” case, which accuses stock exchanges of giving unfair advantages to high-
speed traders versus all other investors, resulting in billions of dollars being diverted. Bandman is also
currently a member of the trial team in In re Facebook Biometric Information Privacy Litig., concerning
Facebook’s alleged privacy violations through its collection of user’s biometric identifiers without
informed consent. Bandman was instrumental in the landmark state settlement with the tobacco
companies for $12.5 billion. Bandman also led an investigation with congressional representatives on
behalf of artists into allegations of “pay for play” tactics, represented Emmy winning writers with respect to
their claims involving a long-running television series, represented a Hall of Fame sports figure, and
negotiated agreements in connection with a major motion picture. Recently, Bandman was chosen to
serve on the Law Firm Advisory Board of the Association of Media & Entertainment Counsel, an
organization made up of thousands of attorneys from studios, networks, guilds, talent agencies, and top
media companies, dealing with protecting content distributed through a variety of formats worldwide.


Education
B.A., University of California, Los Angeles; J.D., University of Southern California




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Lea Malani Bays | Of Counsel
Lea Malani Bays is Of Counsel in the Firm’s San Diego office. She focuses on e-discovery issues, from
preservation through production, and provides counsel to the Firm’s multi-disciplinary e-discovery team
consisting of attorneys, forensic analysts, and database professionals. Through her role as counsel to the e-
discovery team, Bays is very familiar with the various stages of e-discovery, including identification of
relevant electronically stored information, data culling, predictive coding protocols, privilege, and
responsiveness reviews, as well as having experience in post-production discovery through trial
preparation. Through speaking at various events, she is also a leader in shaping the broader dialogue on
e-discovery issues.

Bays was recently part of the litigation team that earned the approval of a $131 million settlement in favor
of plaintiffs in Bennett v. Sprint Nextel Corp. The settlement, which resolved claims arising from Sprint
Corporation’s ill-fated merger with Nextel Communications in 2005, represents a significant recovery for
the plaintiff class, achieved after five years of tireless effort by the Firm. Prior to joining Robbins Geller,
Bays was a Litigation Associate at Kaye Scholer LLP’s New York office. She has experience in a wide
range of litigation, including complex securities litigation, commercial contract disputes, business torts,
antitrust, civil fraud, and trust and estate litigation.


Education
B.A., University of California, Santa Cruz, 1997; J.D., New York Law School, 2007

Honors / Awards
Leading Lawyer, Chambers USA, 2019; J.D., Magna Cum Laude, New York Law School, 2007; Executive
Editor, New York Law School Law Review; Legal Aid Society’s Pro Bono Publico Award; NYSBA Empire
State Counsel; Professor Stephen J. Ellmann Clinical Legal Education Prize; John Marshall Harlan
Scholars Program, Justice Action Center




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Mary K. Blasy | Of Counsel
Mary Blasy is Of Counsel to the Firm and is based in the Firm’s Melville and Washington, D.C. offices.
Her practice focuses on the investigation, commencement, and prosecution of securities fraud class
actions and shareholder derivative suits. Blasy has recovered hundreds of millions of dollars for investors
in securities fraud class actions against Reliance Acceptance Corp. ($66 million); Sprint Corp. ($50
million); Titan Corporation ($15+ million); Martha Stewart Omni-Media, Inc. ($30 million); and Coca-
Cola Co. ($137.5 million). Blasy has also been responsible for prosecuting numerous complex
shareholder derivative actions against corporate malefactors to address violations of the nation’s
securities, environmental, and labor laws, obtaining corporate governance enhancements valued by the
market in the billions of dollars.

In 2014, the Presiding Justice of the Appellate Division of the Second Department of the Supreme Court
of the State of New York appointed Blasy to serve as a member of the Independent Judicial Election
Qualification Commission, which until December 2018 reviewed the qualifications of candidates seeking
public election to New York State Supreme Courts in the 10th Judicial District. She also served on the
Law360 Securities Editorial Advisory Board from 2015 to 2016.


Education
B.A., California State University, Sacramento, 1996; J.D., UCLA School of Law, 2000

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2016-2019; Law360 Securities Editorial Advisory Board,
2015-2016; Member, Independent Judicial Election Qualification Commission, 2014-2018




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William K. Cavanagh, Jr. | Of Counsel
Bill Cavanagh is Of Counsel in the Firm’s Washington, D.C. office. Cavanagh concentrates his practice in
employee benefits law and works with the Firm’s Institutional Outreach Team. Prior to joining Robbins
Geller, Cavanagh was employed by Ullico for the past nine years, most recently as President of Ullico
Casualty Group. The Ullico Casualty Group is the leading provider of fiduciary liability insurance for
trustees in both the private as well as the public sector. Prior to that he was President of the Ullico
Investment Company.

Preceding Cavanagh’s time at Ullico, he was a partner at the labor and employee benefits firm Cavanagh
and O’Hara in Springfield, Illinois for 28 years. In that capacity, Cavanagh represented public pension
funds, jointly trusteed Taft-Hartley, health, welfare, pension, and joint apprenticeship funds advising on
fiduciary and compliance issues both at the Board level as well as in administrative hearings, federal
district courts, and the United States Courts of Appeals. During the course of his practice, Cavanagh had
extensive trial experience in state and the relevant federal district courts. Additionally, Cavanagh served
as co-counsel on a number of cases representing trustees seeking to recover plan assets lost as a result of
fraud in the marketplace.


Education
B.A., Georgetown University, 1974; J.D., John Marshall Law School, 1978

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell



Christopher Collins | Of Counsel
Christopher Collins is Of Counsel in the Firm’s San Diego office and his practice focuses on antitrust and
consumer protection. Collins served as co-lead counsel in Wholesale Elec. Antitrust Cases I & II, charging an
antitrust conspiracy by wholesale electricity suppliers and traders of electricity in California’s newly
deregulated wholesale electricity market wherein plaintiffs secured a global settlement for California
consumers, businesses, and local governments valued at more than $1.1 billion. He was also involved in
California’s tobacco litigation, which resulted in the $25.5 billion recovery for California and its local
entities. Collins is currently counsel on the California Energy Manipulation antitrust litigation, the
Memberworks upsell litigation, as well as a number of consumer actions alleging false and misleading
advertising and unfair business practices against major corporations. He formerly served as a Deputy
District Attorney for Imperial County where he was in charge of the Domestic Violence Unit.


Education
B.A., Sonoma State University, 1988; J.D., Thomas Jefferson School of Law, 1995




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Patrick J. Coughlin | Of Counsel
Patrick Coughlin is Of Counsel to the Firm and is based in the San Diego office. He has been lead counsel
for several major securities matters, including one of the earliest and largest class action securities cases to
go to trial, In re Apple Computer Sec. Litig., No. C-84-20148 (N.D. Cal.). Most recently, Coughlin was a
member of the Firm’s trial team in Hsu v. Puma Biotechnology, Inc., No. SACV15-0865 (C.D. Cal.), a
securities fraud class action that resulted in a verdict in favor of investors after a two-week jury trial.
Coughlin currently serves as co-lead counsel in In re Payment Card Interchange Fee and Merchant Discount
Antitrust Litig., in which a settlement of $5.5 billion was approved in the Eastern District of New York.
This case was brought on behalf of millions of U.S. merchants against Visa and MasterCard and various
card-issuing banks, challenging the way these companies set and collect tens of billions of dollars annually
in merchant fees. The settlement is believed to be the largest antitrust class action settlement of all time.

Coughlin was one of the lead attorneys who secured a historic $25 million recovery on behalf
of approximately 7,000 Trump University students in two class actions against President Donald J.
Trump, which means individual class members are eligible for upwards of $35,000 in restitution. He
represented the class on a pro bono basis. Additional prominent securities class actions prosecuted by
Coughlin include: the Enron litigation, in which $7.2 billion was recovered; the Qwest litigation, in which a
$445 million recovery was obtained; and the HealthSouth litigation, in which a $671 million recovery was
obtained.


Education
B.S., Santa Clara University, 1977; J.D., Golden Gate University, 1983

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Super Lawyer, Super Lawyers Magazine, 2004-2020; Hall of
Fame, Lawdragon, 2020; Southern California Best Lawyer, Best Lawyers®, 2012-2020; Best Lawyer in
America, Best Lawyers®, 2006-2020; Top Lawyer in San Diego, San Diego Magazine, 2013-2020; Leading
Plaintiff Financial Lawyer, Lawdragon, 2019; Plaintiffs’ Lawyer Trailblazer, The National Law Journal, 2019;
Outstanding Antitrust Litigation Achievement in Private Law Practice, American Antitrust Institute, 2018;
Senior Statesman, Chambers USA, 2014-2018; Antitrust Trailblazer, The National Law Journal, 2015; Top
100 Lawyers, Daily Journal, 2008; Leading Lawyer in America, Lawdragon, 2006, 2008-2009




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Desiree Cummings | Of Counsel
Desiree Cummings is Of Counsel in the Firm’s Manhattan office. Desiree focuses her practice on complex
securities litigation.

Before joining Robbins Geller, Desiree spent several years prosecuting securities fraud as an Assistant
Attorney General with the New York State Office of the Attorney General’s Investor Protection Bureau.
As an Assistant Attorney General, Desiree was instrumental in the office’s investigation and prosecution of
J.P. Morgan and Goldman Sachs in connection with the marketing, sale and issuance of residential
mortgage-backed securities, resulting in recoveries worth over $1.6 billion for the State of New York.
Desiree began her career as a litigator at Paul, Weiss, Rifkind, Wharton & Garrison LLP where she spent
several years representing major financial institutions, a pharmaceutical manufacturer, and public and
private companies in connection with commercial litigations and regulatory investigations.


Education
B.A., Binghamton University, 2001, cum laude; J.D., University of Michigan Law School, 2004



Vicki Multer Diamond | Of Counsel
Vicki Multer Diamond is Of Counsel to the Firm and is based in the Firm’s Melville office. She has over
25 years of experience as an investigator and attorney. Her practice at the Firm focuses on the initiation,
investigation, and prosecution of securities fraud class actions. Diamond played a significant role in the
factual investigations and successful oppositions to the defendants’ motions to dismiss in a number of
cases, including Tableau, One Main, Valeant, and Orbital ATK.

Diamond has served as an investigative consultant to several prominent law firms, corporations, and
investment firms. Before joining the Firm, she was an Assistant District Attorney in Brooklyn, New York,
where she served as a senior Trial Attorney in the Felony Trial Bureau, and was special counsel to the
Special Commissioner of Investigations for the New York City schools, where she investigated and
prosecuted crime and corruption within the New York City school system.


Education
B.A., State University of New York at Binghamton, 1990; J.D., Hofstra University School of Law, 1993

Honors / Awards
Member, Hofstra Property Law Journal, Hofstra University School of Law




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Michael J. Dowd | Of Counsel
Mike Dowd was a founding partner of the Firm. He has practiced in the area of securities litigation for 20
years, prosecuting dozens of complex securities cases and obtaining significant recoveries for investors in
cases such as UnitedHealth ($925 million), WorldCom ($657 million), AOL Time Warner ($629
million), Qwest ($445 million), and Pfizer ($400 million).

Dowd served as lead trial counsel in Jaffe v. Household International in the Northern District of Illinois, a
securities class action that obtained a record-breaking $1.575 billion settlement after 14 years of litigation,
including a six-week jury trial in 2009 that resulted in a verdict for plaintiffs. Dowd also served as the
lead trial lawyer in In re AT&T Corp. Sec. Litig., which was tried in the District of New Jersey and settled
after only two weeks of trial for $100 million. Dowd served as an Assistant United States Attorney in the
Southern District of California from 1987-1991, and again from 1994-1998, where he handled dozens of
jury trials and was awarded the Director's Award for Superior Performance.


Education
B.A., Fordham University, 1981; J.D., University of Michigan School of Law, 1984

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Director’s Award for Superior Performance, United States
Attorney’s Office; Super Lawyer, Super Lawyers Magazine, 2010-2020; Lawyer of the Year, Best Lawyers®,
2020; Southern California Best Lawyer, Best Lawyers®, 2015-2020; Best Lawyer in America, Best Lawyers®,
2015-2020; Top Lawyer in San Diego, San Diego Magazine, 2013-2020; Leading Plaintiff Financial
Lawyer, Lawdragon, 2019; Recommended Lawyer, The Legal 500, 2016-2019; Hall of Fame, Lawdragon,
2018; Litigator of the Year, Our City San Diego, 2017; Leading Lawyer in America, Lawdragon,
2014-2016; Litigator of the Week, The American Lawyer, 2015; Litigation Star, Benchmark Litigation 2013;
Directorship 100, NACD Directorship, 2012; Attorney of the Year, California Lawyer, 2010; Top 100
Lawyers, Daily Journal, 2009; B.A., Magna Cum Laude, Fordham University, 1981



John K. Grant | Of Counsel
John Grant is Of Counsel in the Firm’s San Francisco office where he devotes his practice to representing
investors in securities fraud class actions. Grant has been lead or co-lead counsel in numerous securities
actions and recovered tens of millions of dollars for shareholders. His cases include: In re Micron Tech, Inc.
Sec. Litig. ($42 million recovery); Perera v. Chiron Corp. ($40 million recovery); King v. CBT Grp., PLC ($32
million recovery); and In re Exodus Commc’ns, Inc. Sec. Litig. ($5 million recovery).


Education
B.A., Brigham Young University, 1988; J.D., University of Texas at Austin, 1990




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Mitchell D. Gravo | Of Counsel
Mitchell Gravo is Of Counsel to the Firm and is a member of the Firm’s institutional investor client
services group. With more than 30 years of experience as a practicing attorney, he serves as liaison to the
Firm’s institutional investor clients throughout the United States and Canada, advising them on securities
litigation matters.

Gravo’s clients include Anchorage Economic Development Corporation, Anchorage Convention and
Visitors Bureau, UST Public Affairs, Inc., International Brotherhood of Electrical Workers, Alaska
Seafood International, Distilled Spirits Council of America, RIM Architects, Anchorage Police Department
Employees Association, Fred Meyer, and the Automobile Manufacturer’s Association. Prior to joining the
Firm, he served as an intern with the Municipality of Anchorage, and then served as a law clerk to
Superior Court Judge J. Justin Ripley.


Education
B.A., Ohio State University; J.D., University of San Diego School of Law



Dennis J. Herman | Of Counsel
Dennis Herman is Of Counsel in the Firm’s San Francisco office where he focuses his practice on
securities class actions. He has led or been significantly involved in the prosecution of numerous
securities fraud claims that have resulted in substantial recoveries for investors, including settled actions
against Massey Energy ($265 million), Coca-Cola ($137 million), VeriSign ($78 million), Psychiatric
Solutions, Inc. ($65 million), St. Jude Medical, Inc. ($50 million), NorthWestern ($40 million),
BancorpSouth ($29.5 million), America Service Group ($15 million), Specialty Laboratories ($12 million),
Stellent ($12 million), and Threshold Pharmaceuticals ($10 million).


Education
B.S., Syracuse University, 1982; J.D., Stanford Law School, 1992

Honors / Awards
Northern Californa Best Lawyer, Best Lawyers®, 2018-2020; Best Lawyer in America, Best Lawyers®,
2018-2020; Super Lawyer, Super Lawyers Magazine, 2017-2018; Order of the Coif, Stanford Law School;
Urban A. Sontheimer Award (graduating second in his class), Stanford Law School; Award-winning
Investigative Newspaper Reporter and Editor in California and Connecticut




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Helen J. Hodges | Of Counsel
Helen Hodges is Of Counsel in the Firm’s San Diego office. She specializes in securities fraud litigation.
Hodges has been involved in numerous securities class actions, including: Dynegy, which was settled for
$474 million; Thurber v. Mattel, which was settled for $122 million; Nat’l Health Labs, which was settled for
$64 million; and Knapp v. Gomez, Civ. No. 87-0067-H(M) (S.D. Cal.), in which a plaintiffs’ verdict was
returned in a Rule 10b-5 class action. Additionally, beginning in 2001, Hodges focused on the
prosecution of Enron, where a record $7.2 billion recovery was obtained for investors.


Education
B.S., Oklahoma State University, 1979; J.D., University of Oklahoma, 1983

Honors / Awards
Rated AV by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2013-2019; Super
Lawyer, Super Lawyers Magazine, 2007; Oklahoma State University Foundation Board of Trustees, 2013



David J. Hoffa | Of Counsel
David Hoffa is Of Counsel in the Firm’s Washington D.C. office. He has served as a liaison to over 110
institutional investors in portfolio monitoring, securities litigation, and claims filing matters. His practice
focuses on providing a variety of legal and consulting services to U.S. state and municipal employee
retirement systems and single and multi-employer U.S. Taft-Hartley benefit funds. In addition to serving
as a leader on the Firm’s Israel Institutional Investor Outreach Team, Hoffa also serves as a member of
the Firm’s lead plaintiff advisory team, and advises public and multi-employer pension funds around the
country on issues related to fiduciary responsibility, legislative and regulatory updates, and “best practices”
in the corporate governance of publicly traded companies.

Early in his legal career, Hoffa worked for a law firm based in Birmingham, Michigan, where he appeared
regularly in Michigan state court in litigation pertaining to business, construction, and employment
related matters. Hoffa has also appeared before the Michigan Court of Appeals on several occasions.


Education
B.A., Michigan State University, 1993; J.D., Michigan State University College of Law, 2000




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Andrew W. Hutton | Of Counsel
Drew Hutton is Of Counsel in the Firm’s San Diego and New York offices, responsible for simplifying
cases of complex financial fraud. Hutton has prosecuted a variety of securities actions, achieving high-
profile recoveries and results. Representative cases against corporations and their auditors include In re
AOL Time Warner Sec. Litig. ($2.5 billion) and In re Williams Cos. Sec. Litig. ($311 million). Representative
cases against corporations and their executives include In re Broadcom Sec. Litig. ($150 million) and In re
Clarent Corp. Sec. Litig. (class plaintiff’s 10b-5 jury verdict against former CEO). Hutton is also active in
shareholder derivative litigation, achieving monetary recoveries and governance changes, including In re
Affiliated Computer Servs. Derivative Litig. ($30 million), In re KB Home S’holder Derivative Litig. ($30 million),
and In re KeyCorp Derivative Litig. (modified CEO stock options and governance). Hutton has also litigated
securities cases in bankruptcy court (In re WorldCom, Inc. – $15 million for individual claimant) and a
complex options case before FINRA (eight-figure settlement for individual investor). Hutton is also
experienced in complex, multi-district consumer litigation. Representative nationwide insurance cases
include In re Prudential Sales Practices Litig. ($4 billion), In re Metro. Life Ins. Co. Sales Practices Litig. ($2
billion), and In re Conseco Life Ins. Co. Cost of Ins. Litig. ($200 million). Representative nationwide
consumer lending cases include a $30 million class settlement of Truth-in-Lending claims against
American Express and a $24 million class settlement of RICO and RESPA claims against Community
Bank of Northern Virginia (now PNC Bank).

Hutton is the founder of Hutton Law Group, a plaintiffs’ litigation practice currently representing
retirees, individual investors, and businesses, and is also the founder of Hutton Investigative Accounting,
a financial forensics and investigation firm. Before founding Hutton Law and joining Robbins Geller,
Hutton was a public company accountant, Certified Public Accountant, and broker of stocks, options, and
insurance products. Hutton has also served as an expert litigation consultant in both financial and
corporate governance capacities. Hutton is often responsible for working with experts retained by the
Firm in litigation and has conducted dozens of depositions of financial professionals, including audit
partners, CFOs, directors, bankers, actuaries, and opposing experts.


Education
B.A., University of California, Santa Barbara, 1983; J.D., Loyola Law School, 1994




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Frank J. Janecek, Jr. | Of Counsel
Frank Janecek is Of Counsel in the Firm’s San Diego office and practices in the areas of
consumer/antitrust, Proposition 65, taxpayer, and tobacco litigation. He served as co-lead counsel, as well
as court-appointed liaison counsel, in Wholesale Elec. Antitrust Cases I & II, charging an antitrust conspiracy
by wholesale electricity suppliers and traders of electricity in California’s newly deregulated wholesale
electricity market. In conjunction with the Governor of the State of California, the California State
Attorney General, the California Public Utilities Commission, the California Electricity Oversight Board, a
number of other state and local governmental entities and agencies, and California’s large, investor-
owned electric utilities, plaintiffs secured a global settlement for California consumers, businesses, and
local governments valued at more than $1.1 billion. Janecek also chaired several of the litigation
committees in California’s tobacco litigation, which resulted in the $25.5 billion recovery for California
and its local entities, and also handled a constitutional challenge to the State of California’s Smog Impact
Fee in Ramos v. Dep’t of Motor Vehicles, which resulted in more than a million California residents receiving
full refunds and interest, totaling $665 million.


Education
B.S., University of California, Davis, 1987; J.D., Loyola Law School, 1991

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2013-2018



Nancy M. Juda | Of Counsel
Nancy Juda is Of Counsel to the Firm and is based in the Firm’s Washington, D.C. office. Her practice
focuses on advising Taft-Hartley pension and welfare funds on issues related to corporate fraud in the
United States securities markets. Juda’s experience as an ERISA attorney provides her with unique
insight into the challenges faced by pension fund trustees as they endeavor to protect and preserve their
funds’ assets.

Prior to joining Robbins Geller, Juda was employed by the United Mine Workers of America Health &
Retirement Funds, where she began her practice in the area of employee benefits law. She was also
associated with a union-side labor law firm in Washington, D.C., where she represented the trustees of
Taft-Hartley pension and welfare funds on qualification, compliance, fiduciary, and transactional issues
under ERISA and the Internal Revenue Code.

Using her extensive experience representing employee benefit funds, Juda advises trustees regarding
their options for seeking redress for losses due to securities fraud. She currently advises trustees of funds
providing benefits for members of unions affiliated with North America’s Building Trades of the AFL-
CIO. Juda also represents funds in ERISA class actions involving breach of fiduciary claims.


Education
B.A., St. Lawrence University, 1988; J.D., American University, 1992




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Francis P. Karam | Of Counsel
Frank Karam is Of Counsel to the Firm and is based in the Firm’s Melville office. Karam is a trial lawyer
with 30 years of experience. His practice focuses on complex class action litigation involving
shareholders’ rights and securities fraud. He also represents a number of landowners and royalty owners
in litigation against large energy companies. He has tried complex cases involving investment fraud and
commercial fraud, both on the plaintiff and defense side, and has argued numerous appeals in state and
federal courts. Throughout his career, Karam has tried more than 100 cases to verdict.

Karam has served as a partner at several prominent plaintiffs’ securities firms. From 1984 to 1990,
Karam was an Assistant District Attorney in the Bronx, New York, where he served as a senior Trial
Attorney in the Homicide Bureau. He entered private practice in 1990, concentrating on trial and
appellate work in state and federal courts.


Education
A.B., College of the Holy Cross; J.D., Tulane University School of Law

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2019; “Who’s Who” for Securities Lawyers, Corporate Governance
Magazine, 2015



Ashley M. Kelly | Of Counsel
Ashley Kelly is Of Counsel in the San Diego office, where she represents large institutional and individual
investors as a member of the Firm’s antitrust and securities fraud practices. Her work is primarily federal
and state class actions involving the federal antitrust and securities laws, common law fraud, breach of
contract, and accounting violations. Kelly’s case work has been in the financial services, oil & gas, e-
commerce, and technology industries.        In addition to being an attorney, she is a Certified Public
Accountant. Kelly was an important member of the litigation team that obtained a $500 million
settlement on behalf of investors in Luther v. Countrywide Fin. Corp., which was the largest residential
mortgage-backed securities purchaser class action recovery in history.


Education
B.S., Pennsylvania State University, 2005; J.D., Rutgers University-Camden, 2011

Honors / Awards
Rising Star, Super Lawyers Magazine, 2016, 2018-2020




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Noam Mandel | Of Counsel
Noam Mandel is Of Counsel to the Firm and is based in the Manhattan office. Mandel has extensive
experience in all aspects of litigation on behalf of investors, including securities law claims, corporate
derivative actions, fiduciary breach class actions, and appraisal litigation. Mandel has represented
investors in federal and state courts throughout the United States and has significant experience advising
investors concerning their interests in litigation and investigating and prosecuting claims on their behalf.

Mandel has served as counsel in numerous outstanding securities litigation recoveries, including in In re
Nortel Networks Corporation Securities Litigation ($1.07 billion shareholder recovery), Ohio Public Employees
Retirement System v. Freddie Mac ($410 million shareholder recovery), and In re Satyam Computer Services, Ltd.
Securities Litigation ($150 million shareholder recovery). Mandel has also served as counsel in notable
fiduciary breach class and derivative actions, particularly before the Court of Chancery of the State of
Delaware.       These actions include the groundbreaking fiduciary duty litigation challenging the
CVS/Caremark merger (Louisiana Municipal Police Employees’ Retirement System v. Crawford), which resulted
in more than $3.3 billion in additional consideration for Caremark shareholders. Mandel currently serves
as counsel in In re Dell Technologies Inc. Class V Stockholders Litigation, which is presently before the Court of
Chancery of the State of Delaware.


Education
B.S., Georgetown University, School of Foreign Service, 1998; J.D., Boston University School of Law,
2002

Honors / Awards
J.D., Cum Laude, Boston University School of Law, 2002; Member, Boston University Law Review, Boston
University School of Law




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Jerry E. Martin | Of Counsel
Jerry Martin is Of Counsel in the Firm’s Nashville office. He specializes in representing individuals who
wish to blow the whistle to expose fraud and abuse committed by federal contractors, health care
providers, tax cheats, or those who violate the securities laws. Martin was a member of the litigation team
that obtained a $65 million recovery in Garden City Emps.’ Ret. Sys. v. Psychiatric Solutions, Inc., the fourth-
largest securities recovery ever in the Middle District of Tennessee and one of the largest in more than a
decade.

Before joining the Firm, Martin served as the presidentially appointed United States Attorney for the
Middle District of Tennessee from May 2010 to April 2013. As U.S. Attorney, he made prosecuting
financial, tax, and health care fraud a top priority. During his tenure, Martin co-chaired the Attorney
General’s Advisory Committee’s Health Care Fraud Working Group. Martin has been recognized as a
national leader in combatting fraud and has addressed numerous groups and associations, such as
Taxpayers Against Fraud and the National Association of Attorneys General, and was a keynote speaker at
the American Bar Association’s Annual Health Care Fraud Conference.


Education
B.A., Dartmouth College, 1996; J.D., Stanford University, 1999

Honors / Awards
Super Lawyer, Super Lawyers Magazine, 2016-2019



Ruby Menon | Of Counsel
Ruby Menon is Of Counsel to the Firm and serves as a member of the Firm’s legal, advisory, and business
development group. She also serves as the liaison to the Firm’s many institutional investor clients in the
United States and abroad. For over 12 years, Menon served as Chief Legal Counsel to two large multi-
employer retirement plans, developing her expertise in many areas of employee benefits and pension
administration, including legislative initiatives and regulatory affairs, investments, tax, fiduciary
compliance, and plan administration.


Education
B.A., Indiana University, 1985; J.D., Indiana University School of Law, 1988




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Eugene Mikolajczyk | Of Counsel
Eugene Mikolajczyk is Of Counsel to the Firm and is based in the Firm’s San Diego Office. Mikolajczyk
has over 30 years’ experience prosecuting shareholder and securities litigation cases as both individual
and class actions. Among the cases are Heckmann v. Ahmanson, in which the court granted a preliminary
injunction to prevent a corporate raider from exacting greenmail from a large domestic
media/entertainment company.

Mikolajczyk was a primary litigation counsel in an international coalition of attorneys and human rights
groups that won a historic settlement with major U.S. clothing retailers and manufacturers on behalf of a
class of over 50,000 predominantly female Chinese garment workers, in an action seeking to hold the
Saipan garment industry responsible for creating a system of indentured servitude and forced labor. The
coalition obtained an unprecedented agreement for supervision of working conditions in the Saipan
factories by an independent NGO, as well as a substantial multi-million dollar compensation award for the
workers.


Education
B.S., Elizabethtown College, 1974; J.D., Dickinson School of Law, Penn State University, 1978



Roxana Pierce | Of Counsel
Roxana Pierce is Of Counsel in the Firm’s Washington D.C. office. She is an international lawyer whose
practice focuses on securities litigation, arbitration, negotiations, contracts, international trade, real estate
transactions, and project development. She has represented clients in over 75 countries, with extensive
experience in the Middle East, Asia, Russia, the former Soviet Union, Germany, Belgium, the Caribbean,
and India. Pierce’s client base includes large institutional investors, international banks, asset managers,
foreign governments, multi-national corporations, sovereign wealth funds, and high net worth
individuals.

Pierce has counseled international clients since 1994. She has spearheaded the contract negotiations for
hundreds of projects, including several valued at over $1 billion, and typically conducts her negotiations
with the leadership of foreign governments and the leadership of Fortune 500 corporations, foreign and
domestic. Pierce presently represents several European legacy banks in litigation concerning the 2008
financial crisis.


Education
B.A., Pepperdine University, 1988; J.D., Thomas Jefferson School of Law, 1994

Honors / Awards
Certificate of Accomplishment, Export-Import Bank of the United States; Humanitarian Spirit Award for
Advocacy, The National Center for Children and Families, 2019




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Svenna Prado | Of Counsel
Svenna Prado is Of Counsel in the Firm’s San Diego office, where she focuses on various aspects of
international securities and consumer litigation. She was part of the litigation teams that secured
settlements against German defendant IKB, as well as Deutsche Bank and Deutsche Bank/West LB for
their role in structuring residential mortgage-backed securities and their subsequent collapse. Before
joining the Firm, Prado was Head of the Legal Department for a leading international staffing agency in
Germany where she focused on all aspects of employment litigation and corporate governance. After she
moved to the United States, Prado worked with an internationally oriented German law firm as Counsel
to corporate clients establishing subsidiaries in the United States and Germany. As a law student, Prado
worked directly for several years for one of the appointed Trustees winding up Eastern German
operations under receivership in the aftermath of the German reunification. Utilizing her experience in
this area of law, Prado later helped many clients secure successful outcomes in U.S. Bankruptcy Court.


Education
J.D., University of Erlangen-Nuremberg, Germany, 1996; Qualification for Judicial Office, Upper
Regional Court Nuremberg, Germany, 1998; New York University, “U.S. Law and Methodologies,” 2001



Stephanie Schroder | Of Counsel
Stephanie Schroder is Of Counsel in the Firm’s San Diego office and focuses her practice on advising
institutional investors, including public and multi-employer pension funds, on issues related to corporate
fraud in the United States and worldwide financial markets. Schroder has been with the Firm since its
formation in 2004, and has over 17 years of securities litigation experience.

Schroder has obtained millions of dollars on behalf of defrauded investors. Prominent cases include: In re
AT&T Corp. Sec. Litig. ($100 million recovery at trial); In re FirstEnergy Corp. Sec. Litig. ($89.5 million
recovery); Rasner v. Sturm (FirstWorld Communications); and In re Advanced Lighting Sec. Litig. Schroder also
specializes in derivative litigation for breaches of fiduciary duties by corporate officers and directors.
Significant litigation includes In re OM Grp. S’holder Litig. and In re Chiquita S’holder Litig. Schroder also
represented clients that suffered losses from the Madoff fraud in the Austin Capital and Meridian
Capital litigations, which were successfully resolved. In addition, Schroder is a frequent lecturer on
securities fraud, shareholder litigation, and options for institutional investors seeking to recover losses
caused by securities and accounting fraud.


Education
B.A., University of Kentucky, 1997; J.D., University of Kentucky College of Law, 2000




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                                                                                ATTORNEY BIOGRAPHIES


Christopher P. Seefer | Of Counsel
Christopher Seefer is Of Counsel in the Firm’s San Francisco office. He concentrates his practice in
securities class action litigation, including cases against Verisign, UTStarcom, VeriFone, Nash Finch,
NextCard, Terayon, and America West. Seefer served as an Assistant Director and Deputy General
Counsel for the Financial Crisis Inquiry Commission, which reported to Congress in January 2011 its
conclusions as to the causes of the global financial crisis. Prior to joining the Firm, he was a Fraud
Investigator with the Office of Thrift Supervision, Department of the Treasury (1990-1999), and a field
examiner with the Office of Thrift Supervision (1986-1990).


Education
B.A., University of California Berkeley, 1984; M.B.A., University of California, Berkeley, 1990; J.D.,
Golden Gate University School of Law, 1998



Arthur L. Shingler III | Of Counsel
Arthur Shingler is Of Counsel in the Firm’s San Diego office. Shingler has successfully represented both
public and private sector clients in hundreds of complex, multi-party actions with billions of dollars in
dispute. Throughout his career, he has obtained outstanding results for those he has represented in cases
generally encompassing shareholder derivative and securities litigation, unfair business practices
litigation, publicity rights and advertising litigation, ERISA litigation, and other insurance, health care,
employment, and commercial disputes.

Representative matters in which Shingler served as lead litigation or settlement counsel include, among
others: In re Royal Dutch/Shell ERISA Litig. ($90 million settlement); In re Priceline.com Sec. Litig. ($80
million settlement); In re General Motors ERISA Litig. ($37.5 million settlement, in addition to significant
revision of retirement plan administration); Wood v. Ionatron, Inc. ($6.5 million settlement); In re Lattice
Semiconductor Corp. Derivative Litig. (corporate governance settlement, including substantial revision of
board policies and executive management); In re 360networks Class Action Sec. Litig. ($7 million settlement);
and Rothschild v. Tyco Int’l (US), Inc., 83 Cal. App. 4th 488 (2000) (shaped scope of California’s Unfair
Practices Act as related to limits of State’s False Claims Act).


Education
B.A., Point Loma Nazarene College, 1989; J.D., Boston University School of Law, 1995

Honors / Awards
B.A., Cum Laude, Point Loma Nazarene College, 1989




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                                                                                ATTORNEY BIOGRAPHIES


Leonard B. Simon | Of Counsel
Leonard Simon is Of Counsel in the Firm’s San Diego office. His practice has been devoted to litigation
in the federal courts, including both the prosecution and the defense of major class actions and other
complex litigation in the securities and antitrust fields. Simon has also handled a substantial number of
complex appellate matters, arguing cases in the United States Supreme Court, several federal Courts of
Appeals, and several California appellate courts. He has also represented large, publicly traded
corporations. Simon served as plaintiffs’ co-lead counsel in In re Am. Cont’l Corp./Lincoln Sav. & Loan Sec.
Litig., MDL No. 834 (D. Ariz.) (settled for $240 million), and In re NASDAQ Market-Makers Antitrust Litig.,
MDL No. 1023 (S.D.N.Y.) (settled for more than $1 billion). He was also in a leadership role in several of
the state court antitrust cases against Microsoft, and the state court antitrust cases challenging electric
prices in California. He was centrally involved in the prosecution of In re Washington Pub. Power Supply
Sys. Sec. Litig., MDL No. 551 (D. Ariz.), the largest securities class action ever litigated.

Simon is an Adjunct Professor of Law at Duke University, the University of San Diego, and the University
of Southern California Law Schools. He has lectured extensively on securities, antitrust, and complex
litigation in programs sponsored by the American Bar Association Section of Litigation, the Practicing
Law Institute, and ALI-ABA, and at the UCLA Law School, the University of San Diego Law School, and
the Stanford Business School. He is an Editor of California Federal Court Practice and has authored a law
review article on the PSLRA.


Education
B.A., Union College, 1970; J.D., Duke University School of Law, 1973

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2016-2020;
Super Lawyer, Super Lawyers Magazine, 2008-2016; J.D., Order of the Coif and with Distinction, Duke
University School of Law, 1973



Laura S. Stein | Of Counsel
Laura Stein is Of Counsel in the Firm’s Philadelphia office. Since 1995, she has practiced in the areas of
securities class action litigation, complex litigation, and legislative law. Stein has served as one of the
Firm’s and the nation’s top asset recovery experts with a focus on minimizing losses suffered by
shareholders due to corporate fraud and breaches of fiduciary duty. She also seeks to deter future
violations of federal and state securities laws by reinforcing the standards of good corporate governance.
Stein works with over 500 institutional investors across the nation and abroad, and her clients have served
as lead plaintiff in successful cases where billions of dollars were recovered for defrauded investors against
such companies as: AOL Time Warner, TYCO, Cardinal Health, AT&T, Hanover Compressor, 1st
Bancorp, Enron, Dynegy, Inc., Honeywell International, Bridgestone, LendingClub, Orbital ATK, and
Walmart, to name a few. Many of the cases led by Stein’s clients have accomplished groundbreaking
corporate governance achievements, including obtaining shareholder-nominated directors. She is a
frequent presenter and educator on securities fraud monitoring, litigation, and corporate governance.


Education
B.A., University of Pennsylvania, 1992; J.D., University of Pennsylvania Law School, 1995




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John J. Stoia, Jr. | Of Counsel
John Stoia is Of Counsel to the Firm and is based in the Firm’s San Diego office. He is one of the
founding partners and former managing partner of the Firm. He focuses his practice on insurance fraud,
consumer fraud, and securities fraud class actions. Stoia has been responsible for over $10 billion in
recoveries on behalf of victims of insurance fraud due to deceptive sales practices such as “vanishing
premiums” and “churning.” He has worked on dozens of nationwide complex securities class actions,
including In re Am. Cont’l Corp./Lincoln Sav. & Loan Sec. Litig., which arose out of the collapse of Lincoln
Savings & Loan and Charles Keating’s empire. Stoia was a member of the plaintiffs’ trial team that
obtained verdicts against Keating and his co-defendants in excess of $3 billion and settlements of over
$240 million.

He also represented numerous large institutional investors who suffered hundreds of millions of dollars
in losses as a result of major financial scandals, including AOL Time Warner and WorldCom. Currently,
Stoia is lead counsel in numerous cases against online discount voucher companies for violations of both
federal and state laws including violation of state gift card statutes.


Education
B.S., University of Tulsa, 1983; J.D., University of Tulsa, 1986; LL.M., Georgetown University Law
Center, 1987

Honors / Awards
Rated AV Preeminent by Martindale-Hubbell; Top Lawyer in San Diego, San Diego Magazine, 2013-2020;
Super Lawyer, Super Lawyers Magazine, 2007-2017; Litigator of the Month, The National Law Journal, July
2000; LL.M. Top of Class, Georgetown University Law Center




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David C. Walton | Of Counsel
David Walton was a founding partner of the Firm. For over 25 years, he has prosecuted class actions and
private actions on behalf of defrauded investors, particularly in the area of accounting fraud. He has
investigated and participated in the litigation of highly complex accounting scandals within some of
America’s largest corporations, including Enron ($7.2 billion), HealthSouth ($671 million), WorldCom
($657 million), AOL Time Warner ($629 million), Countrywide ($500 million), and Dynegy ($474
million), as well as numerous companies implicated in stock option backdating.

Walton is a member of the Bar of California, a Certified Public Accountant (California 1992), a Certified
Fraud Examiner, and is fluent in Spanish. In 2003-2004, he served as a member of the California Board
of Accountancy, which is responsible for regulating the accounting profession in California.


Education
B.A., University of Utah, 1988; J.D., University of Southern California Law Center, 1993

Honors / Awards
Recommended Lawyer, The Legal 500, 2019; Super Lawyer, Super Lawyers Magazine, 2015-2016; California
Board of Accountancy, Member, 2003-2004; Southern California Law Review, Member, University of
Southern California Law Center; Hale Moot Court Honors Program, University of Southern California
Law Center



Bruce Gamble | Special Counsel
Bruce Gamble is Special Counsel to the Firm in the Firm’s Washington D.C. office and is a member of the
Firm’s institutional investor client services group. He serves as liaison with the Firm’s institutional
investor clients in the United States and abroad, advising them on securities litigation matters. Gamble
formerly served as Of Counsel to the Firm, providing a broad array of highly specialized legal and
consulting services to public retirement plans. Before working with Robbins Geller, Gamble was General
Counsel and Chief Compliance Officer for the District of Columbia Retirement Board, where he served as
chief legal advisor to the Board of Trustees and staff. Gamble’s experience also includes serving as Chief
Executive Officer of two national trade associations and several senior level staff positions on Capitol Hill.


Education
B.S., University of Louisville, 1979; J.D., Georgetown University Law Center, 1989

Honors / Awards
Executive Board Member, National Association of Public Pension Attorneys, 2000-2006; American Banker
selection as one of the most promising U.S. bank executives under 40 years of age, 1992




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Tricia L. McCormick | Special Counsel
Tricia McCormick is Special Counsel to the Firm and focuses primarily on the prosecution of securities
class actions. McCormick has litigated numerous cases against public companies in the state and federal
courts which resulted in hundreds of millions of dollars in recoveries to investors. She is also a member of
a team that is in constant contact with clients who wish to become actively involved in the litigation of
securities fraud. In addition, McCormick is active in all phases of the Firm’s lead plaintiff motion practice.


Education
B.A., University of Michigan, 1995; J.D., University of San Diego School of Law, 1998

Honors / Awards
J.D., Cum Laude, University of San Diego School of Law, 1998



R. Steven Aronica | Forensic Accountant
Steven Aronica is a Certified Public Accountant licensed in the States of New York and Georgia and is a
member of the American Institute of Certified Public Accountants, the Institute of Internal Auditors, and
the Association of Certified Fraud Examiners. Aronica has been instrumental in the prosecution of
numerous financial and accounting fraud civil litigation claims against companies that include Lucent
Technologies, Tyco, Oxford Health Plans, Computer Associates, Aetna, WorldCom, Vivendi, AOL Time
Warner, Ikon, Doral Financial, First BanCorp, Acclaim Entertainment, Pall Corporation, iStar Financial,
Hibernia Foods, NBTY, Tommy Hilfiger, Lockheed Martin, the Blackstone Group, and Motorola. In
addition, he assisted in the prosecution of numerous civil claims against the major United States public
accounting firms.

Aronica has been employed in the practice of financial accounting for more than 30 years, including
public accounting, where he was responsible for providing clients with a wide range of accounting and
auditing services; the investment bank Drexel Burnham Lambert, Inc., where he held positions with
accounting and financial reporting responsibilities; and at the SEC, where he held various positions in the
divisions of Corporation Finance and Enforcement and participated in the prosecution of both criminal
and civil fraud claims.


Education
B.B.A., University of Georgia, 1979




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                                   Andrew J. Rudolph | Forensic Accountant
                                   Andrew Rudolph is the Director of the Firm’s Forensic Accounting Department, which provides in-house
                                   forensic accounting expertise in connection with securities fraud litigation against national and foreign
                                   companies. He has directed hundreds of financial statement fraud investigations, which were
                                   instrumental in recovering billions of dollars for defrauded investors. Prominent cases include Qwest,
                                   HealthSouth, WorldCom, Boeing, Honeywell, Vivendi, Aurora Foods, Informix, Platinum Software, AOL Time
                                   Warner, and UnitedHealth.

                                   Rudolph is a Certified Fraud Examiner and a Certified Public Accountant licensed to practice in
                                   California. He is an active member of the American Institute of Certified Public Accountants, California’s
                                   Society of Certified Public Accountants, and the Association of Certified Fraud Examiners. His 20 years of
                                   public accounting, consulting, and forensic accounting experience includes financial fraud investigation,
                                   auditor malpractice, auditing of public and private companies, business litigation consulting, due
                                   diligence investigations, and taxation.


                                   Education
                                   B.A., Central Connecticut State University, 1985



                                   Christopher Yurcek | Forensic Accountant
                                   Christopher Yurcek is the Assistant Director of the Firm’s Forensic Accounting Department, which
                                   provides in-house forensic accounting and litigation expertise in connection with major securities fraud
                                   litigation. He has directed the Firm’s forensic accounting efforts on numerous high-profile cases,
                                   including In re Enron Corp. Sec. Litig. and Jaffe v. Household Int’l, Inc., which obtained a record-breaking
                                   $1.575 billion settlement after 14 years of litigation, including a six-week jury trial in 2009 that resulted in
                                   a verdict for plaintiffs. Other prominent cases include HealthSouth, UnitedHealth, Vesta, Informix, Mattel,
                                   Coca-Cola, and Media Vision.

                                   Yurcek has over 20 years of accounting, auditing, and consulting experience in areas including financial
                                   statement audit, forensic accounting and fraud investigation, auditor malpractice, turn-around consulting,
                                   business litigation, and business valuation. He is a Certified Public Accountant licensed in California,
                                   holds a Certified in Financial Forensics (CFF) Credential from the American Institute of Certified Public
                                   Accountants, and is a member of the California Society of CPAs and the Association of Certified Fraud
                                   Examiners.


                                   Education
                                   B.A., University of California, Santa Barbara, 1985




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                                                 Coordination Proceeding Special Title [Rule 3.550] - Tezos ICO Cases CJC-18-004978

Firm Name: Robbins Geller Rudman & Dowd LLP
Reporting Period: Inception through May 11, 2020

Categories:
(1) Factual Investigation                               (5) Lead Plaintiff Motion                                   (9) Settlement Negotiations
(2) Legal Research                                      (6) Motion to Dismiss                                       (10) Appeal
(3) Litigation Strategy & Analysis                      (7) Discovery                                               (11) Court Appearance & Preparation
(4) Draft Initial or Amended Complaint                  (8) Other Pleadings, Briefs and Pretrial Motions            (12) Client/Shareholder Communication



                                                                                                                                                       Current           Current
         Name                            1       2          3         4        5       6          7         8          9       10       11      12                Rate
                                                                                                                                                        Hours            Lodestar
Cochran, Brian E.               (P) 6.75         4.50      21.70      7.40     -      3.10      11.50       62.95      1.20     -       4.75    0.40     124.25    760 $   94,430.00
Geller, Paul J.                 (P) 0.10          -         1.30       -       -       -          -          8.20       -       -        -       -         9.60   1,325    12,720.00
Love, Andrew S.                 (P)    -          -          -         -       -       -          -          0.90       -     11.50      -       -        12.40   1,150    14,260.00
Myers, Danielle S.              (P) 1.00         1.50      13.10       -      0.30     -          -         32.60       -       -      11.70     -        60.20    840     50,568.00
Olts, Lucas F.                  (P) 8.50         6.30      15.10     38.40     -     21.60      52.50      166.35     96.10     -      51.80    2.60     459.25    850    390,362.50
O'Mara, Brian O.                (P) 15.75         -         0.50       -       -       -          -           -         -       -        -       -        16.25    870     14,137.50
Pintar, Theodore J.             (P)    -          -          -         -       -       -          -           -       43.70     -        -       -        43.70   1,100    48,070.00
Robbins, Darren J.              (P)    -          -          -         -       -       -          -           -         -       -        -      0.25       0.25   1,325       331.25
Rudman, Samuel H.               (P)    -          -          -         -       -       -          -           -       26.20     -        -       -        26.20   1,325    34,715.00
Wilens, Douglas                 (P)    -          -          -         -      0.25     -          -           -         -       -        -       -         0.25    995        248.75
Polychron, Sara B.              (A) 10.00       97.10      59.10    105.20     -      0.50     175.20      449.65    103.10     -      85.80     -     1,085.65    660    716,529.00
Tirabassi, Sabrina E.           (A)    -          -        28.90       -       -       -          -         36.40       -       -        -       -        65.30    745     48,648.50
Bays, Lea M.                  (OC)     -         0.90        -         -       -       -        11.50         -         -       -        -       -        12.40    775      9,610.00
Walton, David C.              (OC) 6.70           -         6.40       -       -       -          -          9.90      2.80     -        -      0.40      26.20   1,080    28,296.00
Brandon, Kelley T.               (I) 13.50        -          -         -       -       -          -           -         -       -        -       -        13.50    290      3,915.00
Freer, Brad C.                 (LS)    -          -          -         -       -       -         1.30         -         -       -        -       -         1.30    290        377.00
Keita, Omar C.                 (LS)    -          -          -         -       -       -        18.70         -         -       -        -       -        18.70    290      5,423.00
Horstman, Natalee J.           (PL)    -        20.00      11.50     16.00     -       -       137.20      454.30      8.00     -        -       -       647.00    350    226,450.00
McCormack, Kirsten M.          (PL)    -          -          -         -       -       -          -          4.00       -       -        -       -         4.00    350      1,400.00
McDade, Jaime A.               (PL) 0.80          -          -         -       -       -          -           -         -       -        -       -         0.80    350        280.00
Meyers, Sarah J.               (PL) 0.50          -          -         -       -       -          -         18.10       -       -        -       -        18.60    350      6,510.00
Morris, Sarah A.               (PL)    -          -          -         -       -       -          -          1.00       -       -        -       -         1.00    350        350.00
Nielsen, Lee A.                (PL)    -          -          -         -       -       -          -          0.60       -       -        -       -         0.60    350        210.00
Puerto, Patricia               (PL)    -          -          -         -      0.50     -          -           -         -       -        -       -         0.50    350        175.00
Reis, Cassandra L.             (PL)    -          -          -         -       -       -          -          5.00       -       -        -       -         5.00    275      1,375.00
Tack, Deborah V.               (PL)    -          -          -         -       -       -          -          0.20       -       -        -       -         0.20    350         70.00


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                                                 Coordination Proceeding Special Title [Rule 3.550] - Tezos ICO Cases CJC-18-004978

Firm Name: Robbins Geller Rudman & Dowd LLP
Reporting Period: Inception through May 11, 2020

Categories:
(1) Factual Investigation                               (5) Lead Plaintiff Motion                                     (9) Settlement Negotiations
(2) Legal Research                                      (6) Motion to Dismiss                                         (10) Appeal
(3) Litigation Strategy & Analysis                      (7) Discovery                                                 (11) Court Appearance & Preparation
(4) Draft Initial or Amended Complaint                  (8) Other Pleadings, Briefs and Pretrial Motions              (12) Client/Shareholder Communication



                                                                                                                                                         Current          Current
         Name                            1       2          3         4        5       6          7           8          9       10       11      12              Rate
                                                                                                                                                          Hours          Lodestar
Waligurski, Mara D.            (PL)     -         -          -         -       -       -          -             -        0.30     -        -       -         0.30 275           82.50
Williams, Susan                (PL)     -         -          -         -       -      4.00        -            0.50       -       -        -       -         4.50 350        1,575.00
Woods, Kathryn                 (PL)     -         -          -         -       -       -         0.80           -         -       -        -       -         0.80 275          220.00
Hunsaker, Riley J.            (DC)      -         -          -         -       -       -         0.50           -         -       -        -       -         0.50 150           75.00
Johnson, Terrance J.          (SR)      -         -          -         -       -       -          -             -         -       -        -      1.00       1.00 100          100.00
TOTAL:                                63.60    130.30     157.60    167.00    1.05   29.20     409.20      1,250.65    281.40   11.50   154.05    4.65   2,660.20      $ 1,711,514.00
(P) Partner
(A) Associate
(OC) Of Counsel
(I) Investigator
(LS) Litigation Support
(PL) Paralegal
(DC) Document Clerk
(SR) Shareholder Relations




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